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Terraine Abdullah, on her own behalf and as Parent :       COURT OF COMMON PLEAS
and Natural Guardian of H.S., a minor              :       PHILADELPHIA COUNTY
                             Plaintiff,            :
       vs.                                         :       MARCH TERM, 2022
                                                   :       NO. 2583
Mead Johnson & Company, LLC, et al.                :
                             Defendants            :

             ENTRY OF APPEARANCE AND DEMAND FOR JURY TRIAL

TO THE PROTHONOTARY:

       Kindly enter our appearance in the above-captioned matter on behalf of defendants The

Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a Pennsylvania

Hospital and The Trustees of the University of Pennsylvania d/b/a Penn Medicine.

       A trial by jury of twelve (12) persons and two (2) alternates is hereby demanded on behalf

of said defendants.

                                                BY:__________________________
                                                  JAMES A. YOUNG, ESQ.
                                                  RICHARD S. MARGULIES, ESQ.
                                                  Burns White LLC
                                                  1880 John. F. Kennedy Boulevard, 10th Fl.
                                                  Philadelphia, PA 19103
                                                  215-587-1625/1628
  Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 60 of 504 PageID #:68




                                CERTIFICATE OF SERVICE


       James A. Young, Esq., attorney for defendants, The Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the

University of Pennsylvania d/b/a Penn Medicine does hereby certify that a true and correct copy

of the attached Entry of Appearance and Demand for Jury Trial was electronically filed and served

on April 18, 2022 to counsel below, addressed as follows:



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                                               BY:__________________________
                                                  JAMES A. YOUNG, ESQ.
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 Terraine Abdullah, on her own behalf and as Parent and         COURT OF COMMON
 Natural Guardian of H.S., a minor                              PLEAS
                                                                PHILADELPHIA COUNTY
                       Plaintiff
                                                                CIVIL DIVISION
 v.
                                                                MARCH TERM, 2022
 MEAD JOHNSON & COMPANY, LLC, et al.                            NO. 2583

                       Defendants.




                                            ORDER

       AND NOW, this               day of                       2022, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that all

claims against Defendants the Pennsylvania Hospital of the University of Pennsylvania Health

System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn

Medicine are hereby DISMISSED with prejudice.



                                                   BY THE COURT:



                                                   ____________________________________
                                                                                 J.
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 Terraine Abdullah, on her own behalf and as Parent and         COURT OF COMMON PLEAS
 Natural Guardian of H.S., a minor                              PHILADELPHIA COUNTY

                      Plaintiff                                 CIVIL DIVISION

 v.                                                             MARCH TERM, 2022
                                                                NO. 2583
 MEAD JOHNSON & COMPANY, LLC, et al.

                      Defendants.


                                    ALTERNATIVE ORDER

       AND NOW, this              day of                           2022, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine                                                         is hereby

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that:

       1.                                              DISMISSED with prejudice;

       2.                                              DISMISSED with prejudice;

       3.                                                           The Pennsylvania Hospital
              of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and
              The Trustees of the University of Pennsylvania d/b/a Penn Medicine are
              DISMISSED with prejudice, along with all allegations of oppressive, reckless,
              malicious and/or fraudulent conduct;

       4.     Plaintiff Terraine Abdullah s claims in her own right are DISMISSED with
              prejudice; and

       5.                                  STRICKEN for lack of an appropriate verification.


                                                       BY THE COURT:



                                                       ____________________________________
                                                                                     J.
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 BURNS WHITE LLC                                   Attorneys For Defendants,
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 Terraine Abdullah, on her own behalf and as Parent        COURT OF COMMON PLEAS
 and Natural Guardian of H.S., a minor                     PHILADELPHIA COUNTY

                        Plaintiff                          CIVIL DIVISION

 v.                                                        MARCH TERM, 2022
                                                           NO. 2583
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


PRELIMINARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
           TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA


        Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System

                                                                                     (hereinafter



thereof, aver as follows:

I.      INTRODUCTION

        1.     Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022

against Moving Defendants as well as Co-Defendants Mead Johnson & Company, LLC, Mead



                            See




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        2.       Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania



milk-based infant formula by premature infants following their birth. 1

        3.       Plaintiffs allege that                                        the Plaintiff-minors, including

H.S., were diagnosed with necrotizing enterocolitis (NEC), a gastrointestinal disorder that

premature infants are at increased risk to develop. See P

    , ¶ 13. Plaintiffs allege

                                                                                                                     -

based infant formula.2

        4.       In addition to asserting product liability claims against the infant formula

manufacturers Mead Johnson and Abbott, Plaintiffs have alleged that Moving Defendants are

liable based on theories of failure to warn and corporate liability. 3

        5.       The factual background regarding the Plaintiff-                 s birth, diagnosis and injuries

are limited to four paragraphs in the Complaint.




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
2
  Although Plaintiffs aver in the Complaint t                             -based infant formula, as discussed
infra and in the accompanying Memorandum of Law, the allegations in the Complaint refer to research and studies
that indicate only that NEC is more common in premature and low birth weight                             -based
products as compared with similar infants fed with breast milk. See                -23. Plaintiffs do not cite any
                                                                             -based infant formula.
3
 As is discussed in detail in the accompanying Memorandum of Law, infant formulas are regulated by the United
States Food and Drug Administration and require to include specified vitamins and nutrients, including infant
formulas intended for low birth weig                                                                   -based infant
                                                                                       -based infant formula should
never be given to premature infants is not supported by the FDA.


                                                         3
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         6.      Plaintiffs aver that H.S. was born prematurely on September 12, 2006 and that

                                                                            -based products by staff

                                                         Id., ¶¶ 11-12.

         7.                                                                    H.S. developed NEC

                                                                      Id., ¶ 13.

         8.      Plaintiffs generally allege that H.S.

long-term health                                                                        -term health

effects. Id., ¶ 14.

         9.      Moving Defendants Preliminarily Object

stated below and as more fully set forth in the accompanying Memorandum of Law, which is

incorporated herein by reference.

II.      ARGUMENT

         A. DEMURRER TO COUNT VI: FAILURE TO WARN

         10.     Plaintiffs allege in Count VI of the Complain



the public a duty to provide products that were free of unreasonable risk of harm.

         11.                                             ndant                                milk-

based products made by the Defendant Manufacturers cause NEC in premature and low birth

weight infants and negligently failed to warn the parents of those infants of this danger.

         12.                                                                                 -based

products to breast milk, a Surgeon General report on the subject, and a statement by the American

Academy of Pediatrics. See                       -23.




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       13.      Taking these facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a

claim for negligent failure to warn against Moving Defendants as they have failed to demonstrate

the product in question is indeed unreasonably dangerous.

       14.      Further, to the extent the product at issue was provided in the context of medical

care, rather than commerce, there can be no claim against Moving Defendants for a product-

liability based theory of failure to warn.

       15.                                                                                        ing a

                                       Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp.,

596 A.2d 845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

             One who supplies directly or through a third person a chattel for another to
             use is subject to liability to those whom the supplier should expect to use
             the chattel with the consent of the other or to be endangered by its probable
             use, for physical harm caused by the use of the chattel in the manner for
             which and by a person for whose use it is supplied, if the supplier

             (a) knows or has reason to know that the chattel is or is likely to be
                 dangerous for the use for which it is supplied, and

             (b) has no reason to believe that those for whose use the chattel is supplied
                 will realize its dangerous condition, and

             (c) fails to exercise reasonable care to inform them of its dangerous
             condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388.

       16.       The threshold inquiry in all products liability cases is whether there is a defect

which rendered the product unreasonably dangerous. Weiner v. American Honda Motor Co., Inc.,

718 A.2d 305, 307 (Pa. Super. 1998).

       17.       A product is defective when it is not safe for its intended use, i.e., the product left

the supplier's control lacking any element necessary to make it safe for its intended use. Id. At

308.

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       18.       Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the

                                                                           eir intended use, triggering



       19.       Although Plaintiffs cite in their Complaint to research studies relating to the

                                -based products in premature infants, the studies demonstrate only,

assuming the facts as true as stated by Plaintiffs, that premature infants are at high risk of NEC,

and that feeding such infants with breast milk may be better at reducing the risk o

milk-based alternatives. See                       -23.

       20.       At the outset, Plaint                                                          -birth-

weight infants are especially susceptible to NEC          See

Following this, Plaintiffs make the core claim of their Complaint                        -based feeding

products cause NEC in preterm and low birth weight infants

research, including numer                                                                 Id. However,

reviewing the portions of the research and trials cited by Plaintiffs in their Complaint belie their

core claim.

       21.       The first study cited by Plaintiffs states, according to the Complaint, tha

six to ten times more common                                           -fed babies than in exclusively

breast milk-fed babies and three times more common in babies who received a combination of

                            Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants

                 -based products than those fed breast milk is to say that NEC still occurs in infants

fed exclusively breast milk, but only at a lower rate. Thus,

              -based feeding products causes NEC.




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       22.        As averred in the Complaint, the second study cited by Plaintiffs states that

                                                 -based diet were 90% less likely to develop surgical

NEC compared to preterm babies fed a diet that inclu                            -                 Id. at

¶ 18. To state that preterm infants fed only breast milk are less likely to develop a form of NEC is

to admit that NEC still develops in preterm infants regardless of the diet. Thus, P

study like                                       -based feeding products cause NEC.

       23.

                                  -based fortifier resulted in a 4.2-fold increased risk of NEC and a

5.1-fold increased risk of surgical NEC or death compared to fortification with a breast milk-based

             Id. at ¶ 19. What the study does not state, as alleged in the Complaint,                  -

based fortifiers cause NEC.

       24.        The Surgeon General report cited by Plaintiffs is alleged in the Complaint to



with higher rates

are 138% more likely to develop NEC." Id.                                                -based formula

caused NEC as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead,

                                                                                    20, makes the same

acknowledgment as Plaintiffs        that preterm infants are highly susceptible to NEC regardless of

                                                                                        -based products

and breast milk. The report does not state that the former causes NEC.

       25.        According to the Complaint, the American Academy of Pediatrics makes a nearly

identical statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a




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                                                            which recommendation is alleged to be

related in part to                           Id. This statement acknowledges that NEC still occurs

in preterm infants fed only breast milk, but simply at a lower rate. According to the Complaint, the

                                           -based feeding products cause NEC.

        26.      The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

                                                                                         -birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-                                        -



                                                                              s suffered NEC 17% of

              Id. at ¶ 22-

                                         -based formula causes NEC.

        27.      Thus, Plaintiffs have failed to state a claim for negligent failure to warn against

                                                                                         -based infant

formula is unreasonably dangerous for its intended purpose.

        28.      Further, assuming arguendo                                                     -based

feeding products can be seen as unreasonably dangerous for their intended use as opposed to

simply being a less effective alternative to breast milk products, Moving Defendants still had no

                                           -based products under § 388 because medical providers



        29.                                                                                  Plaintiffs

are alleging that Defendants, in providing medical care to Plaintiff-minor, failed to obtain Plaintiff-




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                                           -based products and failed to warn of the purported risks

and alternatives of such products.

       30.      The sole basis upon which Plaintiffs can proceed against Moving Defendants for

                   in the context of providing medical care is to assert such a claim under a theory

of failure to obtain informed consent.

       31.      Claims for informed consent in medical malpractice actions are governed by the

Medical Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the

             procedures:

             (1) Performing surgery, including the related administration of
             anesthesia.

             (2) Administering radiation or chemotherapy.

             (3) Administering a blood transfusion.

             (4) Inserting a surgical device or appliance.

             (5) Administering an experimental medication, using an experimental
             device or using an approved medication or device in an experimental
             manner.

             (b) Description of procedure.--Consent is informed if the patient has
             been given a description of a procedure set forth in subsection (a) and
             the risks and alternatives that a reasonably prudent patient would require
             to make an informed decision as to that procedure. The physician shall
             be entitled to present evidence of the description of that procedure and
             those risks and alternatives that a physician acting in accordance with
             accepted standards of medical practice would provide.

   40 P.S. §1303.504 (emphasis added).




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        32.

there is no basis for Plaintiffs to contend that Plaintiff-

infant formula to feed her infant, including warning her of the risks or alternatives of same.

        33.     Further, the informed consent statute only applies to physicians, not hospitals, in

the context of medical procedures. See Morgan v. MacPhail, 550 Pa. 202, 205 (1997).

        34.

informed consent. Valles v. Albert Einstein Medical Center, 805 A.2d 1232 (2002).

        B.      DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
                CARE PROVIDER

        35.     In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania

Supreme Court recognized the doctrine of corporate liability, holding that a hospital may be found

directly liable for negligence if it fails to meet any of the following four duties: (1) a duty to use

reasonable care in the maintenance of safe and adequate facilities and equipment; (2) a duty to

select and retain only competent physicians; (3) a duty to oversee all persons who practice

medicine within its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate

rules and policies to ensure quality care for patients.

        36.

for failure to warn, since both claims are based on the alleged failure to provide warnings to

patients related to t                      -based infant formula.

        37.     Infant formula is regulated by the FDA, and there is no legal restriction on the use

               -based products for feeding of premature infants.

        38.     Indeed, the Infant Formula Act expressly acknowledges that it is permissible to

               -milk based products to low birth weight infants.




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        39.                                                                                     -based

formula is an unreasonably dangerous product.

        40.      Thus, there is no legal basis to contend that Moving Defendants can be held liable

pursuant to a theory of corporate liability for failing to prevent                              -based

products in the feeding of premature infants in the hospital.

        41.      Additionally, Courts considering the application of the duties set forth in Thompson

have insisted on more than a simple finding of a negligent act by someone for whom the hospital

is purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995).

        42.      In considering whether the plaintiff could sustain corporate negligence claims

based on these allegations, the Edwards court analyzed the Thompson decision and delineated the

standards required to sustain such a claim:

              The Thompson theory of corporate liability will not be triggered every time
              something goes wrong in a hospital which harms a patient . . . To establish
              corporate negligence, a plaintiff must show more than an act of negligence by
              an individual for whom the hospital is responsible. Rather, Thompson requires
              a plaintiff to show that the hospital itself is breaching a duty and is somehow
                              Thompson                             systemic negligence

Id. at 1386-87 (citations omitted and emphasis added).

        43.      Thus, a hospital may not be held liable via corporate negligence simply based on the

alleged negligence of an individual health care provider.

        44.                                                                             -based infant

formula was a breach of the standard of care by unidentified health care providers based on the

specific circumstances of the Plaintiff-

considering the paucity of the allegations in the Complaint, such evidence cannot support a finding

of corporate liability.




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       45.     Additionally, even assuming Plaintiffs had a viable corporate negligence claim

against Pennsylvania Hospital, any such claim is precluded against the Trustees of the University

of Pennsylvania since it is not a hospital.

       46.     The Thompson

where it was determined that such entities performed similar functions as hospitals. See Shannon

v. Health America Pennsylvania, Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland

Park Care Center, LLC, 57 A.3d 582 (Pa. 2012).

       47.     However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       48.     There is no legal basis for holding that the purported corporate parent of a hospital,

such as the Trustees of the University of Pennsylvania, can be held liable under a theory of

corporate negligence.

       49.     Indeed, the Scampone Court cautioned that the trial court should ensure that

 multiple entities are not exposed to liability for breach of the same non-delegable duties. 57 A.2d

at 606-07.

       C.      MOTION TO STRIKE PLAINTIFF COMPLAINT FOR INSUFFICIENT
               SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       50.     Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the

nature of a motion to strike for insufficient specificity in a pleading.




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         51.



the issues by summarizing the facts essential to support the claims. Alpha Tau Omega Fraternity

v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super. 1983) (citations omitted).

         52.

which a cause of action or defense is based shall be state

Pa.R.C.P. 1019(a). As the Superior Court has noted,

         Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
         to disclose the material facts sufficient to enable the adverse party to prepare his
         case. A complaint therefore must do more than give the defendant fair notice
         of what the plaintiff's claim is and the grounds upon which it rests. It should
         formulate the issues by fully summarizing the material facts. Material facts
         are ultimate facts, i.e., those facts essential to support the claim. Evidence from
         which such facts may be inferred not only need not but should not be alleged.
         Allegations will withstand challenge under 1019(a) if (1) they contain
         averments of all of the facts a plaintiff will eventually have to prove in order
         to recover, and (2) they are sufficiently specific so as to enable defendant to
         prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

         53.    Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa.

1953).                                  set forth the extent, nature, location and duration of the

injuries suffered, and injuries that are permanent should be stated specifically. Miller v.

Perrige, 71 Pa. D. & C.2d 476, 479 80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D.



than a generalized averment under which any injuries whatever could be proved at the trial.



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        54.     Plaintiffs Complaint is woefully deficient with regard to the specificity of the

allegations of the relevant facts and injuries at issue in this case.

        55.

treatment, diagnosis and injuries is limited to four paragraphs, which are utterly insufficient to

enable defendants to prepare their defenses. See                        -14.

        56.     Plaintiffs aver that the minor was born prematurely but do not identify the

gestational age at which the child was born

                                                                                   her birth (Id. at ¶

12) does not comply with the fact-pleading requirements of Rule 1019(a), since such allegations

do not provide defendants with appropriate notice of the facts as to whether the minor actually

                     -based products.

        57.     Further, plaintiffs have failed to identify which of the numerous products sold by

Abbott and Mead Johnson under the Similac and Enfamil brand names were ingested by the minor.

Id. at ¶¶ 37-38.

        58.

to the period of time in which such products were ingested, when the minor was allegedly

diagnosed with NEC and what treatment was provided for that condition.

        59.                                                                             -term health



        60.                                              with particularity, is amorphous, vague, and

open-ended. Pursuant to Pennsylvania pleading requirements, Moving Defendants should not be

compelled to defend a claim for which the statement of injury is unspecified and subject to change.




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       61.     These omissions                                                  Therefore

Complaint should be stricken in its entirety.

       D.
               DAMAGES

       62.     In the Ad Damnum clauses of Counts VI and VII of the Complaint, Plaintiffs make

baseless accusations that Moving Defendants engaged in oppressive, reckless, malicious and/or

fraudulent conduct that allegedly justify an award of punitive damages. See

46.

       63.     However, the Complaint contains no specific allegations of conduct that would

permit recovery of punitive damages as to Moving Defendants.

       64.                                                                            H.S. may have

been given a cow         -based infant formula following birth, absent any context to indicate that

such an action was inappropriate based on the specific issues involved in H.S.

condition following birth.

       65.     For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

                                                                          -based products.

       66.                                                         similar conduct must be rejected

as mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula

in care of low birth weight infants, with no restriction as to the use of cow        -based products

for such infants.

       67.     Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least five

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants




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engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow

milk-based infant formula.

          68.   Absent specific factual allegations to justify the claim that the use of infant formula

in H.S.

this case.

          69.   Merely contending that punitive damages should be awarded with no supporting

factual justification requires dismissal of the claim.

          70.   Since the purpose of punitive damages is not compensation of a plaintiff but

punishment of the defendant and deterrence, punitive damages can be awarded only for conduct

involving some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For

that reason, Pennsylvania

                                  nly                                  Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584

Pa. 179, 188, 883 A.2d 439, 445 (2005)).

heap an additional punishment on a defendant who is found to have acted in a fashion which is

                         Wagner at *12.

          71.   Punitive damages may not be awarded for misconduct that constitutes ordinary

negligence such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp.,

494 A.2d 1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa.

Super. 1987). An award of punitive damages must be supported by evidence of conduct more

serious than the mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc.,

Inc., 604 F. Supp. 85, 99 (M.D. Pa. 1984).




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       72.         Specifically, with regard to punitive damages in the context of claims against health

care providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages

only to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
                                     willful or wanton conduct or reckless indifference to
       the rights of others. In assessing punitive damages, the trier of fact can properly

       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

40 P.S. §1303.505.

       73.         The Supreme Court has made clear that when assessing the propriety of the



                                                Hutchinson, supra at 770. An appreciation of the risk

is a necessary element of the mental state required for the imposition of punitive damages. Id. at

772.

       74.

establish that (1) a defendant had a subjective appreciation of the risk of harm to which the plaintiff

was exposed and that (2) he acted, or failed to act, as the case may be, in conscious disregard of

             Id.

       75.         Since professional negligence actions involve allegations that health care

professionals deviated from the governing standard of care, punitive damages are generally not



standard of care is so egregious as to evince a conscious or reckless disregard of a patent risk of

harm to the patient. Wagner, supra.



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       76.     Where the facts as averred show nothing more than negligence, a lapse in judgment,

or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive

damages, often at the pleadings stage of litigation and even if the complaint alleged severe injuries

or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985)

(dismissing punitive damages claim where a plaintiff alleged that a physician negligently

performed a spinal fusion surgery that left the plaintiff with severe neurological defects, and noting

      the mere pleading of outrageous conduct does not, of course, satisfy the requirement

stating facts which, if proven, would form a basis for a jury concluding that the conduct was such

                                                                              Wagner, supra at *11

(contentions that physician failed to prescribe antibiotics, order certain tests or request an

infectious disease consult constituted

                                              McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa.

Com. Pl. 1996) (sustaining preliminary objections and dismissing claim for punitive damages

where the plaintiff alleged negligence in the prenatal care of her child that led to the child was



but rather the alleged conduct of defendants that is at iss       Flurer v. Pocono Medical Ctr., 15

Pa. D. & C.4th 645, 670 (Pa. Com. Pl. 1992) (sustaining preliminary objections and finding that



where a hospital allegedly failed to properly utilize a fetal monitor on a pregnant woman who was

involved in a serious car accident and thereafter delivered a stillborn child).

       77.     Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd



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Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-



                                                                       kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       78.                                                                   outrageous or similar

behavior do not even remotely meet the requisite standard under Pennsylvania law that would

permit an award of punitive damages.

       79.     Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are

specifically restricted in claims involving vicarious liability:

       (c)    Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that



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       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c).

       80.                                                                     H.S. Similac and/or

Enfamil at Pennsylvania Hospital shortly after her birth and failed to warn Plaintiff-parent of the

alleged risks of such products. See

       81.        Even if such actions were claimed to be egregious or malicious such that punitive

damages were permissible, which is denied for the reasons stated above, Plaintiffs must allege

facts to establish that Moving Defendants had actual knowledge of the alleged wrongful conduct

and nevertheless allowed it. See Zazzera v. Roche, 54 D. & C. 4th 225, 238 (Pa. Com. Pl. 2001);

Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637 (Pa. Super. 1985).

       82.        In this matter, Plaintiffs have failed to plead any facts to suggest that Moving

Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       83.

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E.         MOTION TO DISMISS PLAINTIFF-

       84.        Plaintiff-parent seeks to recover damages in her own right and as the parent and

natural guardian of H.S.

       85.

Defendants in which it is averred that Plaintiff-                    ificant emotional distress, loss



            See




                                                    20
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       86.          However, no specific cause of action is asserted as to any damages sought by behalf

of Plaintiff-parent, who is not alleged in the Complaint to have suffered any physical injuries as a

result of the alleged negligent conduct of Moving Defendants. For this reason, Plaintiff-

claim should be dismissed.

       87.          Further, even if Plaintiff-parent had properly articulated a cause of action in the

Complaint to allow her to recover damages in her own right, the Complaint should be stricken

pursuant to Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

       88.          Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf

of both the Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein.

Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint,

specifically identifying the cause of action asserted and relief sought in each count.

       89.          Additionally, although the statute of limitations for claims asserted on behalf of

minors are tolled until the age of majority, Plaintiff-                              similarly tolled and

were required to have been brought within two years of the alleged injury. See Hathi v. Krewstown

Park Apts, 561 A.2d 1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524.

       90.          Plaintiffs allege that H.S. was born on September 12, 2006, was fed the Defendant

                                                                                              See Exhibit

             -13.

       91.          Thus, since the Complaint herein was filed on March 24, 2022, Plaintiff-

claims herein are clearly time-barred based on the applicable statute of limitations.




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        F.
                COMPLY WITH Pa.R.C.P. 1024

        92.     Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every



and belief.

        93.     Rule 1024(c) requires that the verification be made by one or more of the parties

filing the pleading.

        94.

violation of Rule 1024. See

        95.     Accordingly, the Complaint should be stricken for lack of an appropriate

verification.

        WHEREFORE, Defendants The Pennsylvania Hospital of the University of Pennsylvania

Health System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania

d/b/a Penn Medicine respectfully request that this Honorable Court sustain the instant Preliminary

Objections and enter the attached proposed Order.



                                              BURNS WHITE LLC


                                        BY:
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                                              RICHARD S. MARGULIES, ESQ.
                                              Attorneys for Defendants,
                                              The Pennsylvania Hospital of the University of
                                              Pennsylvania Health System d/b/a Pennsylvania
                                              Hospital and The Trustees of the University of
                                              Pennsylvania d/b/a Penn Medicine




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 Terraine Abdullah, on her own behalf and as Parent and      COURT OF COMMON PLEAS
 Natural Guardian of H.S., a minor                           PHILADELPHIA COUNTY

                        Plaintiff                            CIVIL DIVISION

 v.                                                          MARCH TERM, 2022
                                                             NO. 2583
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.



      MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
       DEFENDANTS THE PENNSYLVANIA HOSPITAL OF THE UNIVERSITY OF
     PENNSYLVANIA HEALTH SYSTEM AND THE TRUSTEES OF THE UNIVERSITY


I.      MATTER BEFORE THE COURT

        Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

P                                                          and The Trustees of the University of

Pennsylvania to Plaintiffs Complaint.



important violations of the procedural requirements governing pleadings and verification of the

accuracy of the factual averments of the Complaint (there are not separate counts identified for the

causes of action of each of the Plaintiffs attempts to allege), most of which are averred upon

informat                                                                                     legally
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recognized cause of action against Moving Defendants, under Pennsylvania law. Our procedural

rules do not permit a plaintiff to simply identify allegedly tortious conduct by a defendant without

pleading the necessary facts to satisfy the elements of the tortious conduct.

         Here, Plaintiffs plead that Moving Defendants permitted Co-                         -based

infant formula to be fed to prematurely born infants, which allegedly caused those infants to




for purposes of these Preliminary Objections accepted as true, do not support the contention that

              -based infant formulas cause



liability causes of action that they attempt to assert against Moving Defendants. It is further



Pennsylvania law against Moving Defendants, as explained in this submission by Moving

Defendants.

II.      STATEMENT OF QUESTIONS PRESENTED

         1.      Whether this Honorable Court should

                     cause of action

the claim that             k-based products are unreasonably dangerous and Moving Defendants

cannot be held liable for negligent failure to warn on the basis that they are a supplier of such

products?

         Suggested answer in the affirmative.

         2.

                      cause of action with prejudice because it improperly alleges that Moving



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Defendants were required to obtain Plaintiff-           informed                          milk-based

products for feeding of Plaintiff-minor and warn her of the risks and/or alternatives of same?

       Suggested answer in the affirmative.

       3.

                          cause of action with prejudice because Moving Defendants cannot be held

liable on such a theory for a product which is regulated by the FDA and which is not precluded for

use in premature or low birth weight infants, and where a hospital cannot be held liable for

corporate negligence based on the alleged negligence of an individual health care provider?

       Suggested answer in the affirmative.

       4.

                           cause of action with prejudice as to the Trustees of the University of

Pennsylvania since it is not a hospital and because corporate negligence duties are non-delegable?

       Suggested answer in the affirmative.

       5.                                                                            n its entirety for

insufficient specificity of the facts and alleged injuries?

       Suggested answer in the affirmative.

       6.

as to Moving Defendants because the Complaint fails to plead facts providing a basis for an award

of punitive damages?

       Suggested answer in the affirmative.

       7.      Whether this Honorable Court should strike Plaintiff-                                to

state a cause of action, and for failure to plead separate causes of action pursuant to Pa.R.C.P. 1020

and based on the applicable statute of limitations?



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        Suggested answer in the affirmative.

        8.

provide a client verification as required by Pa.R.C.P. 1024?

        Suggested answer in the affirmative.

III.     INTRODUCTION AND FACTUAL BACKGROUND

        Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania Hospital

and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow                              -

based products by premature infants in the hospital following their birth. 1 Plaintiffs allege that the

Plaintiff-minors, including H.S., were diagnosed with necrotizing enterocolitis (NEC), a

gastrointestinal disorder that premature infants are at increased risk to develop. See

                                            at ¶ 13. Plaintiffs aver that premature infants fed with their

                                                                 ased risk of developing NEC as compared

with infants given cow               -based products (infant formula). Many of the allegations of the

                                                                                                                      -

minors received infant formula and that they developed NEC shortly after being fed with infant

formula.

        In addition to asserting product liability claims against the infant formula manufacturers

Mead Johnson & Company, LLC, Mead Johnson Nutritional Company (collectively referred to as
                                                                    2
         Johnson                                                        , Plaintiffs have alleged that Moving

Defendants are liable based on theories of failure to warn and corporate liability. See




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
2
 Mead Johnson and Abbott have been the subject of similar lawsuits in other states, including Connecticut, Illinois
and California.

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                                        at Counts VI and VII. As is discussed in detail below,

Plaintiffs claims against Moving Defendants are legally and factually deficient.

                                                                     -based products, Plaintiffs refer

in their Complaint to research studies and reports that, as alleged by Plaintiffs, indicate only that

NEC is more common in premature and low birth weight                                           -based

products as compared with similar infants fed with breast milk. See                           -23. As

discussed in detail supra, assuming the truth of the factual alleg

Complaint, the research studies cited by Plaintiffs do not support the conclusion that NEC is caused

              -                                                                      -based products

are dangerous for premature infants, such that Moving Defendants had a duty to warn Plaintiff-

parents of any risks or alternatives related to infant formula.

       Plaintiffs                       scant information regarding the factual background of this

case. Plaintiffs aver that H.S. was born prematurely on September 12, 2006

                                                                         -based products by staff at

Pennsylvania Hospital from shortly after her             Id., ¶¶ 11-12. Plaintiffs further allege that

                                 H.S. developed NEC shortly after first ingesting the Defendant

manufacturers products. Id., ¶ 13. No details are provided regarding the extent of her prematurity,

her birth weight, or her condition following birth other than that she developed NEC on an

unidentified date. Further, no facts are provided by Plaintiffs as to any medical care H.S. received

other than surgery for what period of time H.S. allegedly ingested cow          -based products, and




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which product(s) she allegedly ingested. 3 Finally, the Complaint is silent as to the nature and extent

of H.S.                                                                                                  Id. ¶ 14.

          Further, the Complaint does not provide any details whatsoever regarding communications

between Plaintiff-parent and medical providers at Pennsylvania Hospital regarding the allegations

that H.S. may have been fed w                                                                 -based products in the

hospital. Plaintiffs conceded in the Complaint that mothers are encouraged by their healthcare

professionals to breastfeed. Id. ¶ 41. However, Plaintiffs do not provide any information regarding

discussions between Plaintiff-parent and any health care providers at Pennsylvania Hospital related

to breastfeeding and/or using                     -based products in this case, including whether or not she

was encouraged to breastfeed and/or was unable or declined to do so. As noted, Plaintiffs plead

that Pl



          Plaintiffs further fail to disclose in their Complaint that infant formula is regulated by the

United States Food and Drug Administration (FDA) and that there is no restriction on the use of

cow           -based products for premature infants. The federal Infant Formula Act of 1980

                                                                                                         -359, 94 Stat.

1190. The IFA and its implementing regulations outline the requirements that infant formula must

meet, including how infant formula is made, its contents and ingredients, and the labels used on its

packages. 21 U.S.C. § 350a; 21 C.F.R. §§ 106-07. The IFA provides that infant formulas may only

                                                                                             21 C.F.R. § 106.40(a).

Neither the IFA nor the regulations exclude cow milk as an ingredient, and many infant formulas



3
  Plaintiffs aver that Abbott sells at least seven types of products directed to preterm and/or low birth weight infants,
six of which use the name Similac, and that Mead Johnson sells eight types of infant formulas using the Enfamil
brand name. Id., ¶¶ 37-38.

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for sale include cow milk. (                   -38); 21 C.F.R. § 106.3

for infants by reason of its simulation                                       21 U.S.C. § 350a; 21

C.F.R. §§

the FDA, and (2) submit a notice to the FDA at least 90 days before marketing such formula. The

notice must also state that the formula contains the required vitamins and nutrients, as

demonstrated by testing. 21 U.S.C. § 350a(b). These same FDA review procedures apply when a

                                                              21 U.S.C. § 350a(c)(2)(B); 21 C.F.R.

§ 106.3.

       Further, the FDA recognizes that certain infant formulas are intended for low birth weight

babies (such as infants born prematurely) or infants with unusual medical or dietary problems.

Indeed, such formulas have special review requirements. 21 U.S.C. § 350a(h); 21 C.F.R. §

107.50(a). For those formulas known                                                       pted from

certain requirements the required 90-

infant formula, a complete quantitative formulation for the infant formula, and a detailed

                                                                                        21 C.F.R. §

107.50(b)(3). As with other formulas, the regulations do not exclude cow milk as an ingredient for

infant formulas intended for use by an infant with a low birth weight.

       Thus, since Plaintiffs do not allege that the product did not meet federal requirements, there

is no basis for any claim that the product is unreasonably dangerous and/or should not be given

under any circumstances to premature or low birth weight infants.




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IV.    ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

                1. Moving Defendants Cannot Be Held Liable to Plaintiffs Based on a Theory
                   of Failure to Warn Because the Infant Formula is Not Unreasonably
                   Dangerous

        Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a complaint,

in the nature of a demurrer, for legal insufficiency in a pleading. A court should grant a demurrer

where, accepting as true all well pled facts, a legal cause of action cannot be maintained upon those

facts. Pa.R.C.P. 1028(a)(4); See also, Willet v. Pennsylvania Med. Catastrophe Loss Fund, 702

A.2d 850, 853 (Pa. 1997).

        Plaintiffs



a duty to provide products that were free of unreasonable risk of harm. Plai             theory against

Moving Defendants is that they were aware cow           milk-based products manufactured by Mead

Johnson and Abbott cause NEC in premature and low birth weight infants and negligently failed

to warn the parents of those infants of this danger. In support of this theory, Plaintiffs cite to five

studies comparing cow            -based products to breast milk, a Surgeon General report on the

subject, and a statement by the American Academy of Pediatrics. Taking these facts as pleaded by

Plaintiffs as true, Plaintiffs have failed to state a claim for negligent failure to warn against Moving

Defendants as they have failed to demonstrate the products in question are indeed unreasonably

dangerous. Further, to the extent the product at issue was provided in the context of medical care,

rather than commerce, there can be no claim against Moving Defendants for a product-liability

based theory of failure to warn.




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of negligen                     Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp., 596 A.2d

845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

              One who supplies directly or through a third person a chattel for another to
              use is subject to liability to those whom the supplier should expect to use
              the chattel with the consent of the other or to be endangered by its probable
              use, for physical harm caused by the use of the chattel in the manner for
              which and by a person for whose use it is supplied, if the supplier

              (a) knows or has reason to know that the chattel is or is likely to be
                  dangerous for the use for which it is supplied, and

              (b) has no reason to believe that those for whose use the chattel is supplied
                  will realize its dangerous condition, and

              (c) fails to exercise reasonable care to inform them of its dangerous
              condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388. To survive preliminary objections, Plaintiffs must aver

sufficient facts, together with the documents and exhibits attached thereto, to make out a prima

facie case as to all elements of the cause of action. Northern Forests II, Inc. v. Keta Realty Co.,

130 A.3d 19, 35 (Pa. Super. 2015).

        The threshold inquiry in all products liability cases is whether there is a defect which

rendered the product unreasonably dangerous. Weiner v. American Honda Motor Co., Inc., 718

A.2d 305                              A product is defective when it is not safe for its intended use,

i.e., the product left the supplier's control lacking any element necessary to make it safe for its

intended use. Id.                                                                                  Id.

Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the Defendant



                       warn. They have not done so as the studies they cite in their Complaint do not




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say    based on the very allegations in the Complaint - what Plaintiffs claim they do. Therefore,

Moving Defendants had no corresponding duty to warn.

                                                                                                        -birth-weight

infants are especially susceptible to NEC             See

this, Plaintiffs make the core claim of their Complaint                                    -based feeding products

cause NEC in preterm and low birth weight infants                    a

                                                                                       Id. Admittedly, if a product

directly causes NEC in preterm and low birth weight infants, that product would certainly be

dangerous. However, reviewing the portions of the research and trials cited by Plaintiffs in their

Complaint belie their core claim.4

         The first study cited by Plaintiffs states, according to the Complaint,

ten times more common in                                         formula-fed babies than in exclusively breast

milk-fed babies and three times more common in babies who received a combination of formula

                      Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants fed

              -based products than those fed breast milk is to say that NEC still occurs in infants

fed exclusively breast milk, but only at a lower rate. Thus,                                    study does not state

             -based feeding products causes NEC.

         As averred in the Complaint, the second

fed an exclusive breast milk-based diet were 90% less likely to develop surgical NEC compared

                                                                         -based products. Id. at ¶ 18. To state


4
                                                                               -based products increased the risk of NEC
in preterm and low-birth-weight infants, they still fail to plead sufficient facts to support this claim. The portions of
the studies relied upon by Plaintiffs, taken as true at this juncture, show only that NEC can be more common in
preterm and low-birth-                                  -based products than in those fed breast or donor milk. These
                                     -based products caused
studies do reflect an increased risk of NEC in the infants, this is a legal conclusion without factual basis, which is
impermissible under Pa. R. Civ. P. 1019 (see discussion supra at p. 19).

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that preterm infants fed only breast milk are less likely to develop a form of NEC is to admit that

NEC still develops in preterm infants regardless of the diet. Thus, P

likewise                                  -based feeding products cause NEC.

        The third study cited by Plaintiffs concluded, per the Complaint,

                          -based fortifier resulted in a 4.2-fold increased risk of NEC and a 5.1-fold

increased risk of surgical NEC or death compared to fortification with a breast milk-based

             Id. at ¶ 19. As Plaintiffs admitted in the Complaint, preterm and low-weight-birth infants

are especially susceptible to NEC. Put another way, these infants are already at an increased

risk of NEC regardless of their diet. This study                                               reflects

this in explaining different rates of risk of developing NEC when using                -based or breast

milk-based fortifiers.

milk-based fortifiers cause NEC.

        The Surgeon General report cited by Plaintiffs is alleged in the Complaint to reiterate the

                                                                                                higher

rates                                   that             infants who are not breastfed are 138% more

likely to develop NEC." Id.                                              -based formula caused NEC

as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead, the Surgeon

General report,                                              20, makes the same acknowledgment as

Plaintiffs     that preterm infants are highly susceptible to NEC regardless of their diet, and that

NEC occurs in different rates in                                     -based products and breast milk.

The report does not state that the former causes NEC.

        According to the Complaint, the American Academy of Pediatrics makes a nearly identical

statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a recommendation that



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                                                recommendation is alleged to be related in part to

                       . Id. This statement acknowledges that NEC still occurs in preterm infants

fed only breast milk, but simply at a lower rate. According to the Complaint, the Academy does

not state                -based feeding products cause NEC.

        The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

information. As alleged in the Complaint,                                               -birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-                                        -based formula suffered NEC 21




             Id. at ¶ 22-23. Once again, these studies,

Complaint,                               -based formula causes NEC.

                                                                                    lk-based feeding

products cause NEC and are therefore unreasonably dangerous rests upon the notion that

correlation equals causation. The numerous studies and reports cited by Plaintiffs in their

Complaint purportedly show higher rates of NEC in preterm and low birth weight infants fed

milk-based diets than those fed breast milk, but this data exists in a world where Plaintiffs admit

these infants are at a high risk of developing NEC regardless of diet. All that

demonstrates, as pleaded under these facts, is that breast milk may be better at reducing that already

                                                       -based alternatives. This proposition does not

                                                 -based alternatives unreasonably dangerous within




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the meaning of § 388 of the Restatement (Second) of Torts and, accordingly, does not trigger a

duty to warn on the part of Moving Defendants.

               2.
                    Liable for Negligent Failure to Warn

       Assuming arguendo                                               milk-based feeding products

can be seen as dangerous for their intended use as opposed to simply being a less effective

alternative to breast milk products, Moving Defendants still had no duty to warn of the nature of

           -based products under §                                                                  -

based feeding products. Plaintiffs cite to no caselaw in Pennsylvania holding that a hospital is

considered a supplier under § 388. Indeed, extensive research into this topic turns up no prior

decisions where a Pennsylvania court has found a hospital to be a supplier in a products liability

case for negligent failure to warn.

       To determine a hospital may be defined as supplier of products ancillary to and following

medical services within the meaning of § 388 would be to impose on the hospital a duty to warn

about every conceivable object a patient may encounter in a hospital, right down to the napkins

available in the hospital cafeteria. Imposing such a duty does nothing to advance the purpose of

products liability law, i.e. to protect consumers from dangerous products in the stream of

commerce. Moving Defendants are not in the best position to determine what products are

available in the market for premature and low weight birth infants. In light of this, Plaintiffs have

not sufficiently pleaded that Moving Defendants are a supplier under § 388.

       For the foregoing reasons, Plaintiffs have not pleaded sufficient facts to aver the Defendant

                          are unreasonably dangerous for their intended use and thus have not

established Moving Defendants had a duty to warn. Alternatively, even if the products at issue

here can be viewed as unreasonably dangerous, Plaintiffs still have failed to plead sufficient facts

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that Moving Defendants are a supplier of products that are ancillary to the medical services

provided to Plaintiffs. Accordingly, it is respectfully requested this Court sustain Moving

Defendants

                3. There is no Legal Basis for Plaintiffs to Present an Informed Consent
                                                          -based products

                                               is couched in language of product liability related to

                               duty

              -based infant formula) that was free of unreasonable risk of harm to consumers

(parents and their premature infants). This theory fails for the reasons stated above. However, to

the extent that Plaintiffs are alleging that Moving Defendants, in providing medical care to

Plaintiff-minor, failed to obtain Plaintiff-                                         -based products

and failed to warn of the purported risks and alternatives of such products, such a claim is also

clearly precluded by Pennsylvania law.

        Plaintiffs broadly allege that Moving Defendants failed to warn of the alleged dangers of

             -based products and provide them with information necessary to make an informed

                                                                                                 See

                       This purported failure to warn/inform allegedly led Plaintiff-minor to be fed

              -based product that                        caused and/or increased the risk of NEC. Id.

at ¶ 125. The sole basis upon which Plaintiffs can proceed against

         in the context of providing medical care is to assert such a claim under a theory of failure

to obtain informed consent. Plaintiffs are impliedly asserting that Moving Defendants failed to

obtain Plaintiff-         informed consent                                              -based infant

formula to feed her child as opposed to breastfeeding or using breast donor milk, based on the




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                              -based products. However, such a claim is not cognizable under

Pennsylvania law.

       Claims for informed consent in medical malpractice actions are governed by the Medical

Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the

             procedures:

                (1) Performing surgery, including the related administration of
                anesthesia.

                (2) Administering radiation or chemotherapy.

                (3) Administering a blood transfusion.

                (4) Inserting a surgical device or appliance.

                (5) Administering an experimental medication, using an
                experimental device or using an approved medication or device in
                an experimental manner.

                (b) Description of procedure.--Consent is informed if the patient has
                been given a description of a procedure set forth in subsection (a)
                and the risks and alternatives that a reasonably prudent patient
                would require to make an informed decision as to that procedure.
                The physician shall be entitled to present evidence of the description
                of that procedure and those risks and alternatives that a physician
                acting in accordance with accepted standards of medical practice
                would provide.

40 P.S. §1303.504 (emphasis added).

       The clear language of the statute above reveals two significant tenets. The first is that the

informed consent statute does not apply to the use of infant formula in feeding premature infants,

since that                                                                                         -

                  was required for the use of infant formula to feed her infant, including warning

her of the risks or alternatives of same. Second, the informed consent statute only applies to

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physicians, not hospitals, in the context of medical procedures. See Morgan v. MacPhail, 550 Pa.

202, 205 (1997).

         Informed consent has not been extended to any type of therapeutic treatment involving an

i                                                           an ongoing treatment upon examination

by the treating physician, where any                                                             Boyer

v. Smith, 345 Pa. Super. 66, 71, 497 A.2d 646, 648 (1985). The Superior Court ruled that the

informed consent doctrine is premised upon the legal theory that the performance of a medical

procedure without a patient's informed consent constitutes a technical assault or battery and that

merely prescribing an oral medication does not involve a touching so not battery can occur and no

informed consent is needed. Id. at 649. The same principles clearly apply to administration of

infant formula to a newborn.

         Further, an informed consent claim is only applicable to a physician and not the hospital

and/or other health care entities. See 40 P.S. § 1303.504; see also Kelly v. Methodist Hosp., 664

A.2d 148 (Pa. Super. 1995) (holding that generally only the physician who performs the operation

on the patient has the duty of obtaining his consent for the procedure). The Pennsylvania Supreme

Court has held that informed consent involves the relationship between a physician and the patient

and that the failure to obtain proper informed consent is deemed a battery, and the institution plays

no role in the communications involved in obtaining the same. See Valles v. Albert Einstein

Medical Center, 805 A.2d 1232 (2002). In Valles, the Court decisively ruled that:

         We find that a battery which results from a lack of informed consent is not the type
         of action that occurs within the scope of employment. In our view, a medical facility
         cannot maintain control over this aspect of the physician-patient relationship. Our
         lower courts have recognized that the duty to obtain informed consent belongs
         solely to the physician. (Citations omitted). Informed consent flows from the
         discussions each patient has with his physician, based on the facts and
         circumstances each case presents.
         control into this highly individualized and dynamic relationship. We agree with the

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        lower court that to do so would be both improvident and unworkable. Thus, we
        hold that as a matter of law, a medical facility lacks the control over the manner in
        which the physician performs his duty to obtain informed consent so as to render
        the facility vicariously liable.

Id., 805 A.2d at 1239 (emphasis added). The Valles case remains the prevailing law in

Pennsylvania. Pennsylvania courts have repeatedly applied this doctrine, recognizing and



unauthorized proced                                    Isaac v. Jameson Mem. Hosp., 932 A.2d 924,

929 (Pa. Super. 2007) (citing Moure v. Raeuchle, 604 A.2d 1003, 1008 (Pa. Super. 1992). Further,

                                                                                 y, hospitals cannot be



facility cannot maintain control over this aspect of the physician-                          Isaac, 932

A.2d at 930. As such, it is clear that the instant cause of action cannot be sustained against Moving

Defendants as a matter of law.

        B. DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
           CARE PROVIDER

                1. Moving Defendants Cannot be Held Liable for Corporate Negligence
                   Regarding a Food Product Which is Permitted for its Intended Use
                   Pursuant to Federal Law

        In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.



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                                                         on the same rationale as the claim for failure

to warn. Both claims are based on the alleged failure to provide warnings to patients related to the

use of cow milk-based infant formula. As noted above, infant formula is regulated by the FDA,

and there is no legal                                 s milk-based products for feeding of premature

infants. Indeed, the Infant Formula Act expressly acknowledges that it is permissible to provide

      -milk based products to low birth weight infants. Further, as discussed above, Plaintiffs

                                      -based formula is a dangerous product. Thus, there is no legal

basis to contend that Moving Defendants can be held liable pursuant to a theory of corporate

liability for failing to preclude the use        s milk-based products in the feeding of premature

infants in the hospital.

        Additionally, Courts considering the application of the duties set forth in Thompson have

insisted on more than a simple finding of a negligent act by someone for whom the hospital is

purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995). In

considering whether the plaintiff could sustain corporate negligence claims based on these

allegations, the court analyzed the Thompson decision and delineated the standards required to

sustain such a claim:

               The Thompson theory of corporate liability will not be triggered every time
               something goes wrong in a hospital which harms a patient . . . To
               establish corporate negligence, a plaintiff must show more than an act of
               negligence by an individual for whom the hospital is responsible. Rather,
               Thompson requires a plaintiff to show that the hospital itself is breaching a
               duty and is somehow                    Thompson contemplates a kind of
                systemic negligence

Id. at 1386-87 (citations omitted and emphasis added). Thus, c

                                 Id. As noted by the court in Edwards, this reading of t

opinion in Thompson is the only way to logically construe its holding, as hospitals are already held

                                                                                            Thompson
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requires a plaintiff to show that the hospital itself

Id. at 1387; see also MacDonald v. Chestnut Hill Hosp., 2005 Phila. Ct. Com. Pl. LEXIS 273, 18 (Pa.

                                                                                                    ols

were routinely ignored to the detriment of patients or that the kind of systematic negligence on the

part of CHH required by the Edwards

        Thus, a hospital may not be held liable via corporate negligence simply based on the alleged

negligence of an individual health care provider. Accordingly, even if Plaintiffs could establish that

                      -based infant formula was a breach of the standard of care by unidentified health

care providers based on the specific circumstances of the Plaintiff-                               not

been pleaded by Plaintiffs considering the paucity of the allegations in the Complaint, such evidence

cannot support a finding of corporate liability.

        For the reasons stated above, Count VII of Pla

prejudice.

                2. Plaintiffs Are Precluded From Pursuing Corporate Negligence Claims as
                   to The Trustees of the University of Pennsylvania

        As noted infra, the Pennsylvania Supreme Court set forth certain nondelegable duties of

hospitals, which if violated may support a finding of corporate negligence. The Thompson holding

                                                                                                  such

entities performed similar functions as hospitals. See Shannon v. Health America Pennsylvania,

Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland Park Care Center, LLC, 57 A.3d 582

(Pa. 2012). However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

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& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       There is no legal basis for holding that the purported corporate parent of a hospital can be

held liable under a theory of corporate negligence. The Trustees of the University of Pennsylvania

is not a hospital and cannot be held liable under a theory of corporate liability, regardless of its

relationship with Pennsylvania Hospital. Moreover, as Pennsylvania Courts have consistently

                                            -                    one entity can be held liable for a

breach of these duties. The Scampone Court cautioned that the trial court should ensure that

 multiple entities are not exposed to liability for breach of the same non-delegable duties. 57 A.2d

at 606-07. Thus, even if a corporate negligence claim were permissible as to Pennsylvania

Hospital, which is denied for the reasons stated above, The Trustees of the University of

Pennsylvania, which is not a hospital, cannot also be exposed to liability for an alleged breach of

the same, non-delegable duties arising out of the same factual allegations. Accordingly, even



the non-hospital Defendant, the Trustees of the University of Pennsylvania, are legally insufficient

and must therefore be dismissed.

       C. MOTION TO STRIKE PLAINTIFFS COMPLAINT FOR INSUFFICIENT
          SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the nature of

a motion to strike for insufficient specificity in a pl



rest, and the complaint must also formulate the issues by summarizing the facts essential to support

the claims. Alpha Tau Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352

(Pa. Super. 1983) (citations omitted). Pennsylvania Rule of Civil Procedure 1019(a) provides that

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                                                                          be stated in a concise and

                                      As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       Further, it is well established that, with regard to the description of injuries sustained by a

plaintiff, the Complaint must be stated with sufficient particularity to put the defendant on notice

of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa. 1953).

Complaint must set forth the extent, nature, location and duration of the injuries suffered,

and injuries that are permanent should be stated specifically. Miller v. Perrige, 71 Pa. D. &

C.2d 476, 479 80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa.



averment under which any injuries whatever could be proved at the trial. Defendant would have

no knowledge in advance of the trial of what they are.

                   Complaint is woefully deficient with regard to the specificity of the allegations

of the relevant facts and injuries at issue in this case.                              material facts

                                       tment, diagnosis and injuries is limited to four paragraphs,

which are utterly insufficient to enable defendants to prepare their defenses. See

11-14. Plaintiffs aver that the minor was born prematurely but do not identify the gestational age
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at which the child was born or her birth weight.

                                                                               (Id. at ¶ 12) does not

comply with the fact-pleading requirements of Rule 1019(a), since such allegations do not provide

Moving Defendants with appropriate notice of the facts as to whether the minor actually ingested

            -based products. Further, plaintiffs have failed to identify which of the numerous

products sold by Abbott and Mead Johnson under the Similac and Enfamil brand names were

ingested by the minor. Id. at ¶¶ 37-38.

of the material facts as to the period of time in which such products were ingested, when the minor

was allegedly diagnosed with NEC and what treatment was provided for that condition.

                                                                                -

that are alleged to have resulted from the diagnosis of NEC.

with particularity, is amorphous, vague, and open-ended. Pursuant to Pennsylvania pleading

requirements, Moving Defendants should not be compelled to defend a claim for which the

statement of injury is unspecified and subject to change.

        In short, P

Rules of Civil Procedure as to the necessary specificity for the description of the facts and alleged

injuries sustained.

                                                                   Therefore              Complaint

should be stricken in its entirety.

        D. MOTION TO STRIKE PLAINTIFFS CLAIMS FOR PUNITIVE DAMAGES

        As in the other infant formula cases, In the Ad Damnum clauses of Counts VI and VII of

the Complaint, Plaintiffs make baseless accusations that Moving Defendants engaged in

oppressive, reckless, malicious and/or fraudulent conduct that allegedly justify an award of



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punitive damages. See                   pp. 38, 46. However, the Complaint contains no specific

allegations of conduct that would permit recovery of punitive damages as to Moving Defendants.

Rather, Plaintiffs merely allege that                                 H.S. may have been given a

cow        -based infant formula following birth, absent any context to indicate that such an action

was inappropriate based on the specific issues involved in H.S.

following birth. For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

                                                                         -based products.



mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula in

care of low birth weight infants, with no r                                     -based products for

such infants. Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least four

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants

engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow

milk-based infant formula. Absent specific factual allegations to justify the claim that the use of

infant formula in H.S.

damages in this case. Merely contending that punitive damages should be awarded with no

supporting factual justification requires dismissal of this claim.

       Since the purpose of punitive damages is not compensation of a plaintiff but punishment

of the defendant and deterrence, punitive damages can be awarded only for conduct involving

some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,

Pennsylvania

available in only                                  Wagner v. Onofrey, 2006 Pa. Dist. & Cnty. Dec.



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LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584 Pa. 179, 188, 883

A.2d 439, 445 (2005)).

punishment on a defendant who is found to have acted in a fashion which is particularly

             Wagner at *12.

       Punitive damages may not be awarded for misconduct that constitutes ordinary negligence

such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp., 494 A.2d

1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987).

An award of punitive damages must be supported by evidence of conduct more serious than the

mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc., Inc., 604 F. Supp.

85, 99 (M.D. Pa. 1984).

       Specifically, with regard to punitive damages in the context of claims against health care

providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages only

to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
                                      willful or wanton conduct or reckless indifference to
       the rights of others. In assessing punitive damages, the trier of fact can properly
       co
       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

41 P.S. §1303.505.

       The Supreme Court has made clear that when assessing the propriety of the imposition of

                                                                                         , must be

                                     Hutchinson, supra at 770. An appreciation of the risk is a

necessary element of the mental state required for the imposition of punitive damages. Id. at 772.



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                                                         by evidence sufficient to establish that (1) a

defendant had a subjective appreciation of the risk of harm to which the plaintiff was exposed and

                                                                                                Id.

        Since professional negligence actions involve allegations that health care professionals

deviated from the governing standard of care, punitive damages are generally not recoverable in

                                                                                     standard of care is

so egregious as to evince a conscious or reckless disregard of a patent risk of harm to the patient.

Wagner, supra.

        Where the facts as averred show nothing more than negligence, a lapse in judgment, or

mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive damages,

often at the pleadings stage of litigation and even if the complaint alleged severe injuries or death.

See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985) (dismissing punitive

damages claim where a plaintiff alleged that a physician negligently performed a spinal fusion

                                                                                    the mere pleading

of outrageous conduct does not, of course, satisfy the requirement stating facts which, if proven,

would form a basis for a jury concluding that the conduct was such that an award of punitive

                                                  Wagner, supra at *11 (contentions that physician

failed to prescribe antibiotics, order certain tests or request an infectious disease consult constituted



             McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa. Com. Pl. 1996) (sustaining

preliminary objections and dismissing claim for punitive damages where the plaintiff alleged

                                                                                                      [i]t

is not the outcome of the alleged negligence that is of consideration, but rather the alleged conduct



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of defendants that is at issue    Flurer v. Pocono Medical Ctr., 15 Pa. D. & C.4th 645, 670 (Pa.

Com. Pl. 1992) (sustaining preliminary objections and finding that plainti



to properly utilize a fetal monitor on a pregnant woman who was involved in a serious car accident

and thereafter delivered a stillborn child).

       Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd

Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-

                                                       convictions for sex registration as a sexual

                                                                                      Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical




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insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       All of the cases in the paragraph above set forth examples of egregious conduct, completely

inapposite to the facts of the instant case.

reckless, outrageous or similar behavior do not even remotely meet the requisite standard under

Pennsylvania law that would permit an award of punitive damages. Even assuming the allegations

in the Complaint were true for the purposes of this argument only, the outcome in this case was

not the result of any intentional wrongdoing or deliberate misconduct on the part of Moving

Defendants or any medical provider at Pennsylvania Hospital, nor does the Complaint contain any

such allegations.

       Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are specifically

restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c).                                                                H.S. Similac

and/or Enfamil at Pennsylvania Hospital shortly after her birth and failed to warn Plaintiff-parent

of the alleged risks of such products. See                   Even if such actions were claimed to

be egregious or malicious such that punitive damages were permissible, which is denied for the

reasons stated above, Plaintiffs must allege facts to establish that Moving Defendants had actual

knowledge of the alleged wrongful conduct and nevertheless allowed it. See Zazzera v. Roche, 54

D. & C. 4th 225, 238 (Pa. Com. Pl. 2001); Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637

(Pa. Super. 1985). In this matter, Plaintiffs have failed to plead any facts to suggest that Moving



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Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.



prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E. MOTION TO DISMISS PLAINTIFF-

                1. Plaintiff-Parent has Failed to State a Cause of Action

       Plaintiff-parent seeks to recover damages in her own right and as the parent and natural

guardian of H.S. Plaintiffs Complaint includes allegations in each count asserted as to Moving

Defendants in which it is averred that Plaintiff-

of income, and/or other harms. Her life has been sig

          See                                        However, no specific cause of action is asserted

as to any damages sought by Plaintiff-parent in her own right, who is not alleged in the Complaint

to have suffered any physical injuries as a result of the alleged negligent conduct of Moving

Defendants. For this reason, Plaintiff-

                2. Plaintiffs are Required to Plead Separate Claims Pursuant to
                   Pa.R.C.P. 1020

       Further, even if Plaintiff-parent had properly articulated a cause of action in the Complaint

to allow her to recover damages in her own right, the Complaint should be stricken pursuant to

Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf of both the

Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein. Claims on



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behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint, specifically

identifying the cause of action asserted and relief sought in each count.

                3. Plaintiff-                  Precluded Pursuant to the Statute of Limitations

        Although the statute of limitations for claims asserted on behalf of minors are tolled until

the age of majority, Plaintiff-                were not similarly tolled and were required to have

been brought within two years of the alleged injury. See Hathi v. Krewstown Park Apts, 561 A.2d

1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524. Plaintiffs allege that H.S. was born on September 12,

2006

shortly thereafter. See                  -13. Thus, since the Complaint herein was filed on March

24, 2022, Plaintiff-                                      -barred based on the applicable statute of

limitations.

        F.
             COMPLY WITH Pa.R.C.P. 1024

        Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every pleading

                                                                            edge or information and

belief. Rule 1024(c) requires that the verification be made by one or more of the parties filing the

pleading. In this case, Plaintif

Rule 1024. See                                                 should be stricken for lack of an

appropriate verification.




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V,     REQUESTED RELIEF

       For the foregoing reasons, Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine respectfully request that this Honorable Court sustain their

Preliminary Objections and enter the attached Order.



                                             BURNS WHITE LLC


                                       BY:
                                             JAMES A. YOUNG, ESQ.
                                             RICHARD S. MARGULIES, ESQ.
                                             Attorneys for Defendants,
                                             The Pennsylvania Hospital of the University of
                                             Pennsylvania Health System d/b/a Pennsylvania
                                             Hospital and The Trustees of the University of
                                             Pennsylvania d/b/a Penn Medicine




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                                 CERTIFICATE OF SERVICE

       I, Richard S. Margulies, Esquire, do hereby certify that on this day I caused a true and

correct copy of the foregoing Preliminary Objections of Defendants The Pennsylvania Hospital of

the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of

the University of Pennsylvania d/b/a Penn Medicine                             to be served via

electronic filing, to the following counsel of record, addressed as follows:


                                       Tracy Finken, Esq.
                                         Anapol Weiss
                                       One Logan Square
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                                       Chicago, IL 60606

                                     Alex Walsh, Esquire
                                      Walsh Law PLLC
                            1050 Connecticut Avenue, NW, Suite 500
                                   Washington, D.C. 20036




                                         BY:
                                               RICHARD S. MARGULIES, ESQ.


Dated: April 19, 2022
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                      EXHIBIT A
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BURNS WHITE LLC                              Attorneys For Defendants,
By: James A. Young, Esq.                     The Pennsylvania Hospital of the University of
     Richard S. Margulies, Esq.              Pennsylvania Health System d/b/a Pennsylvania
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Terraine Abdullah, on her own behalf and as COURT OF COMMON PLEAS
Parent and Natural Guardian of H.S., a      PHILADELPHIA COUNTY
minor
                                            CIVIL DIVISION
                      Plaintiff
                                            MARCH TERM, 2022
v.                                          NO. 2583

MEAD JOHNSON & COMPANY, LLC, et
al.

                      Defendants.


          NOTICE OF INTENTION TO ENTER JUDGMENT OF NON PROS
                   ON PROFESSIONAL LIABILITY CLAIM

TO:    Tracy Finken, Esq.
       Anapol Weiss
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       Washington, D.C. 20036
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 168 of 504 PageID #:176




       Pursuant to Pennsylvania Rule of Civil Procedure 1042.7, Defendants, The Pennsylvania

Hospital of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The

Trustees of the University of Pennsylvania d/b/a Penn Medicine, hereby notify Plaintiffs of the

intention to enter a judgment of non pros after thirty (30) days of the date of the filing of this

notice if certificates of merit are not filed as required by Rule 1042.3.

       The judgment of non pros will be entered as to all claims against Defendants The

Pennsylvania Hospital of the University of Pennsylvania Health System d/b/a Pennsylvania

Hospital and The Trustees of the University of Pennsylvania d/b/a Penn Medicine contained

within Plaintiffs Complaint.



                                               BURNS WHITE LLC



                                     BY:
                                               JAMES A. YOUNG, ESQUIRE
                                               RICHARD S. MARGULIES, ESQUIRE
                                               Attorney for Defendants,
                                               The Pennsylvania Hospital of the University of
                                               Pennsylvania Health System d/b/a Pennsylvania
                                               Hospital and The Trustees of the University of
                                               Pennsylvania d/b/a Penn Medicine

Date: April 26, 2022
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                                CERTIFICATE OF SERVICE

       I, Richard S. Margulies, Esquire, counsel for Defendants, The Pennsylvania Hospital of the

University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the

University of Pennsylvania d/b/a Penn Medicine certify that a true and correct copy of the attached

Notice of Intent was electronically filed and e-served to counsel as follows:

                                       Tracy Finken, Esq.
                                         Anapol Weiss
                                       One Logan Square
                                  130 N. 18th Street, Suite 1600
                                    Philadelphia, PA 19103

                                    Ashley Keller, Esquire
                                     Keller Lenkner, LLC
                               150 N. Riverside Plaza, Suite 4100
                                      Chicago, IL 60606

                                     Alex Walsh, Esquire
                                      Walsh Law PLLC
                            1050 Connecticut Avenue, NW, Suite 500
                                   Washington, D.C. 20036




                                             BY:
                                                     RICHARD S. MARGULIES, ESQUIRE
DATE: April 26, 2022
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                    EXHIBIT A-8
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ANAPOL WEISS
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Identification Number: 82258
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Fax: (202) 780-3678
Email: awalsh@alexwalshlaw.com                   ATTORNEY FOR PLAINTIFFS
______________________________________________________________________________
TERRAINE ABDULLAH, on her own behalf        :    COURT OF COMMON PLEAS
and as Parent and Natural Guardian of H.S., :    PHILADELPHIA COUNTY
a Minor,                                    :
                    Plaintiffs              :
       v.                                   :    CIVIL ACTION
                                            :
MEAD JOHNSON & COMPANY, LLC, et al. :            NO.: 220302583
                    Defendants.             :
__________________________________________________________________________
                               AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA                           )
COUNTY OF PHILADELPHIA                                 )
       TRACY FINKEN, ESQUIRE, being duly sworn according to law, deposes and says that
she is the attorney for the Plaintiff above named action and that the facts set forth in the Affidavit
as set forth below are true and correct to the best of her knowledge, information and belief.
       1.      On March 24, 2022, a Civil Action Complaint was filed in the above matter in the
Court of Common Pleas of Philadelphia County, Pennsylvania.
       2.      On or around April 15, 2022, Defendants, Mead Johnson & Company, LLC and
Mead Johnson Nutrition Company, were served with a true and correct copy of the Complaint in
this matter by certified mail, return receipt requested #7020 1810 0002 1257 5326 and #7020
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1810 0002 1257 5333. A true and correct copy of the transmittal letter as well as the return
receipt is attached hereto.
       3.      I hereby state that I am the attorney for the within named Plaintiff and the facts set
forth in the foregoing Affidavit, are true and correct to the best of my knowledge, information
and belief; and this statement is made subject to the penalties of 18 Pa. C.S.A. Sec. 4904 relating
to unsworn falsification to authorities.




                                              _______________________________________
                                              TRACY FINKEN, ESQUIRE




                                                 2
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Samuel W. Silver (PA ID No. 56596)                                 Filed and Attested by the
John R. Timmer (PA ID No. 89814)                                  Office of Judicial Records
SCHNADER HARRISON SEGAL & LEWIS LLP                                   02 MAY 2022 12:38 pm
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kabrown@jonesday.com

Counsel for Defendant Abbott Laboratories


 TERRAINE ABDULLAH, on her own behalf
 and as Parent and Natural Guardian of H.S., a   COURT OF COMMON PLEAS OF
 Minor,                                          PHILADELPHIA COUNTY,
                                                 PENNSYLVANIA
                      Plaintiffs,

        v.                                       Civil Action No. 220302583

 MEAD JOHNSON & COMPANY, LLC,
 MEAD JOHNSON NUTRITION COMPANY,
 ABBOTT LABORATORIES, THE
 PENNSYLVANIA HOSPITAL OF THE
 UNIVERSITY OF PENNSYLVANIA
 HEALTH SYSTEM d/b/a PENNSYLVANIA
 HOSPITAL, and THE TRUSTEES OF THE
 UNIVERSITY OF PENNSYLVANIA d/b/a
 PENN MEDICINE,

                      Defendants.


                                    NOTICE OF REMOVAL

TO:    The Office of Judicial Records
       Of the Court of Common Pleas of Philadelphia County



                                                                                Case ID: 220302583
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       Pursuant to 28 U.S.C. § 1446(d), Defendant Abbott Laboratories files herewith a copy of

the Notice of Removal filed in the United States District Court for the Eastern District of

Pennsylvania on May 2, 2022.



May 2, 2022                                          Respectfully submitted,

                                                     /s/ John R. Timmer
                                                     Samuel W. Silver (PA ID No. 56596)
                                                     John R. Timmer (PA ID No. 89814)
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                                                     Counsel for Abbott Laboratories




                                                                                          Case ID: 220302583
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2022, I caused the foregoing to be electronically filed with

the Clerk of the Court, and to be furnished by e-mail or U.S. Mail to the following:

 Tracy Finken                                     James A. Young
 ANAPOL WEISS                                     Richard S. Margulies
 One Logan Square                                 BURNS WHITE LLC
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 Counsel for Plaintiff

 Alex Walsh                                       Defendant Mead Johnson & Company, LLC
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 awalsh@alexwalshlaw.com
 Counsel for Plaintiff                            By U.S. Mail Only


                                             /s/ John R. Timmer
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                                             John R. Timmer (PA ID No. 89814)
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                                             Counsel for Abbott Laboratories




                                                                                          Case ID: 220302583
  Case: 1:24-cv-11759
           Case 2:22-cv-01684
                      Document Document
                               #: 1-1 Filed:
                                           1 10/31/24
                                              Filed 05/02/22
                                                      Page 182
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                                                                   1 ofPageID
                                                                        18    #:190




                      IN THE UNITED STATES DISTRICT COURT
                                                        Filed and Attested by the
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                       Office of Judicial Records
                                                                           02 MAY 2022 12:38 pm
TERRAINE ABDULLAH, on her own behalf                                              S. RICE
                                                Civil Action No. __________________
and as a Parent and Natural Guardian of H.S.,
a Minor                                            (Formerly Case ID No. 220302583, Court of
335 Passmore Street                                Common Pleas Philadelphia County)
Philadelphia, PA 19111,

                Plaintiffs,
        v.
MEAD JOHNSON & COMPANY, LLC
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703

MEAD JOHNSON NUTRITION COMPANY
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703

ABBOTT LABORATORIES
CT Corporation System
208 So. Lasalle Street, Suite 814
Chicago, IL 60604

THE PENNSYLVANIA HOSPITAL OF THE
UNIVERSITY OF PENNSYLVANIA
HEALTH SYSTEM d/b/a PENNSYLVANIA
HOSPITAL
3400 Civic Center Blvd.
Philadelphia, PA 19104

THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA d/b/a PENN MEDICINE
133 South 36th Street
Philadelphia, PA 19104

                Defendants.



                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,




                                                                                           Case ID: 220302583
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Defendant Abbott Laboratories (“Abbott”) hereby removes the above-captioned action from the

First Judicial District of Pennsylvania, Court of Common Pleas of Philadelphia County, Case ID

No. 220302583, to the United States District Court for the Eastern District of Pennsylvania.

Abbott provides this “short and plain statement of the grounds for removal.” 28 U.S.C. § 1446(a).

                             NATURE OF REMOVED ACTIONS

       1.      On March 24, 2022, Plaintiff filed this action in the First Judicial District of

Pennsylvania, Court of Common Pleas of Philadelphia County, Case ID No. 220302583.

       2.      Plaintiff’s filing of this action follows more than 300 other individuals who have

filed similar lawsuits across the country in recent months. These cases are about infants who were

born too early—before 37 weeks of gestation—and developed necrotizing enterocolitis (“NEC”),

an umbrella term for a disease of the gastrointestinal tract that occurs in premature infants. NEC’s

causes are both complex and multifactorial, meaning that it has many known contributing factors.

Among these many risk factors, there are only two reliable prognostic parameters: gestational age

and birth weight. The younger the infant’s gestational age and the less an infant weighs, the greater

the risk that the infant will develop NEC.

       3.      These cases target a series of specialized formula and fortifier nutrition products

that contain cow’s milk protein. These products are designed and sold specifically for premature

infants, who suffer from a host of medical issues relating to low birthweight and

underdevelopment, regardless of what nutrition is administered.

       4.      Infants who are born prematurely, at a low birth weight, and small for their

gestational age, have underdeveloped or maldeveloped gastrointestinal systems that are simply not

prepared to receive nutrition outside the womb. As a result, highly specialized medical

professionals must make sophisticated judgments about the substance, quantity, timing, and



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method of administration when providing nutrition to these fragile infants. A team of NICU

physicians and specialists continuously monitors premature infants for early signs of NEC (among

the many other things that can go wrong). They do so regardless of how nutrition is administered,

and regardless of whether it consists of the mother’s own milk, human donor milk, specialized

formula or fortifier, or a combination. Each of these lawsuits alleges that the use of Abbott’s and/or

Mead Johnson’s specialized preterm infant nutrition products caused an infant’s NEC because the

products are derived from cow’s milk. The evidence will show that there is no basis for these

allegations. These products are safe and save lives. Without them, many more infants would die

or suffer serious setbacks, or face lifelong impairment.

        5.       Like those other actions, Plaintiff asserts product liability claims arising from the

administration of Abbott’s and/or Mead Johnson’s specialized preterm infant formula and/or

human milk fortifiers, which Plaintiff alleges caused her premature infant to develop NEC.

Plaintiff asserts the following causes of action (“COAs”) against Abbott and Defendants Mead

Johnson & Company, LLC and Mead Johnson Nutrition Company (“Mead Johnson”): (1) strict

liability for design defect (“Count I”); (2) strict liability for failure to warn (“Count II”); (3)

negligence (“Count III”); (4) intentional misrepresentation (“Count IV”); and (5) negligent

misrepresentation (“Count V”).

        6.       Unlike most of the lawsuits that preceded this one, however, Plaintiff in this case

also asserts two causes of action against hospital defendants—namely, The Pennsylvania Hospital

of The University of Pennsylvania Health System d/b/a Pennsylvania Hospital (“Pennsylvania

Hospital”)1 and The Trustees of the University of Pennsylvania d/b/a Penn Medicine, (“Penn



        1
         Pennsylvania Hospital argues that even if Plaintiff “had a viable corporate negligence claim against
Pennsylvania Hospital, any such claim is precluded against the Trustees of the University of Pennsylvania d/b/a
Penn Medicine since it is not a hospital.” (Hospital Defendants’ Preliminary Objections ¶ 45.) We agree that if

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Medicine”) (collectively, the “Hospital Defendants”). Plaintiff’s claims against the Hospital

Defendants are for: (1) negligent failure to warn (“Count VI”); and (2) negligent corporate liability

of health-care provider (“Count VII”).2

         7.       The Hospital Defendants are citizens of Pennsylvania and therefore are not diverse

from Plaintiff.

         8.       Notwithstanding Plaintiff’s inclusion of the non-diverse Hospital Defendants, this

case is properly removed to this Court pursuant to 28 U.S.C. § 1441 because Abbott has satisfied

the procedural requirements for removal and this Court has subject matter pursuant to 28 U.S.C. §

1332.

         9.       As explained in detail below, Plaintiff improperly joined the Hospital Defendants

in this case.

         10.      Nearly all of the hundreds of plaintiffs who have filed similar product liability cases

relating to specialized preterm infant formula and fortifier product have asserted claims against the

manufacturers alone—not any hospitals or medical providers—and there are sound reasons for

this.3 Indeed, the Pennsylvania residents who filed in Illinois state court, represented by the same

plaintiffs’ counsel here, did not include any claims against the hospitals or medical providers.




Pennsylvania Hospital is not considered a hospital, it does not owe any of the duties outlined in Thompson v. Nason
Hospital, 527 Pa. 330, 591 A.2d 703 (1991), and no claim may be brought against it under the theory of corporate
liability. See infra ¶ 36 et seq.
         2
            The Hospital Defendants have filed Preliminary Objections in state court, objecting to both causes of
action advanced by Plaintiff against them. See Ex. A-4. The Hospital Defendants object to these causes of action on
the grounds that Abbott and Mead Johnson’s products are not unreasonably dangerous and that a cause of action for
corporate liability of a healthcare provider fails because Pennsylvania law requires more than a mere act of
negligence for liability to attach to a hospital. Id. at 3, 9. The Hospital Defendants also have moved to strike
Plaintiff’s Complaint for lack of specificity, Id. at 11.
         3
            Plaintiff’s counsel’s decision to exclude local hospitals from the Illinois cases, and the demonstrated
ability of those suits to proceed without them, undermines any forthcoming argument that they are necessary or
indispensable parties.


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        11.    As plaintiffs filed cases in jurisdictions all over the country, Abbott requested

multidistrict consolidation to efficiently litigate these cases and safeguard the standard of care

practiced in NICUs around the country. In an attempt to escape an orderly process, Plaintiff’s

counsel began filing cases in state court, naming hospitals as co-defendants, despite the clear bar

against doing so.

        12.    On April 8, 2022, the United States Judicial Panel for Multidistrict Litigation

(“JPML”) established a Multi-District Litigation (“MDL) for such claims against Abbott and Mead

Johnson pending in federal courts nationwide. See In re Preterm Infant Nutrition Prods. Liab.

Litig., MDL No. 3026, Dkt. 119 (Apr. 8, 2022 Order). More than a dozen law firms represent those

plaintiffs across the country, some of which are leading the MDL and Illinois litigations. And while

Plaintiff’s counsel here has filed cases in other jurisdictions, they have not gained a leadership

position in those other proceedings.

        13.    In an apparent attempt to secure a leadership role in this nationwide litigation,

Plaintiff’s counsel is now attempting to assert claims against the involved hospitals to prevent

removal and transfer to the Preterm Infant Nutrition Products MDL. In the past several weeks,

Plaintiff’s counsel has filed nine lawsuits in California on behalf of twenty-five plaintiffs, and

twenty-nine lawsuits in Pennsylvania on behalf of twenty-nine plaintiffs. In all of these lawsuits,

Plaintiff’s counsel has named as defendants the manufacturers and also the hospitals in which the

premature infants were born and/or received medical treatment. Had these cases been filed against

only the product manufacturers (like the others), they would be readily removed and transferred to

the MDL—where Plaintiff’s counsel has no leadership role. This gamesmanship should not be

tolerated.

        14.    Having removed this action, Abbott shall promptly request that the JPML transfer



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this action to the Preterm Infant Nutrition Products MDL pursuant to the “tag-along” procedure

contained in the JPML Rules and the Case Management Order entered by the Northern District of

Illinois on April 26, 2022. In addition, Abbott will seek a stay of these proceedings in the interest

of judicial efficiency and consistency so that the MDL can address future motions, if any.4

       I.         ABBOTT HAS SATISFIED THE PROCEDURAL REQUIREMENTS FOR
                  REMOVAL

            15.     In accordance with 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders

which have been filed in the underlying matter are attached as Exhibit A. A copy of the State

docket, showing all filings and activity to date, is attached as Exhibit B.

            16.     Promptly following the filing of this Notice of Removal, written notice of the

removal of this action will be served on all parties’ counsel, as required by 28 U.S.C. § 1446(d).

            17.     A true and correct copy of this Notice of Removal will also be promptly filed with

the Court of Common Pleas, Philadelphia County, pursuant to 28 U.S.C. § 1446(d).

            18.     This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) because this

is a civil action in which the properly joined parties are citizens of different states and the amount

in controversy exceeds the sum of $75,000 for Plaintiff’s claims, exclusive of costs and interest.

            19.     Venue for this action is proper in this Court under 28 U.S.C. § 1441(a) because

Philadelphia County is located within the United States District Court for the Eastern District of

Pennsylvania (28 U.S.C. § 118(a)).

            20.     Plaintiff filed this action in state court on or about March 24, 2022. Abbott’s

registered agent was served with the Complaint on or about April 13, 2022. Mead Johnson, which



            4
          In recent filings in the United States District Court for the Northern District of California, Plaintiff’s
counsel has sought expedited briefing on their Motions to Remand, maligning the JPML’s selected MDL judge,
Chief Judge Rebecca R. Pallmeyer, as somehow incapable or unable to render these decisions—an attack on this
esteemed member of the judiciary that is unsupported and outlandish.


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was served on or about April 15, 2022, has consented to removal. No consent for removal from

the Hospital Defendants is required because, as set forth below, they are not properly joined. See

28 U.S.C. § 1446(b)(2)(A) (providing that only those defendants that have been “properly joined

and served” must consent).

       21.        This Notice of Removal is timely pursuant to 28 U.S.C. § 1446 because it is filed

within 30 days of service upon Abbott.

     II.     DIVERSITY JURISDICTION EXISTS AS TO THE PROPERLY JOINED
             PARTIES

       22.        This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) because this

is a civil action in which the properly joined parties are citizens of different states and the amount

in controversy exceeds the sum of $75,000 for Plaintiff’s claims, exclusive of costs and interest.

             A.      The Amount in Controversy Requirement Is Satisfied

       23.        It is evident from the Complaint and the nature of Plaintiff’s claimed injuries that

the amount in controversy exceeds $75,000, exclusive of interests and costs.

       24.        Under 28 U.S.C. § 1446(c)(2), “[i]f removal of a civil action is sought on the basis

of the jurisdiction conferred by section 1332(a), the sum demanded in good faith in the initial

pleading shall be deemed to be the amount in controversy, except that—

                  (A) the notice of removal may assert the amount in controversy if
                  the initial pleading seeks. . . (ii) a money judgment, but the State
                  practice either does not permit demand for a specific sum or permits
                  recovery of damages in excess of the amount demanded, and
                  (B) removal of the action is proper on the basis of an amount in
                  controversy asserted under subparagraph (A) if the district court
                  finds, by the preponderance of the evidence, that the amount in
                  controversy exceeds the amount specified in section 1332(a).

28 U.S.C. § 1446(c)(2)(A)-(B); Federal Courts Jurisdiction and Venue Clarification Act of 2011,

Pub.L. 112-63, Dec. 7, 2011. The United States Court of Appeals for the Third Circuit has stated

that “the party asserting federal jurisdiction in a removal case bears the burden of showing, at all

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stages of the litigation, that the case is properly before the federal court.” Frederico v. Home Depot,

507 F.3d 188, 193 (3d Cir. 2007).

       25.      “In removal cases, determining the amount in controversy begins with a reading of

the complaint filed in the state court.” Samuel–Bassett v. KIA Motors America, Inc., 357 F.3d 392,

396 (3d Cir. 2004). In determining whether the jurisdictional amount has been satisfied, the Court

can properly consider both actual and punitive damages claimed by the plaintiff. Packard v.

Provident Nat. Bank, 994 F.2d 1039, 1046 (3d Cir. 1993).

       26.      Here, Plaintiff demands a sum that exceeds the jurisdictional amount of $75,000.

For each of the causes of action asserted against each Defendant in the Complaint, Plaintiff

demands compensatory damages “in excess of $50,000,” in addition to punitive damages “in

excess of $50,000.” Compl. ¶¶ 75(a), 75(d), 83(a), 83(d), 92(a), 92(d), 102(a), 102(d), 112(a),

112(d), 126(a), 126(d), 147(a), 147(d). Plaintiff also demands non-economic damages, lost

income, out-of-pocket costs, lost earning capacity, medical costs, and attorney’s fees, but does not

plead a sum certain for such damages. Compl. ¶¶ 75(b)–(c), 75(f), 83(b)–(c), 83(f), 92(b)–(c),

92(f), 102(b)–(c), 102(f), 112(b)–(c), 112(f), 126(b)–(c), 126(f), 147(b)–(c), 147(f).

       27.      In considering both the compensatory and punitive damages sought by Plaintiff, it

is clear that she demands damages that exceed the jurisdictional threshold of $75,000 set forth by

28 U.S.C. § 1332(a).

           B.      Complete Diversity of Citizenship Exists Between the Properly Joined
                   Parties

       28.      This case is between “citizens of different States and in which citizens or subjects

of a foreign state are additional parties.” 28 U.S.C. § 1332(a)(1). As explained below, all properly

joined and served defendants are diverse from Plaintiff.




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               1.      Plaintiff Is A Citizen of Pennsylvania

        29.    Upon information and belief, at all times relevant hereto, Plaintiff is a resident and

citizen of Pennsylvania. Compl. ¶ 3.

               2.      Abbott Is A Not A Citizen of Pennsylvania

        30.    Abbott is now, and was at the time Plaintiff commenced this action, a corporation

organized under the laws of the State of Illinois with its corporate headquarters in Lake County,

Illinois.

               3.      Mead Johnson Is Not A Citizen of Pennsylvania

        31.    Mead Johnson Nutritional Company is a wholly owned subsidiary of Reckitt

Benckiser PLC and is now, and was at the time Plaintiff commenced this action, a corporation

organized under the laws of the State of Delaware, with its principal place of business in the State

of Indiana. It is thus a resident of those two states. Mead Johnson & Company, LLC is a limited

liability company whose sole member is Mead Johnson Nutritional Company, and is therefore a

resident of the States of Delaware and Indiana.

               4.      The Hospital Defendants’ Citizenship Must Be Disregarded

        32.    Defendant Pennsylvania Hospital is a non-profit corporation registered to do

business in the Commonwealth of Pennsylvania, with its principal place of business in

Philadelphia, Pennsylvania. Compl. ¶ 6.

        33.    Defendant Penn Medicine is a non-profit corporation registered to do business in

the Commonwealth of Pennsylvania, with its principal place of business in Philadelphia,

Pennsylvania. Compl. ¶ 7.

        34.    Although the Hospital Defendants are citizens of Pennsylvania, they were not

“properly joined” for the reasons set forth below. See U.S.C. § 1441(b). Thus, the Hospital



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Defendants’ citizenship must be disregarded for the purposes of determining the propriety of

removal.

           C.      The Hospital Defendants Were Fraudulently Joined And Their Citizenship
                   Must Be Disregarded

       35.      The Hospital Defendants’ presence in this case does not defeat diversity

jurisdiction, and does not prevent removal, because they were fraudulently joined.

       36.      For this Court to exercise diversity jurisdiction over the case, all parties must be

diverse. See 28 U.S.C. § 1446(b) (providing the procedure for removal based on diversity of

citizenship); 28 U.S.C. § 1332(a) (granting federal courts original jurisdiction over all actions

where the matter in controversy exceeds the sum or value of $75,000, exclusive of interests and

costs, and is between citizens of different States). Plaintiff has attempted to take advantage of this

procedural requirement by suing the Hospital Defendants, who are Pennsylvania citizens, so that

it appears as if complete diversity of citizenship does not exist among the parties.

       37.      When a non-diverse party has been joined as a defendant, the removing defendant

must demonstrate that the non-diverse party was fraudulently joined. Batoff v. State Farm Ins. Co.,

977 F.2d 848, 851 (3d Cir. 1992).

       38.      In the Third Circuit, joinder is fraudulent “where there is no reasonable basis in fact

or colorable ground supporting the claim against the joined defendant, or no real intention in good

faith to prosecute the action against the defendant or seek a joint judgment.” Boyer v. Snap-on

Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990) (quoting Abels v. State Farm Fire & Cas. Co., 770

F.2d 26, 29 (3d Cir. 1985)), cert. dismissed sub nom. American Standard v. Steel Valley Auth., 484

U.S. 1021 (1988)).

       39.      In reviewing the alleged fraudulent joinder, the Court assumes as true all factual

allegations of the complaint and resolves “any uncertainties as to the current state of controlling


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substantive law in favor of the plaintiff.” Batoff , 977 F.2d at 852 (quoting Boyer, 913 F.2d at 111).

However, a court may look beyond the complaint’s allegations at “indicia” of fraudulent joinder.

See Abels, 770 F.2d at 33. Specifically, the Third Circuit has stated that a district court is not

precluded from “a limited consideration of reliable evidence that the defendant may proffer to

support the removal,” such as evidence “found in the record from prior proceedings” or “in other

relevant matters that are properly subject to judicial notice.” Id. at 220 (citing Ritchey v. Upjohn

Drug Co., 139 F.3d 1313, 1319 (9th Cir. 1998)). “If the district court determines that the joinder

was ‘fraudulent’ in this sense, the [C]ourt can disregard, for jurisdictional purposes, the citizenship

of certain nondiverse defendants, assume jurisdiction over a case, dismiss the nondiverse

defendants, and thereby retain jurisdiction.” Id. at 216.

               1.      The Causes of Action Brought Against the Hospital Defendants Alone
                       Fail As A Matter of Law

       40.     Plaintiff alleges only two causes of action against the Hospital Defendants:

negligent failure to warn, Compl. ¶¶ 113–126 (Count VI) and negligent corporate liability of a

healthcare provider, id. ¶¶ 127–147 (Count VII).

       41.     Both counts should be dismissed because Plaintiff has not properly pleaded a claim

against the Hospital Defendants. Under Pennsylvania law, “[t]o plead corporate negligence against

a hospital, the plaintiff’s complaint must include allegations that, if accepted as true, would prove

that: (1) the hospital deviated from the standard of care; (2) the hospital had actual or constructive

notice of the defects or procedures that created the harm; and (3) the hospital’s act or omission was

a substantial factor in bringing about the harm.” Kennedy v. Butler Memorial Hosp., 901 A.2d




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1042, 1045 (Superior Ct. of Pa. 2006); see also Thompson v. Nason Hospital, 527 Pa. 330, 591

A.2d 703 (1991).

       42.     In Thompson, the Supreme Court of Pennsylvania embraced four duties that

hospitals owe to patients: (1) “a duty to use reasonable care in the maintenance of safe and adequate

facilities and equipment”; (2) “a duty to select and retain only competent physicians”; (3) “a duty

to oversee all persons who practice medicine within its walls as to patient care”; and (4) “a duty to

formulate, adopt and enforce adequate rules and policies to ensure quality care for the patients.”

Thompson, 527 Pa. at 339–40, 591 A.2d at 707 (internal citations omitted).

       43.     Here, Plaintiff has not alleged that the Hospital Defendants have breached a duty

covered by any of the four categories recognized by the Supreme Court of Pennsylvania. Instead,

she seeks to impose a new duty on the hospitals that is not recognized under Pennsylvania law: to

warn patients about the risks associated with products administered by physicians during the

course of a patient’s treatment. At bottom, this is an attempt to impose on the Hospital Defendants

a duty to obtain informed consent under the guise of a failure-to-warn claim and a corporate

negligence claim. This has been tried before, and Pennsylvania courts have flatly rejected the

practice.

       44.     To start, Pennsylvania recognizes an informed consent claim only under a battery

theory; it does not permit informed consent claims under any theory of negligence. Montgomery

v. Bazaz-Sehgal, 568 Pa. 574, 585, 798 A.2d 742, 748 (2002). Informed consent claims therefore

cannot be brought against hospitals: “In Pennsylvania, only surgeons who actually perform . . .

operative procedures have the duty to warn patients of risks and thus obtain informed consent.”

Gentzler v. Atlee, 443 Pa. Super. 128, 660 A.2d 1378 (1995). Informed consent claims against

hospitals are not permitted in Pennsylvania because a physician—not a hospital—is in the best



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position to advise a patient about the risks of a procedure or treatment. Kelly v. Methodist Hosp.,

444 Pa. Super. 427, 434, 664 A.2d 148, 151 (1995) (imposing a duty to obtain informed consent

on hospitals “ignores the[] unique aspects of the physician-patient relationship” (internal

quotations omitted)); see 40 P.S. § 1303.504 (imposing only a “Duty on Physicians” to “obtain

informed consent” before certain procedures).

       45.     Critically, claims seeking to impose a duty to warn upon a hospital “clearly attempt

to impose upon a hospital duties which are every bit as extensive as the duty to obtain informed

consent.” Id. So regardless of how it is styled, a complaint that in effect seeks “to assert an

informed consent cause of action based on negligence” must be rejected because “[s]uch a theory

does not constitute a viable cause of action in Pennsylvania.” Id.; see Dowhouer v. Judson, 45 Pa.

D. & C.4th 172, 182 (Com. Pl. 2000) (“[T]he plain reading of plaintiffs’ complaint indicates that

plaintiffs are attempting to assert an informed consent cause of action based on negligence.

This theory does not constitute a viable cause of action in Pennsylvania.”).

       46.     Put differently, Plaintiff does not assert that the Hospital Defendants breached any

duty that they owe under Thompson. She asserts only that the Hospital Defendants negligently

failed to obtain informed consent. Id. But “Thompson does not . . . expose a hospital to corporate

liability for failing to formulate certain policies relating to informed consent since mere negligence

cannot satisfy the mental state requirement for a battery claim.” Gurevitz v. Piczon, 1999 WL

1442424 (Pa. Ct. of Cmn. Pleas 1999) (citing, inter alia, Kelly, 444 Pa. Super. at 432–34, 664 A.2d

at 150). And thus, “Pennsylvania law forbids a claim of corporate negligence against a hospital to




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be founded upon a theory that the hospital failed to ensure the patient’s informed consent.” Tucker

v. Cmty. Med. Ctr., 2003 PA Super 356, ¶ 16, 833 A.2d 217, 225 (2003).

       47.     Not only has a hospital’s duty to warn been rejected under Pennsylvania law, but

the Supreme Court of Pennsylvania has explained why: imposing such a duty to warn on hospitals

“would do little in the way of providing an incentive to safety.” Cafazzo v. Cent. Med. Health

Servs., Inc., 430 Pa. Super. 480, 486, 635 A.2d 151, 153–54 (1993), aff’d, 542 Pa. 526, 668 A.2d

521 (1995). Cafazzo reasoned that “a hospital not involved in the development or manufacture of

the product is in no better position to prevent circulation of a defective product”—or to warn of its

defects—than those who researched, developed, marketed, and sold the product. Id. Thus, Cafazzo

held that even if a hospital could be considered a “seller” of an allegedly defective product used in

medical care—though the court found it could not—strict liability would not apply because

“imposing liability for a poorly designed or manufactured product on the hospitals and doctors

who use them . . . is highly unlikely to effect changes” in product safety. Id. at 535, 668 A.2d at

526.

       48.     In addition, Plaintiff cannot contend that the Hospital Defendants are liable for

failure to warn under a vicarious liability theory. First, Plaintiff did not plead that theory in her

Complaint. In any event, the Supreme Court of Pennsylvania also has recognized that hospitals are

not liable for a failure to obtain informed consent under a theory of vicarious liability because it

would be inappropriate to “interject” an element of control by a hospital into the “highly

individualized and dynamic relationship” between physician and patient. Valles v. Albert Einstein

Med. Ctr., 569 Pa. 542, 554, 805 A.2d 1232, 1239 (2002).

       49.     Second, even if Plaintiff did allege a vicarious liability theory—and even if a

hospital could be vicariously liable for failing to warn—Pennsylvania law applies the doctrine of



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informed consent only to cases involving surgical or operative procedures because in cases not

involving surgery, the underlying action “is no longer considered to be battery, but merely to be

negligence.” Brown v. Mercy Fitzgerald Hosp., No. CIV.A.01CV2212, 2001 WL 1923042, at *3

(E.D. Pa. Oct. 1, 2001) (citing Morgan v. MacPhail, 704 A.2d 617, 619 (Pa. 1997)). Plaintiff is

not alleging harm from failure to provide informed consent for a surgical procedure. Rather, she

is alleging harm from the use of specialized preterm infant formulas. The underlying informed

consent action for which Plaintiff seeks to hold the Hospital Defendants liable, therefore, would

still sound in negligence and is still rejected by Pennsylvania law. Id.; Kelly, 444 Pa. Super. at 431,

664 A.2d at 150; Shaw, 439 Pa. Super. at 31, 653 A.2d at 15.

       50.     The specific allegations in Plaintiff’s Complaint only emphasize the point. She

alleges, among other things, that the Hospital Defendants failed “to formulate, adopt, and enforce

adequate rules and policies to instruct its healthcare professionals and medical staff on the

information that should be provided to parents in order to make an informed choice about whether

to allow their babies to be fed the Defendant Manufacturers’ products, notwithstanding their

substantial risk.” Compl. ¶¶ 135(d), 142(e). But Plaintiff’s attempt to impose such a duty on the

Hospital Defendants already has been rejected under Pennsylvania law and ignores the “unique

aspects of the physician-patient relationship.” Kelly, 444 Pa. Super. at 434, 664 A.2d at 151.

               2.      Plaintiff Has No Real Intention To Prosecute the Hospital Defendants

       51.     Plaintiff has fraudulently joined the Hospital Defendants as she does not have any

real intention of pursuing her claims against them. The Hospital Defendants’ citizenship should

therefore be disregarded.

       52.     The Court should look beyond the allegations contained in the Complaint to other

indicia of fraudulent joinder. See Abels, 770 F.2d at 33. Here, the broader context of the current

litigation against Abbott and Mead Johnson is decisive.

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       53.     This Court has previously looked to “generalized allegations” and the history of

litigation to conclude that a distributor of a pharmaceutical drug was fraudulently joined in a

products liability action to defeat diversity jurisdiction. See In re Zoloft (Sertraline Hydrochloride)

Prod. Liab. Litig., 257 F. Supp. 3d 717, 721 (E.D. Pa. 2017). It should do the same here. It is clear

from the Complaint that Plaintiff’s general allegations are more concerned with the alleged risks

inherent in the products manufactured and produced by Abbott and Mead Johnson than with the

actions of the Hospital Defendants. All but seven paragraphs of Plaintiff’s 148-paragraph

Complaint concern the alleged actions or inactions of Abbott and Mead Johnson, rather than those

of the Hospital Defendants. Even those factual allegations concerning the Hospital Defendants are

largely focused on their relationship with Abbott and Mead Johnson, and in particular the sales

representatives employed by Abbott and Mead Johnson.

       54.     What is more, Plaintiff alleges only two claims against the Hospital Defendants and

both are barred under Pennsylvania law. This shows that Plaintiff does not intend to pursue the

Hospital Defendants, but rather, she includes two specious theories of liability against them for the

sole purpose of defeating diversity.

       55.     It is apparent, given the hundreds of other cases filed by Plaintiff’s counsel in

connection with this litigation, that Plaintiff has no intention of pursuing claims against the

Hospital Defendants and intends to pursue only the manufacturers. The citizenship of the Hospital

Defendants should therefore be disregarded, and this Court should assume jurisdiction.

                                              CONCLUSION

       56.     There is complete diversity amongst the properly joined parties, and this Notice of

Removal is appropriate pursuant to 28 U.S.C. § 1441(b).

       57.     Based on the foregoing, the state court action may be removed to this Court in



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accordance with the provisions of 28 U.S.C. §§ 1332 and 1441 et. seq. because this is a civil

action pending within the jurisdiction of this Court; this action is between citizens of different

states; and the amount in controversy exceeds $75,000, exclusive of interest and costs.

         58.   No admission of fact, law, or liability is intended by this Notice of Removal, and

Abbott expressly reserves all defenses, counterclaims, and rights otherwise available to it.

         59.   Pursuant to 28 U.S.C. § 1446(d), Abbott will promptly file a Notice of Removal

with the clerk of the state court where this lawsuit has been pending and will serve notice of the

filing of this Notice of Removal on Plaintiff.

         WHEREFORE, Abbott removes this action, now pending in the First Judicial District of

Pennsylvania, Court of Common Pleas of Philadelphia County, Case ID No. 220302583, to this

Court.

 May 2, 2022                                     Respectfully submitted,


                                                 /s/ Samuel W. Silver
                                                 Samuel W. Silver (PA ID No. 56596)
                                                 John R. Timmer (PA ID No. 89814)
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                                                 1600 Market Street, Suite 3600
                                                 Philadelphia, PA 19103-7286
                                                 T: (215) 751-2309/2451
                                                 F: (215) 751-2205
                                                 ssilver@schnader.com
                                                 jtimmer@schnader.com

                                                 Kimberly A. Brown (PA ID No. 56200)
                                                 JONES DAY
                                                 500 Grant Street, Suite 4500
                                                 Pittsburgh, PA 15219
                                                 T: (412) 394-7995
                                                 F: (412) 394-7959
                                                 kabrown@jonesday.com

                                                 Counsel for Abbott Laboratories



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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2022, I caused the foregoing to be electronically filed with

the Clerk of the Court, and to be furnished by U.S. Mail and e-mail to the following:

 Tracy Finken                                     James A. Young
 ANAPOL WEISS                                     Richard S. Margulies
 One Logan Square                                 BURNS WHITE LLC
 130 N. 18th St., Suite 1600                      1880 John F. Kennedy Boulevard, 10th Floor
 Philadelphia, PA 19103                           Philadelphia, PA 19103
 (205) 735-0773                                   215-587-1625/1628
 tfinken@anapolweiss.com                          jayoung@burnswhite.com
 Counsel for Plaintiff                            rsmargulies@burnswhite.com

 Ashley Keller                                    Counsel for Defendants The Pennsylvania
 KELLER POSTMAN LLC                               Hospital of the University of Pennsylvania
 150 N. Riverside Plaza, Suite 4100               Health System d/b/a Pennsylvania Hospital
 Chicago, Illinois 60606                          and The Trustees of the University of
 (312) 741-5220                                   Pennsylvania d/b/a Penn Medicine
 ack@kellerpostman.com
 Counsel for Plaintiff
                                                  Defendant Mead Johnson & Company, LLC
 Alex Walsh                                       Defendant Mead Johnson Nutrition Company
 WALSH LAW PLLC                                   Illinois Corporation Service Co.
 1050 Connecticut Ave, NW, Suite 500              801 Adlai Stevenson Drive
 Washington, D.C. 20036                           Springfield, Il 62703
 (202) 780-4127
 awalsh@alexwalshlaw.com                          By U.S. Mail Only
 Counsel for Plaintiff


                                             /s/ John R. Timmer
                                             John R. Timmer (PA ID No. 89814)
                                             SCHNADER HARRISON SEGAL & LEWIS LLP
                                             1600 Market Street, Suite 3600
                                             Philadelphia, PA 19103-7286
                                             T: (215) 751-2451
                                             F: (215) 751-2205
                                             jtimmer@schnader.com

                                             Counsel for Abbott Laboratories




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                    EXHIBIT A-1




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                                                                                                     Service of Process
                                                                                                     Transmittal
                                                                                                     04/13/2022
                                                                                                     CT Log Number 541400844
 TO:         Lauren Groblewski
             Abbott Laboratories
             100 ABBOTT PARK RD
             NORTH CHICAGO, IL 60064-3502

 RE:         Process Served in Illinois

 FOR:        Abbott Laboratories (Domestic State: IL)




 ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

 TITLE OF ACTION:                                  Re: Terraine Abdullah, on Her Own Behalf and as Parent and Natural Guardian of
                                                   H.S., a Minor // To: Abbott Laboratories
 DOCUMENT(S) SERVED:                               -
 COURT/AGENCY:                                     None Specified
                                                   Case # 220302583
 NATURE OF ACTION:                                 Product Liability Litigation - Manufacturing Defect
 ON WHOM PROCESS WAS SERVED:                       C T Corporation System, Chicago, IL
 DATE AND HOUR OF SERVICE:                         By Certified Mail on 04/13/2022 postmarked on 04/08/2022
 JURISDICTION SERVED :                             Illinois
 APPEARANCE OR ANSWER DUE:                         None Specified
 ATTORNEY(S) / SENDER(S):                          None Specified
 ACTION ITEMS:                                     CT has retained the current log, Retain Date: 04/14/2022, Expected Purge Date:
                                                   04/19/2022

                                                   Image SOP

                                                   Email Notification, Lauren Groblewski lauren.lucy@abbott.com

                                                   Email Notification, Jennifer Curtis jennifer.curtis@abbott.com

 REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                   208 South LaSalle Street
                                                   Suite 814
                                                   Chicago, IL 60604
                                                   877-564-7529
                                                   MajorAccountTeam2@wolterskluwer.com
 The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
 relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
 of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
 advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
 therein.




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                                               A napol Weiss •
                                               Tracy Finken, Esquire
                                               One Logan Square
                                               139 N.-I8th. Street, Suite 1600
                                               Philadelphia, PA 19103




                                                                                             Abbott Laboratories
                                                                                             CT Corporation System
                                                                                             2041,So. Lasalle Street, Suite 814 '
                                                                                             Chicago, IL 60604




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                                   ANAPOLWEISS
 Tracy A. Finken, Esquire
 One Logan Square
 130 N. 18th Street, Suite 1600
 Philadelphia PA 19103
 tfinken@anapolweiss.com

(215) 735-0773 Direct Dial
(215)875-7731 Direct Fax


                                                                  April 8, 2022

         Abbott Laboratories
         CT Corporation System
         2089 So. Lasalle Street, Suite 814
         Chicago, IL 60604

                 Re:       Service of Summons and Complaints

        Dear Sir/Madam:

              Enclosed please find a true and correct copy of the following Plaintiffs' Summons and
        Complaints, the originals of which were filed of record in the Philadelphia Court of Common Pleas
        on March 24, 2022, relative to the above-captioned matter:

            1. Terraine Abdullah, et al. v. Mead Johnson Company, et al., Civil Action No. 220302583;
            2. Holli Carter, et al. v. Mead Johnson Company, et al., Civil Action No. 220302588;
            3. Shondera Drayton, et al . v. Mead Johnson Company, et al., Civil Action No. 220302594;
            4. Alice Stills, et al. v. Mead Johnson Company, et al., Civil Action No.220302617;
            5. Christina Taylor, et al. v. Mead Johnson Company, et al., Civil Action No.220302606;
            6. Gina Wieger, et al. v. Mead Johnson Company, et al., Civil Action No. 220302614;
            7. Gina Wieger, et al, v. Mead Johnson Company, et al., Civil Action No. 220302601

               Plaintiff shall deem this case served upon your receipt of the enclosed Summons and
        Complaints. Please respond to the enclosed pursuant to the allotted time required under
        Pennsylvania law.

                                                                 Very truly yours,



                                                                 TRACY A. FINKEN

        TAF/nsg
        Enclosures
        Via Certified Mail/Return Receipt Requested: 7020 1810 0002 1257 5340

                                 One Logan Square, 130 North 18th Street, Suite 1600, Philadelphia, PA 19103
          I 8700 East Vista Bonita Dr., Suite 268, Scottsdale, AZ 85255 I 1040 Kings Highway North, Suite 304, Cherry Hill, NJ 08034
                                                toll free: 866.735.2792 I www.anapolweiss.com                             Case ID: 220302583
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PLAINTIFF'S NAME                                                              •                     DEFENDANTS NAME
  TERRAINE ABDULLAH                                                                                     MEAD JOHNSON & COMPANY, LLC,


PLAINTIFF'S ADDRESS                                                                                 DEFENDANTS ADDRESS                                                                    '
  335 PASSMORE STREET ,                                                                                 ILLINOIS CORPORATION SERVICE C.801 ADLAI
  PHILADELPHIA PA 19111                                                                                 STEVENSON DRIVE.
                                                                                                        SPRINGFIELD IL 62703 .

PLAINTIFFS NAME                                                                                     DEFENDANTS NAME
  H S                                                                                                   MEAD JOHNSON NUTRITION COMPANY


PLAINTIFF'S ADDRESS                                                                                 DEFENDANTS ADDRESS
 335 PASSMORE STREET                                                                                    ILLINOIS CORPORATION SERVICE C 801 ADLAI
'PHILADELPHIA PA 19111                                                                                  STEVENSON DRIVE
                                                                                                        SPRINGFIELD IL 62703

PLAINTIFF'S NAME                                                                                    DEFENDANTS NAME                       .          .    .
                                                                                                        ABBOTT LABORATORIES .
        •                                                                                                                                                         .

PLAINTIFF'S ADDRESS                                                                                 DEFENDANT'S ADDRESS
                                                                                                        CT CORPORATION SYSTEM                                         208 SO. LASSALLE STREET
                                                                                                        SUITE 814
                                                                                                        CHICAGO ...
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TO THE PROTHONOTARY:                                                              :          . . .•
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant . tERRAI-.1\1E7::ABDUILAH -                                                                          S
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Papers may be servea:attlie.'address.set forth below                                    .- •                                                                                                           •

NAME OF PLAINTIFF'S/PETITIONER'S/APPELLANT'S ATTORNEY                                              ADDRESS

  TRACY A. FINKEN                                                                                    ONE LOGAN SQUARE
                                                                                                     130 N. 18TH ST.
PHONE NUMBER                               .FAX NUMBER                                               SUITE                1600
                                          • (215)875-7731                                            PHILADELPHIA                                                                ,.
' (215).735-0773                                                                                           . .:.•• .,... - -P
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SUPREME COURT IDENTIFICATION'NO.                                                                   E-MAIL ADDRESS " '.   •• '
                                                                                                                         ..:...
  82258                                                                                              tfinken@anapolweiss.com

SIGNATURE OF FILING ATTORNEY OR PARTY                                                              DATE SUBMITTED

  TRACY FTNKEN                                                                                       Thursday, March 24, 2022, 01:57 pm


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COMPLETE LIST OF DEFENDANTS:
    1. MEAD JOHNSON & COMPANY, LLC,
         ILLINOIS CORPORATION SERVICE C 801 ADLAI STEVENSON DRIVE
         SPRINGFIELD IL 62703
    2. MEAD JOHNSON NUTRITION COMPANY
         ILLINOIS CORPORATION SERVICE C 801 ADLAI STEVENSON DRIVE
         SPRINGFIELD IL 62703
    3. ABBOTT LABORATORIES
         CT CORPORATION SYSTEM 208 SO. LASSALLE STREET SUITE 814
         CHICAGO IL 60604
    4. THE PA HOSPITAL OF THE UNIVERSITY OF PA HEALTH SYSTEM
         ALIAS: PENNSYLVANIA HOSPITAL
         3400 CIVIC CENTER BLVD
         PHILADELPHIA PA 19104
    5. THE TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
         ALIAS: PENN MEDICINE
         133 SOUTH 36TH STREET
         PHILADELPHIA PA 19104




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 BY: TRACY FINICEN,ESQUIRE                               Office           4. 'I . 'pcords
                                                                                  :,
 Identification Number: 82258                               24                 h'   pin
 One Logan Square
 130 N. 18th Street, Suite 1600
Philadelphia, PA 19103
(215) 735-0773
 tfinkenAanapolweiss.com                          ATTORNEY FOR PLAINTIFFS

KELLER LENKNER LLC
BY: Ashley Keller (pro hac viceforthcoming)
150 N. Riverside Plaza, Suite 4100
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Telephone:(312) 741-5220
Fax:(312)971-3502
Email: ackAkellerlenkner.com                      ATTORNEY FOR PLAINTIFFS

WALSH LAW PLLC
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Telephone:(202) 780-4127
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Email: awalsh alexwalshlaw.com                    ATTORNEY FOR PLAINTIFFS

TERRAINE ABDULLAH,on her own                      COURT OF COMMON PLEAS
Behalf and as Parent and Natural Guardian         PHILADELPHIA COUNTY
of H.S., a Minor
335 Passmore Street
Philadelphia, PA 19111
                    Plaintiffs
       V.                                         CIVIL ACTION

MEAD JOHNSON & COMPANY,LLC
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703
                                                  NO.

MEAD JOHNSON NUTRITION COMPANY
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield,IL 62703



ABBOTT LABORATORIES


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CT Corporation System
208 So. Lasalle Street, Suite 814
Chicago,IL 60604


THE PENNSYLVANIA HOSPITAL OF
THE UNIVERSITY OF PENNSYLVANIA
HEALTH SYSTEM d/b/a PENNSYLVANIA
HOSPITAL
3400 Civic Center Blvd.
Philadelphia, PA 19104


THE TRUSTEES OF THE UNIVERSITY OF                                           :
PENNSYLVANIA d/b/a PENN MEDICINE                                            :
133 South 36th Street
Philadelphia,PA 19104

                                 Defendants                                             JURY TRIAL DEMANDED

                                            COMPLAINT IN CIVIL ACTION
                                                      NOTICE TO DEFEND

                                 NOTICE                                                                            AVISO
   You have been sued in court. If you wish to defend against the               Le han demandado a usted en la corte. Si usted quiere defenderse de
 claims set forth in the following pages, you must take action within           estas demandas expuestas las paginas siguientes, usted tiene viente (20)
 twenty (20) days after this complaint and notice are served, by entering       dias de plazo al partir de la fecha de la demanda y la notificacion. Hace
 a written appearance personally or by attorney and filing in writing           falta asentar una comparencia escrita o en persona o con un abogado y
 with the court your defenses or objections to the claims set forth             entregar a la corte en forma escrita sus defensas o sus objeciones a as
 against you by the court without further notice for any money claimed          demandas en contra de su persona. Sea avisado que si usted no se
 in the complaint or for any other claim or relief requested by the             defiende, la corte tomara medidas y puede continuar la demanda en
 plaintiff. You may lose money or property or other rights important to         contra suya sin previo aviso o notificacion. Ademas, la corte puede
 you.                                                                           decidir a favor del demandante y requiere que used cumpla con todas
                                                                                las provisiones de esta demanda. Usted puese perder dinero o sus
 YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                                   propiedades u ostros derechos importantes para usted.
 ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT
 AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET                                  LLEVE ESTA DEMANDA A UN ABOGADO1MMEDIATAMENTE.
 FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL                                SI NO TIENE ABOGADO 0 SI NO TIENE EL DINER°
 HELP.                                                                          SUFICIENTE DE PAGAR TAL SERVICO, VAYA EN PERSONA 0
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       LAWYER REFERRAL AND INFORMATION SERVICE
                 ONE READING CENTER                                                     ASOCIACION DE L10ENCIADOS DE FILADELFIA
                PHILADELPHIA, PA 19107                                                     Scrvicio Dc Referencia E InforrnaciOn Legal
                   TELEPHONE:(215) 238-1701                                                           One Reading Center
                                                                                                 Filadelfia, Pennsylvania 19107
                                                                                                   Telephono:(215)238-1701




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TERRAINE ABDULLAH,ON HER OWN                    COURT OF COMMON PLEAS
BEHALF AND AS PARENT AND NATURAL GUARDIAN:      PHILADELPHIA COUNTY
OF H.S., A MINOR
335 PASSMORE STREET
PHILADELPHIA,PA 19111
                  PLAINTIFFS
V.                                              CIVIL ACTION

MEAD JOHNSON & COMPANY,LLC
ILLINOIS CORPORATION SERVICE CO.
801 ADLAI STEVENSON DRIVE
SPRINGFIELD,IL 62703
                                                NO.

MEAD JOHNSON NUTRITION COMPANY
ILLINOIS CORPORATION SERVICE CO.
801 ADLAI STEVENSON DRIVE
SPRINGFIELD,IL 62703


ABBOTT LABORATORIES
CT CORPORATION SYSTEM
208 SO.LASALLE STREET,SUITE 814
CHICAGO,IL 60604


THE PENNSYLVANIA HOSPITAL OF
THE UNIVERSITY OF PENNSYLVANIA
HEALTH SYSTEM D/B/A PENNSYLVANIA


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HOSPITAL
3400 CIVIC CENTER BLVD.
PHILADELPHIA,PA 19104
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THE TRUSTEES OF THE UNIVERSITY OF                    •
                                                     •


PENNSYLVANIA D/B/A PENN MEDICINE                     •
                                                     •


133 SOUTH 36T11 STREET
PHILADELPHIA,PA 19104

                       DEFENDANTS                            JURY TRIAL DEMANDED

                                           COMPLAINT

       Plaintiff brings this Complaint and Demand for Jury Trial (the "Complaint") against Mead

Johnson & Company, LLC, Mead Johnson Nutrition Company, and Abbott Laboratories

(collectively "the Defendant Manufacturers"), and The Trustees of the University ofPennsylvania

d/b/a Penn Medicine and Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital (collectively "Penn Medicine" or "Pennsylvania Hospital"), together

"Defendants." Plaintiff alleges the following upon personal knowledge as to Plaintiff's own acts

and experiences and upon information and belief, including investigation conducted by Plaintiff's

attorneys, as to all other matters.

                                      I.   INTRODUCTION

 1.     This action arises out of the injuries suffered by a premature infant (the "Injured Infant")

who was given the Defendant Manufacturers' cow's milk-based infant feeding products at

Pennsylvania Hospital. Pennsylvania Hospital, managed by Penn Medicine, acquired and supplied

the Defendant Manufacturers' products to the Injured Infant and negligently failed to warn of their

unreasonably dangerous properties in a reasonable manner. This caused the Injured Infant to

develop necrotizing enterocolitis ("NEC"), a life-altering and potentially deadly disease that

largely affects premature babies who are given cow's milk-based feeding products. As a result,




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the Injured Infant was seriously injured, resulting in long term health effects and accompanying

harm to their parent ("the Plaintiff Parent").

2.      Plaintiff brings these causes of action against Defendants to recover for injuries that are the

direct and proximate result of the Injured Infant's consumption of the Defendant Manufacturers'

unreasonably dangerous cow's milk-based infant feeding products, which were acquired and

supplied without adequate warning to the Injured Infant at Pennsylvania Hospital, owned and

operated by Penn Medicine.

                                         II.     PARTIES

3.      Plaintiff Terraine Abdullah is a natural adult person and a resident of Pennsylvania. Ms.

Abdullah is the parent and natural guardian of H.S., a minor. Ms. Abdullah's address is 335

Passmore Street, Philadelphia, Pennsylvania 19111.

4.      Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws

of the State of Delaware. Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC,is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company. Defendants Mead

Johnson Nutrition Company and Mead Johnson & Company, LLC, (together, "Mead") are

manufacturers of cow's milk-based infant feeding products and market many of these products

under the "Enfamil" brand name.

5.      Defendant Abbott Laboratories ("Abbott") is a corporation, incorporated under the laws of

the State ofIllinois. Its principal place ofbusiness is in Illinois. Abbott is a manufacturer of cow's

milk-based infant feeding products and markets many of its products under the "Similac" brand

name.




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6.      Defendant The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital is a non-profit corporation incorporated and registered to do business

under the laws of the Commonwealth of Pennsylvania. Its principal place of business is

Philadelphia, Pennsylvania. Pennsylvania Hospital is a registered name of The Pennsylvania

Hospital of the University ofPennsylvania Health System. The sole member of The Pennsylvania

Hospital of the University of Pennsylvania Health System is The Trustees of the University of

Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania. Its principal

place of business is Philadelphia, Pennsylvania. Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                             III.    JURISDICTION AND VENUE

8.      This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931. Defendants

conduct authorized business in the Commonwealth of Pennsylvania.              They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

This suit arises out of Defendants' forum-related activities, such that the Court of Common Pleas

of Philadelphia County's exercise ofjurisdiction would be consistent with traditional notions of

fair play and substantial justice.

9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

1 006(b), 1006(c)(1), and 2179(a) of the Pennsylvania Rules of Civil Procedure because

Defendants are corporations or similar entities that regularly conduct business in Philadelphia

County, which is also the county where Plaintiff's causes of action arose, and the county where

the occurrences took place out of which Plaintiff's causes of action arose.




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10.    This action is not subject to the Compulsory Arbitration Program of the Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of $50,000.

                              IV.    FACTUAL ALLEGATIONS

                                     H.S.'s NEC Diagnosis

1 1.   H.S. was born prematurely at Pennsylvania Hospital in Philadelphia, Pennsylvania on

September 12, 2006.

12.    Upon information and belief H.S. was fed Similac and/or Enfamil cow's milk-based

products by staff at Pennsylvania Hospital from shortly after her birth.

13.    Upon information and belief shortly after H.S. first ingested the Defendant Manufacturers'

products, she developed NEC.

14.    H.S. was forced to undergo surgery and has continued to suffer long term health effects.

                Cow's Milk-Based Feeding Products Are Known to Cause NEC

15.    NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

causing portions of the intestine to become inflamed and often to die. Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

16.    Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that cow's milk-based feeding products cause NEC in preterm and

low-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.




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17.     For example, in one randomized, multicenter study of926 preterm infants, NEC was six to

ten times more common in exclusively cow's milk formula-fed babies than in exclusively breast

milk-fed babies and three times more common in babies who received a combination of formula

and breast milk. For babies born at more than 30 weeks gestation, NEC was 20 times more

common in those only fed cow's milk formula than in those fed breast milk.

18.     Another randomized controlled trial showed that preterm babies fed an exclusive breast

milk-based diet were 90% less likely to develop surgical NEC (NEC that requires surgical

treatment), compared to preterm babies fed a diet that included some cow's milk-based products.

19.     Yet another study that analyzed the data from a 12-center randomized trial concluded that

fortification of breast milk with a cow's milk-based fortifier resulted in a 4.2-fold increased risk

of NEC and a 5.1-fold increased risk of surgical NEC or death, compared to fortification with a

breast milk-based fortifier.

20.     A Surgeon General report, The Surgeon General's Call to Action to Support Breastfeeding,

warns that, "for vulnerable premature infants, formula feeding is associated with higher rates of

necrotizing enterocolitis." The report also states that premature infants who are not breastfed are

1 38% more likely to develop NEC.

21.     The American Academy ofPediatrics,"an organization of67,000 pediatricians committed

to the optimal physical, mental, and social health and well-being for all infants, children,

adolescents, and young adults," has advised that all premature infants should be fed either their

mother's milk or, if their mother's milk is unavailable, pasteurized human donor milk. This

recommendation is based on the "potent benefits of human milk," including "lower rates of. . .

NEC."




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22.     A multicenter, randomized, controlled trial found that premature and low-birth-weight

infants fed an exclusive breast milk-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow's milk-based formula suffered NEC 21% of the time.

23.    Another study conducted a randomized comparison ofextremely preterm infants who were

given either (a) a diet of breast milk fortified with a breast milk-based fortifier or (b) a diet

containing variable amounts of cow's milk-based products. The babies given exclusively breast

milk products suffered NEC 5% of the time. The babies given cow's milk products suffered NEC

17% of the time.

        Safer, Nutritionally Superior Alternatives To Cow's Milk-Based Products Exist

24.    A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition. For example, in addition to the mother's own milk, an

established network delivers pasteurized donor breast milk to hospitals nationwide. Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

25.    A diet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

associated with cow's milk-based products. For example, in a study analyzing preterm infants

who were fed an exclusive breast milk-based diet until they reached 34 weeks, all 104 infants

exceeded standard growth targets and met length and head-circumference growth targets,

demonstrating that infants can achieve and mostly exceed targeted growth standards when

receiving an exclusive breast milk-based diet. This is particularly true given the ability of breast

milk-based fortifiers to provide the additional nutritional supplements necessary for adequate

growth while receiving the protective benefits of a breast milk diet.




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26.     The Defendant Manufacturers' products not only pose a threat to infants' health, but also

displace the breast milk they could otherwise receive. This displacement only increases infants'

vulnerability to NEC, as studies show that breast milk protects against the disease. For example,

a study analyzing 1,587 infants across multiple institutions concluded that an exclusive breast

milk-based diet is associated with significant benefits for extremely premature infants and that it

produced no feeding-related adverse outcomes.

27.     For the above reasons, experts acknowledge that breast milk is the best source of nutrition

for preterm infants and those at risk for NEC. Breast milk-based nutrition nourishes infants while

creating a significantly lower risk of NEC.

28.     At the time the Injured Infant was fed the Defendant Manufacturers' products, the science

clearly demonstrated to Defendants that these products cause NEC and greatly increase the

likelihood that a baby will develop NEC,leading to severe injury and often death.

29.     Despite the scientific consensus that the Defendant Manufacturers' cow's milk-based

products present a dire threat to the health and development of preterm infants, the Defendant

Manufacturers have made no changes to their products or the products' packaging, guidelines,

instructions, or warnings. Instead, they have continued to sell their unreasonably dangerous

products. In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

and their families will become accustomed to using their products before discharge.

                The Defendant Manufacturers'False And Misleading Marketing
                        Regarding Cow's Milk-Based Infant Products

30.     Abbott and Mead have aggressively marketed their cow's milk-based products as

medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the

Injured Infant's birth.



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31.    Abbott's and Mead's marketing approach includes targeting the parents of preterm infants

while they are still in the hospital with messages that the Defendant Manufacturers' cow's milk

formulas and fortifiers are necessary for the growth and development of their vulnerable children.

Often these tactics implicitly discourage mothers from breastfeeding, which reduces the mother's

supply of breast milk. None of the Defendant Manufacturers' marketing materials, including their

promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

32.    Numerous studies have shown the detrimental impact of formula advertising on the rates

of initiation and continuation of breastfeeding, including studies that show that as "hand feeding"

(non-breastfeeding) advertisements increase, reported breastfeeding rates decrease in the

following year.

33.    Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

with other formula manufacturers, are willing to spend massive sums to disseminate their message,

with one study estimating that formula manufacturers collectively spent $4.48 billion on marketing

and promotion in 2014 alone.

34.    Recognizing the abuse and dangers of infant formula marketing, in 1981, the World Health

Assembly—the decision-making body of the World Health Organization—developed the

International Code of Marketing of Breast-milk Substitutes ("the Code"), which required

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.




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35.     While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.

Instead, the Defendant Manufacturers' aggressive marketing exploits new parents' darkest fears—

that the nutrition they are supplying to their child will not provide the best chance of survival—

while wholly failing to warn that their products come with a significantly increased risk of NEC.

36.     For example, Abbott's website, on a paged titled "Infant Formula Marketing," states: "We

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding. We also recognize that for infants who aren't

breastfed—for medical reasons or otherwise—infant formula is the only appropriate, safe — - —

alternative to meet babies' nutritional needs." This statement ignores the existence of donor milk,

as well as human milk-based formula.

37.     Abbott markets and sells multiple products specifically targeting preterm and low-birth-

weight infants, including Liquid Protein Fortifier, Similac NeoSure, Similac Human Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30. In advertising these products, Abbott emphasizes the products'

purported ability to assist underdeveloped babies in reaching their growth targets. For example,

on the since-edited webpage regarding Similac NeoSure, Abbott noted: "Your premature baby

didn't get her full 9 months in the womb,so her body is working hard to catch up. During her first

full year, feed her Similac NeoSure, a nutrient-enriched formula for babies who were born

prematurely, and help support her development." Yet, no mention was made of the accompanying

significantly increased risk of NEC. At some point, the website was edited to remove this

statement. However, upon information and belief, the statement remained on the website until at

least December 2020.




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38.     Mead markets and sells multiple products specifically targeting premature infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal -

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder). In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use. For example, the since-edited webpage for Enfamil Enfacare stated: "Premature

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

of full term, breastfed infants" and noted that Enfamil formulas include "expert-recommended

levels ofDHA and ARA (important fatty acids found naturally in breast milk) to support brain and

eye development."

39.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is

entirely focused on favorably comparing Enfamil's formula to breast milk, without any mention

of the product's extreme risks. Indeed, the terms "human milk" and "breast milk" are used 13

times in the advertisement, including in such statements as "for decades human milk has inspired

the advancements in Enfamil formulas and now through extensive global research, we are taking

an even closer look at human milk" and "only Enfamil NeuroPro has a fat blend of MFGM and

DHA previously found only in breast milk." The webpage for the product has made similar

manipulative claims, stating "Enfamil is backed by decades of breast milk research and multiple

clinical studies" and it claims that "to create our best formulas, we collaborated on some of the

most extensive breast milk studies to date[.]"




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40.    Formula manufacturers have long used their relationships with hospitals and the discharge

process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge. And they offer free formula, coupons,

and even entire gift baskets to parents before their infants' discharge from the NICU or hospital.

41 .   Through this early targeting, the Defendant Manufacturers create brand loyalty under the

guise of a "medical blessing," in hopes that new parents continue to use formula after they leave

the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers. The Defendant Manufacturers' giveaways and

gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

42.    Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product

called "Similac Human Milk Fortifier," and Mead developed "Enfamil Human Milk Fortifier."

These names are misleading in that they suggest that the products are derived from breast milk,

when, in fact, they are cow's milk-based products. One study, for example, found that only 8.8

percent of parents surveyed in the NICU interpreted "human milk fortifier" as potentially meaning

a cow's milk-based product. The packaging appears as:




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43.    The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that:(1) cow's milk-based products are safe, including for preterm

infants; (2) cow's milk-based products are equal, or even superior, substitutes to breast milk;(3)

cow's milk-based products are necessary for proper growth and development of preterm infants;

and (4) physicians consider the Defendant Manufacturers' cow's milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

of the extreme risk of NEC and death that cow's milk-based products pose to preterm infants like

the Injured Infant.




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                      The Defendant Manufacturers'Inadequate Warnings

44.     Although Mead promotes an aggressive marketing campaign designed to convince parents

that its cow's milk-based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants. Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.

45.     The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

46.    Despite knowing of the risk of NEC,the packaging of Mead's products does not warn of

the significantly increased risk ofNEC(and resulting medical conditions, and/or death) associated

with Mead's products, or of the magnitude of this increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.

47.     Mead cites no medical literature or research to guide the use of its products.

48.    Despite knowing of the risk of NEC,Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

49.     Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

50.    Despite knowing that its products were being fed to premature infants, often without the

parents' informed consent, Mead failed to require or recommend that medical professionals inform

parents of the significant risk of NEC or to require that parental consent be obtained prior to the

products being fed to their babies.




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51.     Like Mead, Abbott promotes an aggressive marketing campaign designed to make parents

believe that its products are safe and necessary for the growth of premature infants, despite the

products in fact being extremely dangerous for premature infants. Abbott's products significantly

increase the chances of a premature infant getting potentially fatal NEC.

52.     The products Abbott markets specifically for premature infants are available at retail

locations and online. No prescription is necessary.

53.     Despite knowing of the risk of NEC, Abbott did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

to avoid NEC.

54.     Abbott deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that its products were a safe and necessary alternative, supplement and/or

substitute to breast milk.

55.    Despite knowing that its products were being fed to premature infants, often without the

parents' informed consent, Abbott failed to require or recommend that medical professionals

inform parents of the significant risk of NEC or to require that parental consent be obtained prior

to the products being fed to their babies.

                                Penn Medicine's Failure to Warn

56.    On information and belief, Penn Medicine, which operates Pennsylvania Hospital, was

aware of the significantly increased risk of NEC and death associated with providing Abbott's and

Mead's cow's milk-based products to its premature infant patients. It knew or should have known

that feeding these cow's milk-based products can cause NEC in premature infants who otherwise

would not have developed this devastating condition. However, instead of warning of those




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dangers, or supplying breast milk-based feeding products to preterm infants like the Injured Infant,

Penn Medicine has continued to source, distribute, and supply the Defendant Manufacturers'

products in its hospitals without any adequate warning.

57.     To that end,Penn Medicine has participated in studies designed to increase the use of donor

milk while, at the same time, reducing formula feeding in neonates.               The University of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience

"changing hospital systems and influencing policy," and its findings were unequivocal:

       This is what we know about the science of human milk: it reduces the risk of
       necrotizing enterocolitis, reduces the risk of infection,[and] creates greater enteral
       feed tolerance and more rapid weaning from intravenous nutrition. . . .

Other Penn Medicine research has similarly concluded that "[h]uman milk decreases the

incidence and severity of. . . necrotizing enterocolitis (NEC)."

58.    Penn Medicine also purports to adhere to the tenets of the "Baby Friendly Hospital

Initiative," which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.

The "Baby Friendly Hospital Initiative" specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation ofexclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its "Baby Friendly" designation for years, it has

not eliminated or restricted the use offormula or fortifier for preterm infants in its hospitals.

59.    Finally, medical providers and staff at Penn Medicine have acknowledged the risks

associated with providing the Defendant Manufacturers' cow's milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:


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       Donor milk is not inexpensive. It costs about $4.25 per ounce, but the return on
       investment is huge. "Preemies given mother's milk get discharged three to four
       days sooner and also have a six to 10 times lower risk of getting a gastrointestinal
       complication called necrotizing enterocolitis," Carpenter said, adding that the
       infection can cost up to $250,000 to treat. The average cost to provide a preemie
       with donor milk: $125.

60.     These statements demonstrate that Penn Medicine knew or should have known of the high

increased risk of NEC for premature infants posed by the Defendant Manufacturers' products.

61.     Although Penn Medicine knew or should have known of the serious danger of the

Defendant Manufacturers' products, it has continued to purchase, supply, and distribute these

products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. As a result, the

Injured Infant was fed the Defendant Manufacturers' cow's milk-based products at Pennsylvania

Hospital, causing their injuries. This occuiTed even though hospitals across the country, including

Pennsylvania Hospital, warn and obtain consent from parents before providing other safer forms

of nutrition, such as donor breast milk.

62.    Penn Medicine's failure to warn of the risks posed by the Defendant Manufacturers'

products is entrenched (and compounded)by the financial benefits it accrues from its relationships

with the Defendant Manufacturers. On information and belief, it has received the Defendant

Manufacturers' cow's milk-based products for free or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff. These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

with the Defendant Manufacturers' own marketing strategy, which aims to "sell and service"

healthcare professionals and medical staff as a means of converting them into "extra salespersons."




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                                      Safer Alternative Designs

63.       The Defendant Manufacturers' cow's milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead ofcow's milk in their products, which would have produced a safer

product.

64.       Prolacta Bioscience manufactures and sells breast milk-based feeding products,

specifically designed for preterm infants, which contain no cow's milk. This alternative design

provides all the necessary nutrition for growth and development that cow's milk-based products

provide, without the same unreasonably dangerous and deadly effects.

65.       On information and belief, Abbott and Mead were aware of the significantly increased risk

of NEC and death associated with their cow's milk-based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued to use cow's milk as the

foundation of their products.

                                       CAUSES OF ACTION

                   COUNT I: STRICT LIABILITY FOR DESIGN DEFECT
                              (Against Abbott and Mead)

66.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

67.       Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

manufacture, sell, and distribute their products in a manner that was not unreasonably dangerous.

68.       Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture, sell, and distribute their products in a manner that was

merchantable and reasonably suited for their intended use.



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69.     Abbott and Mead knew that their products would be used to feed premature infants like the

Injured Infant and knew (or reasonably should have known) that use of their cow's milk-based

products significantly increased the risk of NEC, serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

not merchantable, and had risks that exceeded a reasonable buyer's expectations. Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

70.     The Injured Infant ingested Abbott and/or Mead's unreasonably dangerous cow's milk-

based products. The risks offeeding those products to the Injured Infant outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury

and death from NEC.

71.     Abbott and Mead knew (or reasonably should have known)that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that their products do.

72.     Abbott's and Mead's products contained cow's milk at the time they left the manufacturing

facility.

73.     Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC,serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

74.     Abbott's and/or Mead's products were fed to the Injured Infant, which caused and/or

increased the risk of their NEC and injuries.

75.     As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.




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WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

             a. For compensatory damages in an amount to be proven at trial and in excess of

                 $50,000 and this Court's arbitrational limit;

              b. For damages for past, present, and future emotional distress, loss of enjoyment of

                 life, pain and suffering, mental anguish, and other non-economic losses sustained

                 as a result of the Defendants Manufacturers' conduct;

             c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                 and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                 related to medical or mental health treatment which have or may be recommended,

             d. For punitive damages in excess, of $50,000 and this Court's arbitrational limit

                 resulting from the Defendant Manufacturers' oppressive, fraudulent, and/or

                 malicious conduct, as permitted by law;

             e. For interest as permitted by law;

             f. For attorney's fees, expenses, and recoverable costs incurred in connection with

                 this action; and

             g. For such other and further relief as the Court deems proper.


                 COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                              (Against Abbott and Mead)

76.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

77.       Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of




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their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

78.    Abbott's and Mead's duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses. By

designing their products with cow's milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC, severe injury, and death. The failure to warn makes the

products at issue in this litigation unreasonably dangerous.

79.__ Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks of the

infant products at issue in this litigation because they knew or should have known that their cow's

milk-based premature infant products would be fed to premature infants like the Injured Infant,

and that their products might cause the Injured Infant to develop NEC,severe injury, or death, yet

they failed to provide adequate warnings of those risks. Among other risks, the Defendant

Manufacturers:

           a. Failed to warn that cow's milk-based products significantly increase the risk of

               NEC,severe injury, and death for the Injured Infant; and/or

           b. Failed to warn that cow's milk-based products are unsafe and/or contraindicated

              for premature infants like the Injured Infant; and/or

           c. Inserted warnings and instructions on their products that are severely inadequate,

               vague, confusing, and provide a false sense ofsecurity in that they warn and instruct

               specifically on certain conditions, but do not warn of the significantly increased

               risk of NEC and death; and/or




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            d. Failed to insert a large and prominent "black box"-type warning that their cow's

               milk-based products are known to significantly increase the risk of NEC and death

               when compared to breast milk in premature infant; and/or

            e. Failed to disclose well-researched and well-established studies that linked cow's

               milk-based products to NEC and death in premature infants; and/or

            f. Failed to insert a warning or instruction to healthcare professionals and other

               medical staff in the hospital that parents should be provided information necessary

               to make an informed choice about whether to allow their babies to be fed the

               Defendant Manufacturers' products, notwithstanding their substantial risks; and/or

            g. Failed to provide a warning in a method reasonably calculated or expected to reach

               the parents of newborns, like the Plaintiff Parent; ancUor

            h. Failed to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow's milk-based products.

80.     Abbott's and Mead's products contained cow's milk at the time they left the manufacturing

facility.

81.     As a direct and proximate result of the inadequacy of the warnings and the pervasive

marketing campaigns suggesting the safety and necessity of the Defendant Manufacturers'

products, the Injured Infant were fed cow's milk-based products, which caused and/or increased

risk of their developing NEC.

82.     The unwamed-of risks are not of a kind that an ordinary consumer would expect. Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

cow's milk-based formula, they would not have fed the Injured infant those products. Had the




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Plaintiff Parent known of the significant risks of feeding the Tnjured Infant cow's milk-based

formula, they would not have allowed such products to be fed to the Injured Infant.

83.      As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, ancUor other harms. Her life has been significantly affected by the Injured Infant's

i njuries.

WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

             a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this Court's arbitrational limit;

             b. For damages for past, present, and future emotional distress, loss of enjoyment of=

                life, pain and suffering, mental anguish, and other non-economic losses sustained

                as a result of the Defendants Manufacturers' conduct;

             c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

             d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

                resulting from the Defendants Manufacturers' oppressive, fraudulent, and/or

                malicious conduct, as permitted by law;

             e. For interest as permitted by law;

             f For attorney's fees, expenses, and recoverable costs incurred in connection with

                this action; and

             g. For such other and further relief as the Court deems proper.




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                                    COUNT III: NEGLIGENCE
                                    (Against Abbott and Mead)

84.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

85.       Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

86.       At all times relevant to this action, the Injured Infant's healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

87.       Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

manufactured, designed, assembled, tested, marketed, sold, ancUor distributed the cow's milk-

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

88.       Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow's milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

             a. Failing to warn that cow's milk-based products significantly increase the risk of

                 NEC,severe injury, and death for the Injuced Infant; and/or

             b. Failing to warn that cow's milk-based products are unsafe and/or contraindicated

                 for premature infants like the Injured Infant; and/or




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           c. Inserting warnings and instructions that are severely inadequate, vague, confusing,

               and provide a false sense of security in that they warn and instruct specifically on

               certain conditions, but do not warn of the significantly increased risk of NEC and

               death; and/or

           d. Failing to insert a large and prominent "black box"-type warning that their cow's

               milk-based products are known to significantly increase the risk of NEC and death

               when compared to breast milk in premature infants; and/or

           e. Failing to provide well-researched and well-established studies that linked cow's

               milk-based products to NEC and death in premature infants; and/or

           f. Failing to insert a warning or instruction to healthcare professionals and other

               medical staff in the hospital that parents should be provided information necessary

              to make an informed choice about whether to allow their babies to be fed the

              Defendant Manufacturers' products, notwithstanding their substantial risks; and/or

           g. Failing to provide a warning in a method reasonably calculated/expected to reach

              the parents of newborns, like the Plaintiff Parent; andJor

           h. Failing to provide statistical evidence showing the magnitude of increased risk of

              NEC in premature infants associated with cow's milk-based products.

89.    In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow's milk-based products significantly increased the risk ofNEC,serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.




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90.     As a direct and proximate result of the Defendant Manufacturers' failure to act in a

reasonably prudent manner and their breach of duty, the Injured Infant was fed cow's milk-based

products, which caused and/or increased the risk of their developing NEC.

91.     Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their unreasonably dangerous cow's milk-based products.

92.     As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.

WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers' conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from the Defendants Manufacturers' oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney's fees, expenses, and recoverable costs incurred in connection with

               this action; and




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             g. For such other and further relief as the Court deems proper.
                    COUNT IV: INTENTIONAL MISREPRESENTATION
                              (Against Abbott and Mead)

93.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

94.       At all times relevant to this action, the Injured Infant consumed the Defendant

Manufacturers' products in their intended manner and for their intended purpose.

95.       Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

96.       Abbott and Mead breached their duty through misrepresentations made to consumers,

physicians, and medical staff in their advertising and promotional materials, as described in

previous paragraphs and incorporated herein, each of whom were foreseeable and intended

recipients of this information.

97.       Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis and prior to the time the Injured Infant

was fed their products:

             a. That their cow's milk-based products were safe and beneficial for premature infants

                 when they knew or should have known that their products were unreasonably

                 dangerous and cause NEC,serious injury, and death in premature infants; and/or

             b. That their cow's milk-based products were necessary to the growth and nutrition of

                 premature infants, when they knew or should have known that their products were

                 not necessary to achieve adequate growth; and/or



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             c. That their products have no serious side effects, when they knew or should have

                known the contrary to be true; and/or

             d. That cow's milk-based products were safe for premature infants; and/or

             e. That cow's milk-based products were necessary for optimum growth; and/or

            f. That cow's milk-based products were similar or equivalent to breast milk; and/or

             g. That their products were safe and more like breast milk than other infant products

                and that they had removed the harmful ingredients ofcow's milk when, in fact, the

                cow's milk in their products was still capable of causing NEC, serious injury, and

                death; and/or

            h. That their products were based on up-to-date science, which made them safe for

                premature infants; and/or

            i. Omitting the material fact that their products significantly increased the risk ofNEC

                in premature infants.

98.      Abbott and Mead knew or reasonably should have known those misrepresentations to be

false.

99.      The Defendant Manufacturers' misrepresentations were intended to, and in fact did, induce

physicians and medical staff, including the Injured Infant's physicians and medical staff, to provide

their infant products to babies, including the Injured Infant.

100.     The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them. The Defendant Manufacturers' misrepresentations induced the Plaintiff Parent to

allow their children to be fed Abbott's and Mead's infant products, in reliance on all the messaging

they received about formula feeding, including, directly or indirectly, the Defendant

Manufacturers' messaging.         Had Abbott and Mead not committed these intentional




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misrepresentations, the Injured Infant would not have been exposed to the Defendant

Manufacturers' unreasonably dangerous cow's milk-based products.

1 01.   As a direct and proximate result, Abbott's and Mead's products were fed to the Injured

Infant, which caused and/or increased risk of their developing NEC and subsequent injuries.

1 02.   As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's •

injuries.

WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of the Defendants Manufacturers' conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from the Defendant Manufacturers' oppressive, fraudulent, and/or

               malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f. For attorney's fees, expenses, and recoverable costs incurred in connection with

               this action; and

            g. For such other and further relief as the Court deems proper.




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                      COUNT V: NEGLIGENT MISREPRESENTATION
                              (Against Abbott and Mead)

103.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

1 04.     At all times relevant to this action, the Injured Infant consumed the products at issue in

their intended manner and for their intended purpose.

1 05.     Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accuratc, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

106.      In the course of their business, Abbott and Mead breached their duty through

misrepresentations made to consumers, physicians, and medical staff in their advertising and

promotional materials, as described in previous paragraphs and incorporated herein, each of whom

were foreseeable recipients of this information.

107.      Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis and prior to the time the Injured Infant

was fed their products:

             a. That their cow's milk-based products were safe and beneficial for premature infants

                 when they knew or should have known that their products were unreasonably

                 dangerous and cause NEC,serious injury, and death in premature infants; and/or

             b. That their cow's milk-based products were necessary to the growth and nutrition of

                 premature infants, when they knew or should have known that their products were

                 not necessary to achieve adequate growth; and/or




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            c. That their products have no serious side effects, when they knew or should have

                known the contrary to be true; and/or

            d. That cow's milk-based products were safe for premature infants; and/or

            e. That cow's milk-based products were necessary for optimum growth; and/or

            f. That cow's milk-based products were similar or equivalent to breast milk; and/or

            g. That their products were safe and more like breast milk than other infant products

                and that they had removed the harmful ingredients of cow's milk when, in fact, the

                cow's milk in their products was still capable of causing NEC, serious injury, and

                death; and/or

            h. That their products were based on up-to-date science, which made them safe for

                premature infants; and/or

            i. Omitting the material fact that their products significantly increased the risk ofNEC

                in premature infants.

108.     Abbott and Mead were negligent or careless in not determining those representations to be

false.

1 09.    The Defendant Manufacturers' misrepresentations were intended to and did in fact induce

physicians and medical staff, including the Injured Infant's physicians and medical staff, to provide

their products to babies, including the Injured Infant.

1 10.    The Defendant Manufacturers' misrepresentations induced, and were intended to induce,

the Plaintiff Parent to allow their child to be fed Abbott's and Mead's infant products, in justifiable

reliance on all the messaging they received about formula feeding,including, directly or indirectly,

the Defendant Manufacturers' messaging. Had Abbott and Mead not committed these negligent




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misrepresentations, the Injured Infant would not have been exposed to their unreasonably

dangerous cow's milk-based products.

1 11.    As a direct and proximate result, Abbott's and Mead's products were fed to the Injured

Infant, which caused and/or increased of their developing NEC and subsequent injuries.

 1 12.   As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.

WHEREFORE,Plaintiff demands judgment against the Defendant Manufacturers as follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

                $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

                life, pain and suffering, mental anguish, and other non-economic losses sustained

                as a result of the Defendants Manufacturers' conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

                resulting from the Defendant Manufacturers' oppressive, fraudulent, and/or

                malicious conduct, as permitted by law;

            e. For interest as permitted by law;

            f For attorney's fees, expenses, and recoverable costs incurred in connection with

                this action; and

            g. For such other and further relief as the Court deems proper.




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                             COUNT VI: FAILURE TO WARN
                      (Against Penn Medicine and Pennsylvania Hospital)

1 13.     Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

1 14.     Penn Medicine and Pennsylvania Hospital as purchaser, supplier, and/or distributor of the

products at issue in this litigation, owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to purchase, supply, and distribute products that were free of unreasonable

risk of harm when used in their intended manner and for their intended purpose, and/or to

formulate, adopt, and enforce adequate rules and policies for the same.

1 15.     At all times relevant to this action, the Injured Infant used the cow's milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

1 16.     Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital, managing these individuals during their

treatment of the Injured Infant.

1 17.     Penn Medicine and Pennsylvania Hospital negligently and recklessly supplied and

distributed the Defendant Manufacturers' milk-based infant feeding products to these healthcare

professionals and medical staff for use on premature infants, including the Injured Infant.

1 18.     Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers' sales representatives to market, advertise, distribute,

and/or sell their products at Pennsylvania Hospital.         The Defendant Manufacturers' sales

representatives were encouraged to interact with Pennsylvania Hospital's healthcare professionals

and medical staff These interactions provided the Defendant Manufacturers' sales representatives




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an opportunity to co-opt Pennsylvania Hospital's healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers'

unreasonably dangerous products to consumers, such as the Plaintiff Parent.

1 19.    Penn Medicine and Pennsylvania also knowingly allowed the Defendant Manufacturers'

sales representatives to routinely misrepresent the risks and benefits of Defendants' products to

Pennsylvania     Hospital's   healthcare   professionals    and   medical   staff,   including   the

misrepresentation that premature babies would not grow adequately with human milk and human

milk products and that use of donor milk was not advised for premature infants.

120. = Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that they acquired, distributed, and supplied the Defendant Manufacturers' cow's milk-based

infant products that these products significantly increased the risk of NEC, serious injury, and

death.

121.     Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly and

breached its duty by:

            a. Failing to warn that cow's milk-based products significantly increase the risk of

                NEC,severe injury, and death in those babies; and/or

            b. Failing to warn that cow's milk-based products are unsafe and/or contraindicated

               for premature infants like the Injured Infant; and/or

            c. Failing to warn or instruct its healthcare professionals and medical staff on the

                information that should be provided to parents in order to make an informed choice

                about whether to allow their babies to be fed the Defendant Manufacturers'

                products, notwithstanding their substantial risk; and/or




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           d. Failing to provide its healthcare professionals and medical staff with the well-

               researched and well-established studies that link cow's milk-based products to NEC

               and death in premature infants; and/or

           e. Failing to provide a warning in a method reasonably calculated/expected to reach

               the parents of newborns; and/or

           f. Failing to provide statistical evidence showing the magnitude of increased risk of

               NEC in premature infants associated with cow's milk-based products; and/or

           g. Failing to prevent the Defendant Manufacturers' sales representatives from

               misrepresenting to Pennsylvania Hospital's healthcare professionals and medical

               staff that premature babies would not grow adequately with human milk and human

               milk products and that use of donor milk was not advised for premature infants.

122.    Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff—as well as

patients—on the safe use of the Defendant Manufacturers' products, and would have restricted the

ability of the Defendant Manufacturers' sales representatives to market the Defendant

Manufacturers' unreasonably dangerous products without adequate warning.

123.    Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow's milk-based formula to premature infants.

1 24.   Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to warn its medical providers and patients about the Defendant Manufacturers' unreasonably

dangerous products, the Injured Infant would not have been exposed to the Defendant

Manufacturers' cow's milk-based products.




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125.     As a direct and proximate result of Penn Medicine and Pennsylvania Hospital's failure to

warn of the danger posed by the Defendant Manufacturers' unreasonably dangerous cow's milk-

based products, the Injured Infant was fed the Defendant Manufacturers' cow's milk-based

products, which caused and/or increased the risk of developing NEC and significant injuries.

 1 26.   As a further direct and proximate result of Penn Medicine and Pennsylvania failure to

warn of the Defendant Manufacturers' unreasonably dangerous products, the Plaintiff Parent

suffered significant emotional distress, loss of income, and/or other harms. Her life has been

significantly affected by the Injured Infant's injuries.


WHEREFORE,Plaintiff demands judgment against Penn Medicine and Pennsylvania Hospital as

follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine's conduct;

            c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               ancUor lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

            d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from Penn Medicine and Pennsylvania Hospital's oppressive, reckless,

               and/or malicious conduct, as permitted by law;

            e. For interest as permitted by law;




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             f. For attorney's fees, expenses, and recoverable costs incurred in connection with

                 this action; and

             g. For such other and further relief as the Court deems proper.


          COUNT VII: CORPORATE LIABILITY OF HEALTH-CARE PROVIDER
                  (Against Penn Medicine and Pennsylvania Hospital)

127.      Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

128.      At all relevant times, Penn Medicine and Pennsylvania Hospital owed a duty of care to the

Injured Infant to ensure their safety and well-being while the Injured Infant was under the care of

Pennsylvania Hospital staff. Specifically, Penn Medicine and Pennsylvania Hospital had a duty

to the Injured Infant to formulate, adopt, and enforce adequate rules and policies to ensure quality

care for the Injured Infant. Further, Penn Medicine and Pennsylvania Hospital owed a duty to the

Injured Infant to oversee its healthcare professionals and medical staff that provided patient care

to the Injured Infant.

129.      Penn Medicine and Pennsylvania Hospital owed a duty to its patients, and the Injured Infant

in particular, to formulate, adopt, and enforce adequate rules and policies for the purchase, supply,

distribution, and use of products that were free of unreasonable risk of harm when used in their

intended manner and for their intended purpose and ensured quality care for the Injured Infant.

130.      At all times relevant to this action, the Injured Infant used the cow's milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

1 31.     Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers' sales representatives to market, advertise, distribute,




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and/or sell their products at Pennsylvania Hospital.         The Defendant Manufacturers' sales

representatives were encouraged to interact with Pennsylvania Hospital's healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers' sales representatives

an opportunity to co-opt Pennsylvania Hospital's healthcare professionals and medical staff into

assisting with the marketing, distribution, and/or sale of the Defendant Manufacturers'

unreasonably dangerous products.

1 32.   Penn Medicine and Pennsylvania Hospital also knowingly allowed the Defendant

Manufacturers' sales representatives to routinely misrepresent the risks and benefits of

Defendants' products to Pennsylvania Hospital's healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

133.    Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that it formulated, adopted, and enforced its rules for the acquisition, distribution, and supply

of the Defendant Manufacturers' cow's milk-based infant products, including the access afforded

the Defendant Manufacturer's sales representatives, that these products significantly increased the

risk of NEC, serious injury, and death for premature infants.

1 34.   Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow's milk-based formula to premature infants.

1 35.   Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly and

breached its duty by:




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         a. Failing to formulate, adopt, and enforce adequate rules and policies that would have

            restricted the use of cow's milk-based products for feeding premature babies;

            and/or

         b. Failing to formulate, adopt, and enforce adequate rules and policies that warned the

            Plaintiff Parent that cow's milk-based products significantly increase the risk of

            NEC, severe injury, and death in premature babies, like the Injured Infant; and/or

         c. Failing to formulate, adopt, and enforce adequate rules and policies that warned its

            healthcare professionals and medical staff that cow's milk-based products are

            unsafe and/or contraindicated for premature babies like the Injured Infant; and/or

         d. Failing to formulate, adopt, and enforce adequate rules and policies to instruct its

            healthcare professionals and medical staff on the information that should be

            provided to parents in order to make an informed choice about whether to allow

            their babies to be fed the Defendant Manufacturers' products, notwithstanding their

            substantial risk; and/or

         e. Failing to formulate, adopt, and enforce adequate rules and policies to provide its

            healthcare professionals and medical staff with the well-researched and well-

            established studies that link cow's milk-based products to NEC and death in

            premature infants; and/or

         f. Failing to formulate, adopt, and enforce adequate rules and policies to ensure a

            warning in a method reasonably calculated/expected to reach the parents of

            newborns, like the Plaintiff Parent; and/or

         g. Failing to formulate, adopt, and enforce adequate rules and policies to prevent the

            Defendant    Manufacturers' sales      representative from     misrepresenting   to




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                  Pennsylvania Hospital's healthcare professionals and medical staff that premature

                  babies would not grow adequately with human milk and human milk products and

                  that use of donor milk was not advised for premature infants; and/or

            h. Failing to establish a donor milk program that was sufficient to meet the needs of

                  the premature babies, like the Injured Infant.

136.    A reasonable hospital under the same or similar circumstances would have formulated,

adopted, and enforced adequate policies, and rules to restrict the feeding of cow's milk-based

products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants Manufacturers'-cow's

milk-based products, and restricting the marketing of the Defendant Manufacturers' unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.

1 37.   Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to formulate, adopt, and enforce adequate rules and policies to ensure the quality care of its

patients, the Injured Infant would not have been exposed to the Defendant Manufacturers' cow's

milk-based products.

138.    As a direct and proximate result of Penn Medicine and Pennsylvania Hospital failure to

formulate and enforce adequate policies and rules related to the danger posed by the Defendant

Manufacturers' unreasonably dangerous cow's milk-based products, the Injured Infant was fed the

Defendant Manufacturers' cow's milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

1 39.   As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital

negligent and reckless conduct the Plaintiff Parent suffered significant emotional distress, loss of




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income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.

140.    In the alternative, Penn Medicine and Pennsylvania Hospital owed a duty to its patients,

and the Injured Infant in particular, to oversee the practicing healthcare professionals and medical

staff that provided the products at issue to infants under Pennsylvania Hospital's care, including

the Injured Infant.

1 41.   Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital and was responsible for overseeing those

individuals during their treatment of the Injured Infant.

142.    Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly and'

breached its duty by:

            a. Failing to oversee its healthcare professionals and medical staff on their use of

               cow's milk-based products for feeding premature babies; and/or

            b. Failing to warn or instruct its healthcare professionals and medical staff that cow's

               milk-based products significantly increase the risk of NEC,severe injury, and death

               in those babies; and/or

            c. Failing to warn or instruct its healthcare professionals and medical staff that cow's

               milk-based products are unsafe and/or contraindicated for premature babies like the

               Injured Infant; and/or

            d. Failing to oversee its healthcare professionals and medical staff to restrict their

               feeding of cow's milk-based products to premature babies; and/or

            e. Failing to warn or instruct its healthcare professionals and medical staff on the

               information that should be provided to parents in order to make an informed choice




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               about whether to allow their babies to be fed the Defendant Manufacturers'

               products, notwithstanding their substantial risk; and/or

           f. Failing to provide its healthcare professionals and medical staff with the well-

               researched and well-established studies that link cow's milk-based products to NEC

               and death in premature infants; and/or

           g. Failing to provide its healthcare professionals and medical staff with warnings

               about the dangers of the Defendants' Manufacturers products in a method

               reasonably calculated/expected to reach the parents of newborns; and/or

           h   Failing to provide statistical evidence to its healthcare professionals and medical

               staff showing the magnitude of increased risk of NEC in premature infants

               associated with cow's milk-based products; and/or

           i. Failing to oversee its healthcare professionals and medical staff to ensure that the

               Defendant Manufacturers' sales representatives' misrepresentations that premature

               babies would not grow adequately with human milk and human milk products and

               that use of donor milk was not advised for premature infants had not influenced the

               use and/or misuse of the Defendant Manufacturers' products.

143.   A reasonable hospital under the same or similar circumstances would have warned of the

above risks, would have instructed its healthcare professionals and medical staff on the safe use of

the Defendant Manufacturers' products, and would have restricted the ability of the Defendant

Manufacturers' sales representatives to market the Defendant Manufacturers' unreasonably

dangerous products without adequate warning.




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144.    A reasonable hospital under the same or similar circumstances would have overseen and

managed its healthcare professionals and medical staff to ensure that they received proper training

and updating on the risks associated with feeding cow's milk-based formula to premature infants.

145.    Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to oversee its healthcare professionals and medical staff who provide patient care, the Injured

Infant would not have been exposed to the Defendant Manufacturers' cow's milk-based products.

146.    As a direct and proximate result of Penn Medicine and Pennsylvania Hospital's failure to

oversee its healthcare professionals and medical staff on the danger posed by the Defendant

Manufacturers' unreasonably dangerous cow's milk-based products, the Injured Infant was fed the

Defendant Manufacturers' cow's milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

147.    As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital's

negligent and reckless conduct„ the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly affected by the Injured Infant's

injuries.

WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania Hospital as

follows:

            a. For compensatory damages in an amount to be proven at trial and in excess of

               $50,000 and this Court's arbitrational limit;

            b. For damages for past, present, and future emotional distress, loss of enjoyment of

               life, pain and suffering, mental anguish, and other non-economic losses sustained

               as a result of Penn Medicine and Pennsylvania Hospital's conduct;




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           c. For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

               and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

               related to medical or mental health treatment which have or may be recommended;

           d. For punitive damages in excess of $50,000 and this Court's arbitrational limit

               resulting from Penn Medicine's oppressive, fraudulent, and/or malicious conduct,

               as permitted by law;

           e. For interest as permitted by law;

          f. For attorney's fees, expenses, and recoverable costs incurred in connection with

               this action; and

           g. For such other and further relief as the Court deems proper.


                                  DEMAND FOR JURY TRIAL

148.   Plaintiff hereby demands a jury trial for all claims triable.



Dated: March 24, 2022

                                                     Respectfully submitted,

                                                     ANAPOL WEISS




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                                                      Philadelphia, PA 19103
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                                                      Chicago, Illinois 60606


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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2022, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

counsel of record or parties registered to receive CM/ECF Electronic Filings.




                                            Tracy Finken




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                                       VERIFICATION

        I,the undersigned, Tracy Finken, verify that the statements made in this document are

true and correct to the best of my knowledge, information, and belief. I understand that false

statements herein are made subject to the penalties of 18 Pa. C.S. §4904, relating to unswom

falsification to authorities.




Date: March 24, 2022                                 Tracy Fin.ken




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                    EXHIBIT A-2




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                    EXHIBIT A-4




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 Terraine Abdullah, on her own behalf and as Parent and          COURT  OF COMMON
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                       Plaintiffs                                               G. IMPERATO
                                                                 CIVIL DIVISION
 v.
                                                                 MARCH TERM, 2022
 MEAD JOHNSON & COMPANY, LLC, et al.                             NO. 2583

                       Defendants.




                                           ORDER

       AND NOW, this            day of                          2022, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Complaint, and any Response thereto, it is hereby

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that all

claims against Defendants the Pennsylvania Hospital of the University of Pennsylvania Health

System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania d/b/a Penn

Medicine are hereby DISMISSED with prejudice.



                                                    BY THE COURT:



                                                    ____________________________________
                                                                                  J.




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 Terraine Abdullah, on her own behalf and as Parent and      COURT OF COMMON PLEAS
 Natural Guardian of H.S., a minor                           PHILADELPHIA COUNTY

                       Plaintiffs                            CIVIL DIVISION

 v.                                                          MARCH TERM, 2022
                                                             NO. 2583
 MEAD JOHNSON & COMPANY, LLC, et al.

                       Defendants.


                                    ALTERNATIVE ORDER

       AND NOW, this            day of                          2022, upon consideration of the

Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine to Plaintiffs’ Complaint, and any Response thereto, it is hereby

ORDERED that the Preliminary Objections are SUSTAINED. It is further ORDERED that:

       1.     Count VI of Plaintiffs’ Complaint is DISMISSED with prejudice;

       2.     Count VII of Plaintiffs’ Complaint is DISMISSED with prejudice;

       3.     Plaintiffs’ claims for punitive damages as to Defendants The Pennsylvania Hospital
              of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and
              The Trustees of the University of Pennsylvania d/b/a Penn Medicine are
              DISMISSED with prejudice, along with all allegations of oppressive, reckless,
              malicious and/or fraudulent conduct;

       4.     Plaintiff Terraine Abdullah’s claims in her own right are DISMISSED with
              prejudice; and

       5.     Plaintiffs’ Complaint is STRICKEN for lack of an appropriate verification.


                                                    BY THE COURT:



                                                    ____________________________________
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 BURNS WHITE LLC                                   Attorneys For Defendants,
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 Terraine Abdullah, on her own behalf and as Parent        COURT OF COMMON PLEAS
 and Natural Guardian of H.S., a minor                     PHILADELPHIA COUNTY

                        Plaintiffs                         CIVIL DIVISION

 v.                                                        MARCH TERM, 2022
                                                           NO. 2583
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.


PRELIMINARY OBJECTIONS OF DEFENDANTS THE PENNSYLVANIA HOSPITAL
    OF THE UNIVERSITY OF PENNSYLVANIA HEALTH SYSTEM AND THE
           TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
                    TO PLAINTIFFS’ COMPLAINT

       Defendants The Pennsylvania Hospital of the University of Pennsylvania Health System

(“Pennsylvania Hospital”) and the Trustees of the University of Pennsylvania (hereinafter

“Moving Defendants”) hereby preliminarily object to Plaintiffs’ Complaint, and, in support

thereof, aver as follows:

I.     INTRODUCTION

       1.      Plaintiffs instituted this action via the filing of a Complaint on March 24, 2022

against Moving Defendants as well as Co-Defendants Mead Johnson & Company, LLC, Mead

Johnson Nutritional Company (collectively referred to as “Mead Johnson”) and Abbott

Laboratories (“Abbott”). See Plaintiff’s Complaint, attached as Exhibit “A.”




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         2.       Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania

Hospital and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow’s

milk-based infant formula by premature infants following their birth.1

         3.       Plaintiffs allege that “upon information and belief” the Plaintiff-minors, including

H.S., were diagnosed with necrotizing enterocolitis (NEC), a gastrointestinal disorder that

premature infants are at increased risk to develop. See Plaintiffs’ Complaint, attached as Exhibit

“A,” ¶ 13. Plaintiffs allege that premature infants fed with their mother’s breast milk or donor

breast milk are at decreased risk of developing NEC as compared with infants given cow’s milk-

based infant formula.2

         4.       In addition to asserting product liability claims against the infant formula

manufacturers Mead Johnson and Abbott, Plaintiffs have alleged that Moving Defendants are

liable based on theories of failure to warn and corporate liability. 3

         5.       The factual background regarding the Plaintiff-minor’s birth, diagnosis and injuries

are limited to four paragraphs in the Complaint.




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
2
  Although Plaintiffs aver in the Complaint that NEC is caused by cow’s milk-based infant formula, as discussed
infra and in the accompanying Memorandum of Law, the allegations in the Complaint refer to research and studies
that indicate only that NEC is more common in premature and low birth weight infants fed with cow’s milk-based
products as compared with similar infants fed with breast milk. See Exhibit “A,” ¶¶ 17-23. Plaintiffs do not cite any
study or statement in the Complaint that indicates NEC is caused by cow’s milk-based infant formula.
3
  As is discussed in detail in the accompanying Memorandum of Law, infant formulas are regulated by the United
States Food and Drug Administration and require to include specified vitamins and nutrients, including infant
formulas intended for low birth weight infants. The FDA permits does not restrict the use of cow’s milk-based infant
formula for premature or low birth weight infants. Plaintiff’s contention that cow’s milk-based infant formula should
never be given to premature infants is not supported by the FDA.


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        6.       Plaintiffs aver that H.S. was born prematurely on September 12, 2006 and that

“upon information and belief was fed Similac and/or Enfamil cow’s milk-based products by staff

at Pennsylvania Hospital from shortly after her birth.” Id., ¶¶ 11-12.

        7.       Plaintiffs further allege that “upon information and belief” H.S. developed NEC

shortly after first ingesting the Defendant manufacturers’ products. Id., ¶ 13.

        8.       Plaintiffs generally allege that H.S. “suffered injuries and has continued to suffer

long-term health effects,” with no specific description of those alleged injuries or long-term health

effects. Id., ¶ 14.

        9.       Moving Defendants Preliminarily Object to Plaintiffs’ Complaint for the reasons

stated below and as more fully set forth in the accompanying Memorandum of Law, which is

incorporated herein by reference.

II.     ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

        10.      Plaintiffs allege in Count VI of the Complaint that Moving Defendants, “as

purchaser, supplier, and/or distributor of the products at issue in the litigation” owed Plaintiffs and

the public a duty to provide products that were free of unreasonable risk of harm.

        11.      Plaintiffs’ theory against Moving Defendants is that they were aware cow’s milk-

based products made by the Defendant Manufacturers cause NEC in premature and low birth

weight infants and negligently failed to warn the parents of those infants of this danger.

        12.      In support of this theory, Plaintiffs cite to five studies comparing cow’s milk-based

products to breast milk, a Surgeon General report on the subject, and a statement by the American

Academy of Pediatrics. See Exhibit “A,” ¶¶ 17-23.




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       13.      Taking these facts as pleaded by Plaintiffs as true, Plaintiffs have failed to state a

claim for negligent failure to warn against Moving Defendants as they have failed to demonstrate

the product in question is indeed unreasonably dangerous.

       14.      Further, to the extent the product at issue was provided in the context of medical

care, rather than commerce, there can be no claim against Moving Defendants for a product-

liability based theory of failure to warn.

       15.      “Pennsylvania has adopted the Restatement (Second) of Torts in cases involving a

claim of negligent failure to warn.” Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp.,

596 A.2d 845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

             One who supplies directly or through a third person a chattel for another to
             use is subject to liability to those whom the supplier should expect to use
             the chattel with the consent of the other or to be endangered by its probable
             use, for physical harm caused by the use of the chattel in the manner for
             which and by a person for whose use it is supplied, if the supplier

             (a) knows or has reason to know that the chattel is or is likely to be
                 dangerous for the use for which it is supplied, and

             (b) has no reason to believe that those for whose use the chattel is supplied
                 will realize its dangerous condition, and

             (c) fails to exercise reasonable care to inform them of its dangerous
             condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388.

       16.      “The threshold inquiry in all products liability cases is whether there is a defect

which rendered the product unreasonably dangerous.” Weiner v. American Honda Motor Co., Inc.,

718 A.2d 305, 307 (Pa. Super. 1998).

       17.      “A product is defective when it is not safe for its intended use, i.e., the product left

the supplier's control lacking any element necessary to make it safe for its intended use.” Id. At

308.

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       18.     Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the

Defendant Manufacturers’ products are unreasonably dangerous for their intended use, triggering

Moving Defendants’ duty to warn.

       19.     Although Plaintiffs cite in their Complaint to research studies relating to the

purported risks of cow’s milk-based products in premature infants, the studies demonstrate only,

assuming the facts as true as stated by Plaintiffs, that premature infants are at high risk of NEC,

and that feeding such infants with breast milk may be better at reducing the risk of NEC than cow’s

milk-based alternatives. See Exhibit “A,” ¶¶ 17-23.

       20.     At the outset, Plaintiffs appropriately acknowledge that “[p]reterm and low-birth-

weight infants are especially susceptible to NEC.” See Exhibit “A” at ¶ 16 (emphasis added).

Following this, Plaintiffs make the core claim of their Complaint – that cow’s milk-based feeding

products cause NEC in preterm and low birth weight infants – and that “[e]xtensive scientific

research, including numerous randomized controlled trials” confirm this claim. Id. However,

reviewing the portions of the research and trials cited by Plaintiffs in their Complaint belie their

core claim.

       21.     The first study cited by Plaintiffs states, according to the Complaint, that “NEC was

six to ten times more common in exclusively cow’s milk formula-fed babies than in exclusively

breast milk-fed babies and three times more common in babies who received a combination of

formula and breast milk.” Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants

fed cow’s milk-based products than those fed breast milk is to say that NEC still occurs in infants

fed exclusively breast milk, but only at a lower rate. Thus, Plaintiffs’ first study does not state

cow’s milk-based feeding products causes NEC.




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       22.     As averred in the Complaint, the second study cited by Plaintiffs states that

“preterm babies fed an exclusive breast milk-based diet were 90% less likely to develop surgical

NEC compared to preterm babies fed a diet that included some cow’s milk-based products.” Id. at

¶ 18. To state that preterm infants fed only breast milk are less likely to develop a form of NEC is

to admit that NEC still develops in preterm infants regardless of the diet. Thus, Plaintiffs’ second

study likewise does not state that cow’s milk-based feeding products cause NEC.

       23.     The third study cited by Plaintiffs concluded, per the Complaint, “fortification of

breast milk with a cow’s milk-based fortifier resulted in a 4.2-fold increased risk of NEC and a

5.1-fold increased risk of surgical NEC or death compared to fortification with a breast milk-based

fortifier.” Id. at ¶ 19. What the study does not state, as alleged in the Complaint, is that cow’s milk-

based fortifiers cause NEC.

       24.     The Surgeon General report cited by Plaintiffs is alleged in the Complaint to

reiterate the principle made in the prior three studies and states that “formula feeding is associated

with higher rates” of NEC in preterm infants and that “premature infants who are not breastfed

are 138% more likely to develop NEC." Id. at ¶ 20 (emphasis added). If cow’s milk-based formula

caused NEC as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead,

the Surgeon General report, as described in Plaintiffs’ Complaint at ¶ 20, makes the same

acknowledgment as Plaintiffs – that preterm infants are highly susceptible to NEC regardless of

their diet, and that NEC occurs in different rates in preterm infants fed cow’s milk-based products

and breast milk. The report does not state that the former causes NEC.

       25.     According to the Complaint, the American Academy of Pediatrics makes a nearly

identical statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a

recommendation that “all premature infants should be fed either their mother’s milk or, if their



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mother’s milk is unavailable, pasteurized donor milk,” which recommendation is alleged to be

related in part to “lower rates… of NEC.” Id. This statement acknowledges that NEC still occurs

in preterm infants fed only breast milk, but simply at a lower rate. According to the Complaint, the

Academy does not claim that cow’s milk-based feeding products cause NEC.

       26.     The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

information. As alleged in the Complaint, a study “found that premature and low-birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow’s milk-based formula suffered NEC 21% of the time.”

In another study, as alleged in the Complaint, “babies given exclusively breast milk products

suffered NEC 5% of the time,” whereas “babies given cow’s milk products suffered NEC 17% of

the time.” Id. at ¶ 22-23. Once again, these studies, based on the allegations in Plaintiffs’

Complaint, do not state that cow’s milk-based formula causes NEC.

       27.     Thus, Plaintiffs have failed to state a claim for negligent failure to warn against

Moving Defendants as they have failed to state facts to establish that cow’s milk-based infant

formula is unreasonably dangerous for its intended purpose.

       28.     Further, assuming arguendo that the Defendant Manufacturers’ cow’s milk-based

feeding products can be seen as unreasonably dangerous for their intended use as opposed to

simply being a less effective alternative to breast milk products, Moving Defendants still had no

duty to warn of the nature of cow’s milk-based products under § 388 because medical providers

are not “supplying” a product to a patient within the stream of commerce.

       29.     Plaintiffs’ failure to warn claim is similarly precluded to the extent that Plaintiffs

are alleging that Defendants, in providing medical care to Plaintiff-minor, failed to obtain Plaintiff-




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parent’s consent to the use of cow’s milk-based products and failed to warn of the purported risks

and alternatives of such products.

       30.      The sole basis upon which Plaintiffs can proceed against Moving Defendants for

“failure to warn” in the context of providing medical care is to assert such a claim under a theory

of failure to obtain informed consent.

       31.      Claims for informed consent in medical malpractice actions are governed by the

Medical Care Availability and Reduction of Error Act, which provides as follows:

             (a) Duty of Physicians.--Except in emergencies, a physician owes a
             duty to a patient to obtain the informed consent of the patient or the
             patient’s authorized representative prior to conducting the following
             procedures:

             (1) Performing surgery, including the related administration of
             anesthesia.

             (2) Administering radiation or chemotherapy.

             (3) Administering a blood transfusion.

             (4) Inserting a surgical device or appliance.

             (5) Administering an experimental medication, using an experimental
             device or using an approved medication or device in an experimental
             manner.

             (b) Description of procedure.--Consent is informed if the patient has
             been given a description of a procedure set forth in subsection (a) and
             the risks and alternatives that a reasonably prudent patient would require
             to make an informed decision as to that procedure. The physician shall
             be entitled to present evidence of the description of that procedure and
             those risks and alternatives that a physician acting in accordance with
             accepted standards of medical practice would provide.

   40 P.S. §1303.504 (emphasis added).




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       32.     Since the use of infant formula in feeding premature infants is not a “procedure,”

there is no basis for Plaintiffs to contend that Plaintiff-parent’s consent was required for the use of

infant formula to feed her infant, including warning her of the risks or alternatives of same.

       33.     Further, the informed consent statute only applies to physicians, not hospitals, in

the context of medical procedures. See Morgan v. MacPhail, 550 Pa. 202, 205 (1997).

       34.     Thus, a hospital cannot be held liable for a physician’s failure to obtain proper

informed consent. Valles v. Albert Einstein Medical Center, 805 A.2d 1232 (2002).

       B.      DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
               CARE PROVIDER

       35.     In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania

Supreme Court recognized the doctrine of corporate liability, holding that a hospital may be found

directly liable for negligence if it fails to meet any of the following four duties: (1) a duty to use

reasonable care in the maintenance of safe and adequate facilities and equipment; (2) a duty to

select and retain only competent physicians; (3) a duty to oversee all persons who practice

medicine within its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate

rules and policies to ensure quality care for patients.

       36.     Plaintiffs’ corporate liability claim fails based on the same rationale as the claim

for failure to warn, since both claims are based on the alleged failure to provide warnings to

patients related to the use of cow’s milk-based infant formula.

       37.     Infant formula is regulated by the FDA, and there is no legal restriction on the use

of cow’s milk-based products for feeding of premature infants.

       38.     Indeed, the Infant Formula Act expressly acknowledges that it is permissible to

provide cow’s-milk based products to low birth weight infants.




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        39.      Further, as discussed above, Plaintiffs cannot demonstrate that cow’s milk-based

formula is an unreasonably dangerous product.

        40.      Thus, there is no legal basis to contend that Moving Defendants can be held liable

pursuant to a theory of corporate liability for failing to prevent the use of cow’s milk-based

products in the feeding of premature infants in the hospital.

        41.      Additionally, Courts considering the application of the duties set forth in Thompson

have insisted on more than a simple finding of a negligent act by someone for whom the hospital

is purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995).

        42.      In considering whether the plaintiff could sustain corporate negligence claims

based on these allegations, the Edwards court analyzed the Thompson decision and delineated the

standards required to sustain such a claim:

              The Thompson theory of corporate liability will not be triggered every time
              something goes wrong in a hospital which harms a patient . . . To establish
              corporate negligence, a plaintiff must show more than an act of negligence by
              an individual for whom the hospital is responsible. Rather, Thompson requires
              a plaintiff to show that the hospital itself is breaching a duty and is somehow
              substandard…Thompson contemplates a kind of ‘systemic negligence’…

Id. at 1386-87 (citations omitted and emphasis added).

        43.      Thus, a hospital may not be held liable via corporate negligence simply based on the

alleged negligence of an individual health care provider.

        44.      Accordingly, even if Plaintiffs could establish that the use of cow’s milk-based infant

formula was a breach of the standard of care by unidentified health care providers based on the

specific circumstances of the Plaintiff-minor’s case herein, which has not been pleaded by Plaintiffs

considering the paucity of the allegations in the Complaint, such evidence cannot support a finding

of corporate liability.




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       45.     Additionally, even assuming Plaintiffs had a viable corporate negligence claim

against Pennsylvania Hospital, any such claim is precluded against the Trustees of the University

of Pennsylvania since it is not a hospital.

       46.     The Thompson holding has been extended to HMO’s and nursing home facilities,

where it was determined that such entities performed similar functions as hospitals. See Shannon

v. Health America Pennsylvania, Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland

Park Care Center, LLC, 57 A.3d 582 (Pa. 2012).

       47.     However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       48.     There is no legal basis for holding that the purported corporate parent of a hospital,

such as the Trustees of the University of Pennsylvania, can be held liable under a theory of

corporate negligence.

       49.     Indeed, the Scampone Court cautioned that the trial court should ensure that

“multiple entities are not exposed to liability for breach of the same non-delegable duties.” 57 A.2d

at 606-07.

       C.      MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
               SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       50.     Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the

nature of a motion to strike for insufficient specificity in a pleading.




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       51.     A plaintiff’s Complaint is required to provide a defendant with notice of what the

plaintiff’s claims are and the grounds upon which they rest, and the complaint must also formulate

the issues by summarizing the facts essential to support the claims. Alpha Tau Omega Fraternity

v. The University of Pennsylvania, 464 A.2d 1349, 1352 (Pa. Super. 1983) (citations omitted).

       52.     Pennsylvania Rule of Civil Procedure 1019(a) provides that “the material facts on

which a cause of action or defense is based shall be stated in a concise and summary form.”

Pa.R.C.P. 1019(a). As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       53.     Further, it is well established that, with regard to the description of injuries

sustained by a plaintiff, the Complaint must be stated with sufficient particularity to put the

defendant on notice of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa.

1953). A plaintiff’s Complaint must set forth the extent, nature, location and duration of the

injuries suffered, and injuries that are permanent should be stated specifically. Miller v.

Perrige, 71 Pa. D. & C.2d 476, 479–80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D.

& C.2d 713, 714 (Pa. Com. Pl. 1958) (“A catchall averment of “other injuries” is nothing more

than a generalized averment under which any injuries whatever could be proved at the trial.

Defendant would have no knowledge in advance of the trial of what they are.”)
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        54.     Plaintiffs’ Complaint is woefully deficient with regard to the specificity of the

allegations of the relevant facts and injuries at issue in this case.

        55.     Plaintiffs’ description of the material facts relating to the minor’s care and

treatment, diagnosis and injuries is limited to four paragraphs, which are utterly insufficient to

enable defendants to prepare their defenses. See Exhibit “A,” ¶¶ 11-14.

        56.     Plaintiffs aver that the minor was born prematurely but do not identify the

gestational age at which the child was born or her birth weight. Plaintiffs’ allegation that “upon

information and belief,” the minor was fed Similac and/or Enfamil shortly after her birth (Id. at ¶

12) does not comply with the fact-pleading requirements of Rule 1019(a), since such allegations

do not provide defendants with appropriate notice of the facts as to whether the minor actually

ingested cow’s milk-based products.

        57.     Further, plaintiffs have failed to identify which of the numerous products sold by

Abbott and Mead Johnson under the Similac and Enfamil brand names were ingested by the minor.

Id. at ¶¶ 37-38.

        58.     Plaintiffs’ Complaint further fails to provide a description of the material facts as

to the period of time in which such products were ingested, when the minor was allegedly

diagnosed with NEC and what treatment was provided for that condition.

        59.     The Complaint further fails to state the nature of the injuries and “long-term health

effects” that are alleged to have resulted from the diagnosis of NEC.

        60.     Plaintiffs’ damages claim is not stated with particularity, is amorphous, vague, and

open-ended. Pursuant to Pennsylvania pleading requirements, Moving Defendants should not be

compelled to defend a claim for which the statement of injury is unspecified and subject to change.




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       61.     These omissions are fatal defects in Plaintiff’s Complaint. Therefore, Plaintiffs’

Complaint should be stricken in its entirety.

       D.      MOTION TO           STRIKE       PLAINTIFFS’       CLAIMS       FOR     PUNITIVE
               DAMAGES

       62.     In the Ad Damnum clauses of Counts VI and VII of the Complaint, Plaintiffs make

baseless accusations that Moving Defendants engaged in oppressive, reckless, malicious and/or

fraudulent conduct that allegedly justify an award of punitive damages. See Exhibit “A,” pp. 38,

46.

       63.     However, the Complaint contains no specific allegations of conduct that would

permit recovery of punitive damages as to Moving Defendants.

       64.     Rather, Plaintiffs merely allege that “upon information and belief” H.S. may have

been given a cow’s milk-based infant formula following birth, absent any context to indicate that

such an action was inappropriate based on the specific issues involved in H.S.’s medical care and

condition following birth.

       65.     For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

and any health care providers regarding the purported use of cow’s milk-based products.

       66.     Plaintiff’s allegations of oppressive, malicious and similar conduct must be rejected

as mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula

in care of low birth weight infants, with no restriction as to the use of cow’s milk-based products

for such infants.

       67.     Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least five

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants




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engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow’s

milk-based infant formula.

        68.    Absent specific factual allegations to justify the claim that the use of infant formula

in H.S.’s case was extreme and outrageous, there is no basis for an award of punitive damages in

this case.

        69.     Merely contending that punitive damages should be awarded with no supporting

factual justification requires dismissal of the claim.

        70.    Since the purpose of punitive damages is not compensation of a plaintiff but

punishment of the defendant and deterrence, punitive damages can be awarded only for conduct

involving some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For

that reason, Pennsylvania Supreme Court decisions establish that “punitive damages are an

‘extreme remedy’ available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa.

Dist. & Cnty. Dec. LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584

Pa. 179, 188, 883 A.2d 439, 445 (2005)). “In fact, punitive damages are specifically designed to

heap an additional punishment on a defendant who is found to have acted in a fashion which is

particularly egregious.” Wagner at *12.

        71.    Punitive damages may not be awarded for misconduct that constitutes ordinary

negligence such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp.,

494 A.2d 1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa.

Super. 1987). An award of punitive damages must be supported by evidence of conduct more

serious than the mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc.,

Inc., 604 F. Supp. 85, 99 (M.D. Pa. 1984).




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        72.       Specifically, with regard to punitive damages in the context of claims against health

care providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages

only to be awarded as follows:

        (a)     Award. -- Punitive damages may be awarded for conduct that is the result
        of the health care provider’s willful or wanton conduct or reckless indifference to
        the rights of others. In assessing punitive damages, the trier of fact can properly
        consider the character of the health care provider’s act, the nature and extent of the
        harm to the patient that the health care provider caused or intended to cause and the
        wealth of the health care provider.

        (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
        support an award of punitive damages.

40 P.S. §1303.505.

        73.       The Supreme Court has made clear that when assessing the propriety of the

imposition of punitive damages, “the state of mind of the actor is vital. The act or failure to act,

must be intentional, reckless or malicious.” Hutchinson, supra at 770. An appreciation of the risk

is a necessary element of the mental state required for the imposition of punitive damages. Id. at

772.

        74.       Thus, “a punitive damages claim must be supported by evidence sufficient to

establish that (1) a defendant had a subjective appreciation of the risk of harm to which the plaintiff

was exposed and that (2) he acted, or failed to act, as the case may be, in conscious disregard of

that risk.” Id.

        75.       Since professional negligence actions involve allegations that health care

professionals deviated from the governing standard of care, punitive damages are generally not

recoverable in malpractice actions unless the medical provider’s deviation from the applicable

standard of care is so egregious as to evince a conscious or reckless disregard of a patent risk of

harm to the patient. Wagner, supra.



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       76.     Where the facts as averred show nothing more than negligence, a lapse in judgment,

or mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive

damages, often at the pleadings stage of litigation and even if the complaint alleged severe injuries

or death. See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985)

(dismissing punitive damages claim where a plaintiff alleged that a physician negligently

performed a spinal fusion surgery that left the plaintiff with severe neurological defects, and noting

that “the mere pleading of outrageous conduct does not, of course, satisfy the requirement

stating facts which, if proven, would form a basis for a jury concluding that the conduct was such

that an award of punitive damages was warranted.”) (emphasis added); Wagner, supra at *11

(contentions that physician failed to prescribe antibiotics, order certain tests or request an

infectious disease consult constituted “nothing more than ordinary negligence and are insufficient

to support an award of punitive damages.”); McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa.

Com. Pl. 1996) (sustaining preliminary objections and dismissing claim for punitive damages

where the plaintiff alleged negligence in the prenatal care of her child that led to the child was

stillborn and holding that “[i]t is not the outcome of the alleged negligence that is of consideration,

but rather the alleged conduct of defendants that is at issue.”); Flurer v. Pocono Medical Ctr., 15

Pa. D. & C.4th 645, 670 (Pa. Com. Pl. 1992) (sustaining preliminary objections and finding that

plaintiffs were not “capable of pleading the requisite behavior” for an award of punitive damages

where a hospital allegedly failed to properly utilize a fetal monitor on a pregnant woman who was

involved in a serious car accident and thereafter delivered a stillborn child).

       77.     Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd



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Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-year old Alzheimer’s patient where he repeatedly raped her, since

nursing home was aware of resident’s prior criminal convictions for sex registration as a sexual

offender under Megan’s Law, and his prior instances of grabbing and kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical

insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       78.     The facts underlying Plaintiffs’ bare assertions of reckless, outrageous or similar

behavior do not even remotely meet the requisite standard under Pennsylvania law that would

permit an award of punitive damages.

       79.     Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are

specifically restricted in claims involving vicarious liability:

       (c)    Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that



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       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c).

       80.     Plaintiffs allege in this action that unidentified “staff” fed H.S. Similac and/or

Enfamil at Pennsylvania Hospital shortly after her birth and failed to warn Plaintiff-parent of the

alleged risks of such products. See Exhibit “A,” ¶ 12.

       81.     Even if such actions were claimed to be egregious or malicious such that punitive

damages were permissible, which is denied for the reasons stated above, Plaintiffs must allege

facts to establish that Moving Defendants had actual knowledge of the alleged wrongful conduct

and nevertheless allowed it. See Zazzera v. Roche, 54 D. & C. 4th 225, 238 (Pa. Com. Pl. 2001);

Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637 (Pa. Super. 1985).

       82.     In this matter, Plaintiffs have failed to plead any facts to suggest that Moving

Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       83.     For all these reasons, Plaintiffs’ demand for punitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E.      MOTION TO DISMISS PLAINTIFF-PARENT’S CLAIMS

       84.     Plaintiff-parent seeks to recover damages in her own right and as the parent and

natural guardian of H.S.

       85.     Plaintiffs’ Complaint includes allegations in each count asserted as to Moving

Defendants in which it is averred that Plaintiff-parent “suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly altered by the Injured Infant’s

injuries.” See Exhibit “A,” ¶¶ 126, 139 and 147.




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       86.       However, no specific cause of action is asserted as to any damages sought by behalf

of Plaintiff-parent, who is not alleged in the Complaint to have suffered any physical injuries as a

result of the alleged negligent conduct of Moving Defendants. For this reason, Plaintiff-parent’s

claim should be dismissed.

       87.       Further, even if Plaintiff-parent had properly articulated a cause of action in the

Complaint to allow her to recover damages in her own right, the Complaint should be stricken

pursuant to Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

       88.       Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf

of both the Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein.

Claims on behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint,

specifically identifying the cause of action asserted and relief sought in each count.

       89.       Additionally, although the statute of limitations for claims asserted on behalf of

minors are tolled until the age of majority, Plaintiff-parent’s claims were not similarly tolled and

were required to have been brought within two years of the alleged injury. See Hathi v. Krewstown

Park Apts, 561 A.2d 1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524.

       90.       Plaintiffs allege that H.S. was born on September 12, 2006, was fed the Defendant

manufacturers’ products shortly after her birth, and developed NEC shortly thereafter. See Exhibit

“A,” ¶¶ 11-13.

       91.       Thus, since the Complaint herein was filed on March 24, 2022, Plaintiff-parent’s

claims herein are clearly time-barred based on the applicable statute of limitations.




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        F.      MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
                COMPLY WITH Pa.R.C.P. 1024

        92.     Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every

pleading containing a factual averment based upon the signer’s personal knowledge or information

and belief.

        93.     Rule 1024(c) requires that the verification be made by one or more of the parties

filing the pleading.

        94.     In this case, Plaintiffs’ counsel signed the verification for the Complaint, in

violation of Rule 1024. See Exhibit “A.”

        95.     Accordingly, the Complaint should be stricken for lack of an appropriate

verification.

        WHEREFORE, Defendants The Pennsylvania Hospital of the University of Pennsylvania

Health System d/b/a Pennsylvania Hospital and The Trustees of the University of Pennsylvania

d/b/a Penn Medicine respectfully request that this Honorable Court sustain the instant Preliminary

Objections and enter the attached proposed Order.



                                              BURNS WHITE LLC


                                        BY:
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                                              RICHARD S. MARGULIES, ESQ.
                                              Attorneys for Defendants,
                                              The Pennsylvania Hospital of the University of
                                              Pennsylvania Health System d/b/a Pennsylvania
                                              Hospital and The Trustees of the University of
                                              Pennsylvania d/b/a Penn Medicine




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 Terraine Abdullah, on her own behalf and as Parent and      COURT OF COMMON PLEAS
 Natural Guardian of H.S., a minor                           PHILADELPHIA COUNTY

                        Plaintiffs                           CIVIL DIVISION

 v.                                                          MARCH TERM, 2022
                                                             NO. 2583
 MEAD JOHNSON & COMPANY, LLC, et al.

                        Defendants.



      MEMORANDUM OF LAW IN SUPPORT OF PRELIMINARY OBJECTIONS OF
       DEFENDANTS THE PENNSYLVANIA HOSPITAL OF THE UNIVERSITY OF
     PENNSYLVANIA HEALTH SYSTEM AND THE TRUSTEES OF THE UNIVERSITY
               OF PENNSYLVANIA TO PLAINTIFFS’ COMPLAINT

I.      MATTER BEFORE THE COURT

        Preliminary Objections of Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System (“Pennsylvania Hospital”) and The Trustees of the University of

Pennsylvania to Plaintiffs’ Complaint.

        While patently obvious that Plaintiffs’ Complaint must be dismissed for clear and

important violations of the procedural requirements governing pleadings and verification of the

accuracy of the factual averments of the Complaint (there are not separate counts identified for the

causes of action of each of the Plaintiffs attempts to allege), most of which are averred “upon

information and belief,” the substance of Plaintiffs’ allegations do not support any legally




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recognized cause of action against Moving Defendants, under Pennsylvania law. Our procedural

rules do not permit a plaintiff to simply identify allegedly tortious conduct by a defendant without

pleading the necessary facts to satisfy the elements of the tortious conduct.

       Here, Plaintiffs plead that Moving Defendants permitted Co-Defendants’ cow’s milk-based

infant formula to be fed to prematurely born infants, which allegedly caused those infants to

develop necrotizing enterocolitis (“NEC”). Plaintiffs then plead themselves out of Court by

attempting to support a “failure to warn” claim by referencing various articles that, as pleaded and

for purposes of these Preliminary Objections accepted as true, do not support the contention that

cow’s milk-based infant formulas cause NEC. Thus, distinct from the Complaint’s procedural

shortcomings, Plaintiffs have failed to plead facts that support the “failure to warn” and corporate

liability causes of action that they attempt to assert against Moving Defendants. It is further

noteworthy that there is no viable “failure to warn” cause of action that is recognized under

Pennsylvania law against Moving Defendants, as explained in this submission by Moving

Defendants.

II.    STATEMENT OF QUESTIONS PRESENTED

       1.      Whether this Honorable Court should dismiss Count VI of Plaintiffs’ Complaint

“Failure to Warn” cause of action with prejudice because Plaintiffs’ Complaint does not support

the claim that cow’s milk-based products are unreasonably dangerous and Moving Defendants

cannot be held liable for negligent failure to warn on the basis that they are a supplier of such

products?

       Suggested answer in the affirmative.

       2.      Whether this Honorable Court should dismiss Count VI of Plaintiffs’ Complaint

“Failure to Warn” cause of action with prejudice because it improperly alleges that Moving



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Defendants were required to obtain Plaintiff-parent’s informed consent to use of cow’s milk-based

products for feeding of Plaintiff-minor and warn her of the risks and/or alternatives of same?

       Suggested answer in the affirmative.

       3.      Whether this Honorable Court should dismiss Count VII of Plaintiffs’ Complaint

“Corporate Negligence” cause of action with prejudice because Moving Defendants cannot be held

liable on such a theory for a product which is regulated by the FDA and which is not precluded for

use in premature or low birth weight infants, and where a hospital cannot be held liable for

corporate negligence based on the alleged negligence of an individual health care provider?

       Suggested answer in the affirmative.

       4.      Whether this Honorable Court should dismiss Count VII of Plaintiffs’ Complaint

“Corporate Negligence” cause of action with prejudice as to the Trustees of the University of

Pennsylvania since it is not a hospital and because corporate negligence duties are non-delegable?

       Suggested answer in the affirmative.

       5.      Whether this Honorable Court should strike Plaintiffs’ Complaint in its entirety for

insufficient specificity of the facts and alleged injuries?

       Suggested answer in the affirmative.

       6.      Whether this Honorable Court should strike Plaintiffs’ claims for punitive damages

as to Moving Defendants because the Complaint fails to plead facts providing a basis for an award

of punitive damages?

       Suggested answer in the affirmative.

       7.      Whether this Honorable Court should strike Plaintiff-parent’s claims for failure to

state a cause of action, and for failure to plead separate causes of action pursuant to Pa.R.C.P. 1020

and based on the applicable statute of limitations?



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         Suggested answer in the affirmative.

         8.      Whether this Honorable Court should strike Plaintiffs’ Complaint for failure to

provide a client verification as required by Pa.R.C.P. 1024?

         Suggested answer in the affirmative.

III.     INTRODUCTION AND FACTUAL BACKGROUND

         Plaintiffs have filed a slew of essentially identical lawsuits against Pennsylvania Hospital

and other hospitals in Philadelphia based on claims relating to alleged ingestion of cow’s milk-

based products by premature infants in the hospital following their birth.1 Plaintiffs allege that the

Plaintiff-minors, including H.S., were diagnosed with necrotizing enterocolitis (NEC), a

gastrointestinal disorder that premature infants are at increased risk to develop. See Plaintiffs’

Complaint, attached as Exhibit “A” at ¶ 13. Plaintiffs aver that premature infants fed with their

mother’s breast milk or donor breast milk are at decreased risk of developing NEC as compared

with infants given cow’s milk-based products (infant formula). Many of the allegations of the

Complaint are pleaded “upon information and belief,” including the allegations that Plaintiff-

minors received infant formula and that they developed NEC shortly after being fed with infant

formula.

         In addition to asserting product liability claims against the infant formula manufacturers

Mead Johnson & Company, LLC, Mead Johnson Nutritional Company (collectively referred to as

“Mead Johnson”) and Abbott Laboratories (“Abbott”)2, Plaintiffs have alleged that Moving

Defendants are liable based on theories of failure to warn and corporate liability. See Plaintiff’s




1
 Lawsuits involving identical claims have been filed against the Hospital of the University of Pennsylvania, Temple
University Hospital, Albert Einstein Medical Center and Thomas Jefferson University Hospital.
2
 Mead Johnson and Abbott have been the subject of similar lawsuits in other states, including Connecticut, Illinois
and California.

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Complaint, attached as Exhibit “A” at Counts VI and VII. As is discussed in detail below,

Plaintiffs’ claims against Moving Defendants are legally and factually deficient.

       Although Plaintiffs aver that NEC is caused by cow’s milk-based products, Plaintiffs refer

in their Complaint to research studies and reports that, as alleged by Plaintiffs, indicate only that

NEC is more common in premature and low birth weight infants fed with cow’s milk-based

products as compared with similar infants fed with breast milk. See Exhibit “A,” ¶¶ 17-23. As

discussed in detail supra, assuming the truth of the factual allegations stated in Plaintiffs’

Complaint, the research studies cited by Plaintiffs do not support the conclusion that NEC is caused

by cow’s milk-based products. As such, there is no basis to contend that cow’s milk-based products

are dangerous for premature infants, such that Moving Defendants had a duty to warn Plaintiff-

parents of any risks or alternatives related to infant formula.

       Plaintiffs’ Complaint provides scant information regarding the factual background of this

case. Plaintiffs aver that H.S. was born prematurely on September 12, 2006 and that “upon

information and belief was fed Similac and/or Enfamil cow’s milk-based products by staff at

Pennsylvania Hospital from shortly after her birth.” Id., ¶¶ 11-12. Plaintiffs further allege that

“upon information and belief” H.S. developed NEC shortly after first ingesting the Defendant

manufacturers’ products. Id., ¶ 13. No details are provided regarding the extent of her prematurity,

her birth weight, or her condition following birth other than that she developed NEC on an

unidentified date. Further, no facts are provided by Plaintiffs as to any medical care H.S. received

other than surgery for what period of time H.S. allegedly ingested cow’s milk-based products, and




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which product(s) she allegedly ingested.3 Finally, the Complaint is silent as to the nature and extent

of H.S.’s alleged injuries other than a vague reference to “long term health effects.” Id. ¶ 14.

         Further, the Complaint does not provide any details whatsoever regarding communications

between Plaintiff-parent and medical providers at Pennsylvania Hospital regarding the allegations

that H.S. may have been fed with Mead Johnson and/or Abbott cow’s milk-based products in the

hospital. Plaintiffs conceded in the Complaint that mothers are encouraged by their healthcare

professionals to breastfeed. Id. ¶ 41. However, Plaintiffs do not provide any information regarding

discussions between Plaintiff-parent and any health care providers at Pennsylvania Hospital related

to breastfeeding and/or using cow’s milk-based products in this case, including whether or not she

was encouraged to breastfeed and/or was unable or declined to do so. As noted, Plaintiffs plead

that Plaintiff Minor ingested formula “on information and belief” only, and similarly plead “on

information and belief” that Plaintiff Minor developed NEC as a result.

         Plaintiffs further fail to disclose in their Complaint that infant formula is regulated by the

United States Food and Drug Administration (FDA) and that there is no restriction on the use of

cow’s milk-based products for premature infants. The federal Infant Formula Act of 1980 (“IFA”)

was enacted “to assure the safety and nutrition of infant formulas.” Pub. L. No. 96-359, 94 Stat.

1190. The IFA and its implementing regulations outline the requirements that infant formula must

meet, including how infant formula is made, its contents and ingredients, and the labels used on its

packages. 21 U.S.C. § 350a; 21 C.F.R. §§ 106-07. The IFA provides that infant formulas may only

contain “substances that are safe and suitable for use in infant formula.” 21 C.F.R. § 106.40(a).

Neither the IFA nor the regulations exclude cow milk as an ingredient, and many infant formulas



3
  Plaintiffs aver that Abbott sells at least seven types of products directed to preterm and/or low birth weight infants,
six of which use the name Similac, and that Mead Johnson sells eight types of infant formulas using the Enfamil
brand name. Id., ¶¶ 37-38.

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for sale include cow milk. (Exhibit “A,” ¶¶ 37-38); 21 C.F.R. § 106.3 (“infant formula” is a “food

for infants by reason of its simulation of human milk”) (emphasis added). 21 U.S.C. § 350a; 21

C.F.R. §§ 107.50. Before selling any “new infant formula,” a manufacturer must (1) register with

the FDA, and (2) submit a notice to the FDA at least 90 days before marketing such formula. The

notice must also state that the formula contains the required vitamins and nutrients, as

demonstrated by testing. 21 U.S.C. § 350a(b). These same FDA review procedures apply when a

manufacturer makes a “major change” to an existing formula. 21 U.S.C. § 350a(c)(2)(B); 21 C.F.R.

§ 106.3.

       Further, the FDA recognizes that certain infant formulas are intended for low birth weight

babies (such as infants born prematurely) or infants with unusual medical or dietary problems.

Indeed, such formulas have special review requirements. 21 U.S.C. § 350a(h); 21 C.F.R. §

107.50(a). For those formulas – known as “exempt” formulas because they may be exempted from

certain requirements – the required 90-day notice must include “the label and other labeling of the

infant formula, a complete quantitative formulation for the infant formula, and a detailed

description of the medical conditions for which the infant formula is represented.” 21 C.F.R. §

107.50(b)(3). As with other formulas, the regulations do not exclude cow milk as an ingredient for

infant formulas intended for use by an infant with a low birth weight.

       Thus, since Plaintiffs do not allege that the product did not meet federal requirements, there

is no basis for any claim that the product is unreasonably dangerous and/or should not be given

under any circumstances to premature or low birth weight infants.




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IV.     ARGUMENT

        A. DEMURRER TO COUNT VI: FAILURE TO WARN

                1. Moving Defendants Cannot Be Held Liable to Plaintiffs Based on a Theory
                   of Failure to Warn Because the Infant Formula is Not Unreasonably
                   Dangerous

        Pursuant to Pa.R.C.P. 1028(a)(4), a party may file preliminary objections to a complaint,

in the nature of a demurrer, for legal insufficiency in a pleading. A court should grant a demurrer

where, accepting as true all well pled facts, a legal cause of action cannot be maintained upon those

facts. Pa.R.C.P. 1028(a)(4); See also, Willet v. Pennsylvania Med. Catastrophe Loss Fund, 702

A.2d 850, 853 (Pa. 1997).

        Plaintiffs allege in Count VI of the Complaint that Moving Defendants, “as purchaser,

supplier, and/or distributor of the products at issue in the litigation” owed Plaintiffs and the public

a duty to provide products that were free of unreasonable risk of harm. Plaintiffs’ theory against

Moving Defendants is that they were aware cow’s milk-based products manufactured by Mead

Johnson and Abbott cause NEC in premature and low birth weight infants and negligently failed

to warn the parents of those infants of this danger. In support of this theory, Plaintiffs cite to five

studies comparing cow’s milk-based products to breast milk, a Surgeon General report on the

subject, and a statement by the American Academy of Pediatrics. Taking these facts as pleaded by

Plaintiffs as true, Plaintiffs have failed to state a claim for negligent failure to warn against Moving

Defendants as they have failed to demonstrate the products in question are indeed unreasonably

dangerous. Further, to the extent the product at issue was provided in the context of medical care,

rather than commerce, there can be no claim against Moving Defendants for a product-liability

based theory of failure to warn.




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       “Pennsylvania has adopted the Restatement (Second) of Torts in cases involving a claim

of negligent failure to warn.” Dauphin Deposit Bank & Trust Co. v. Toyota Motor Corp., 596 A.2d

845, 850 (Pa. Super. 1991). Section 388 governs this cause of action, and provides:

           One who supplies directly or through a third person a chattel for another to
           use is subject to liability to those whom the supplier should expect to use
           the chattel with the consent of the other or to be endangered by its probable
           use, for physical harm caused by the use of the chattel in the manner for
           which and by a person for whose use it is supplied, if the supplier

           (a) knows or has reason to know that the chattel is or is likely to be
               dangerous for the use for which it is supplied, and

           (b) has no reason to believe that those for whose use the chattel is supplied
               will realize its dangerous condition, and

           (c) fails to exercise reasonable care to inform them of its dangerous
           condition or of the facts which make it likely to be dangerous.

Restatement (Second) of Torts § 388. To survive preliminary objections, Plaintiffs must aver

sufficient facts, together with the documents and exhibits attached thereto, to make out a prima

facie case as to all elements of the cause of action. Northern Forests II, Inc. v. Keta Realty Co.,

130 A.3d 19, 35 (Pa. Super. 2015).

       “The threshold inquiry in all products liability cases is whether there is a defect which

rendered the product unreasonably dangerous.” Weiner v. American Honda Motor Co., Inc., 718

A.2d 305, 307 (Pa. Super. 1998). “A product is defective when it is not safe for its intended use,

i.e., the product left the supplier's control lacking any element necessary to make it safe for its

intended use.” Id. At 308. Whether a product is “unreasonably dangerous” is a question of law. Id.

Based on the foregoing, Plaintiffs must aver sufficient facts demonstrating the Defendant

Manufacturers’ products are unreasonably dangerous for their intended use, triggering Moving

Defendants’ duty to warn. They have not done so as the studies they cite in their Complaint do not




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say – based on the very allegations in the Complaint - what Plaintiffs claim they do. Therefore,

Moving Defendants had no corresponding duty to warn.

         At the outset, Plaintiffs appropriately acknowledge that “[p]reterm and low-birth-weight

infants are especially susceptible to NEC.” See Exhibit “A” at ¶ 16 (emphasis added). Following

this, Plaintiffs make the core claim of their Complaint – that cow’s milk-based feeding products

cause NEC in preterm and low birth weight infants – and that “[e]xtensive scientific research,

including numerous randomized controlled trials” confirm this claim. Id. Admittedly, if a product

directly causes NEC in preterm and low birth weight infants, that product would certainly be

dangerous. However, reviewing the portions of the research and trials cited by Plaintiffs in their

Complaint belie their core claim.4

         The first study cited by Plaintiffs states, according to the Complaint, that “NEC was six to

ten times more common in exclusively cow’s milk formula-fed babies than in exclusively breast

milk-fed babies and three times more common in babies who received a combination of formula

and breast milk.” Id. at ¶ 17 (emphasis added). To say that NEC is more common in infants fed

cow’s milk-based products than those fed breast milk is to say that NEC still occurs in infants

fed exclusively breast milk, but only at a lower rate. Thus, Plaintiffs’ first study does not state

cow’s milk-based feeding products causes NEC.

         As averred in the Complaint, the second study cited by Plaintiffs states that “preterm babies

fed an exclusive breast milk-based diet were 90% less likely to develop surgical NEC compared

to preterm babies fed a diet that included some cow’s milk-based products.” Id. at ¶ 18. To state


4
  To the extent Plaintiffs’ claim that Defendant Manufacturers’ cow’s milk-based products increased the risk of NEC
in preterm and low-birth-weight infants, they still fail to plead sufficient facts to support this claim. The portions of
the studies relied upon by Plaintiffs, taken as true at this juncture, show only that NEC can be more common in
preterm and low-birth-weight infants fed cow’s milk-based products than in those fed breast or donor milk. These
studies do not show the cow’s milk-based products caused any increase in risk. To the extent Plaintiffs’ state the
studies do reflect an increased risk of NEC in the infants, this is a legal conclusion without factual basis, which is
impermissible under Pa. R. Civ. P. 1019 (see discussion supra at p. 19).

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that preterm infants fed only breast milk are less likely to develop a form of NEC is to admit that

NEC still develops in preterm infants regardless of the diet. Thus, Plaintiffs’ second study

likewise does not state that cow’s milk-based feeding products cause NEC.

       The third study cited by Plaintiffs concluded, per the Complaint, “fortification of breast

milk with a cow’s milk-based fortifier resulted in a 4.2-fold increased risk of NEC and a 5.1-fold

increased risk of surgical NEC or death compared to fortification with a breast milk-based

fortifier.” Id. at ¶ 19. As Plaintiffs admitted in the Complaint, preterm and low-weight-birth infants

are especially susceptible to NEC. Put another way, these infants are already at an increased

risk of NEC regardless of their diet. This study, as described in Plaintiffs’ Complaint, reflects

this in explaining different rates of risk of developing NEC when using cow’s milk-based or breast

milk-based fortifiers. What the study does not state, as alleged in the Complaint, is that cow’s

milk-based fortifiers cause NEC.

       The Surgeon General report cited by Plaintiffs is alleged in the Complaint to reiterate the

principle made in the prior three studies and states that “formula feeding is associated with higher

rates” of NEC in preterm infants and that “premature infants who are not breastfed are 138% more

likely to develop NEC." Id. at ¶ 20 (emphasis added). If cow’s milk-based formula caused NEC

as Plaintiffs aver, one might expect the Surgeon General report to so state. Instead, the Surgeon

General report, as described in Plaintiffs’ Complaint at ¶ 20, makes the same acknowledgment as

Plaintiffs – that preterm infants are highly susceptible to NEC regardless of their diet, and that

NEC occurs in different rates in preterm infants fed cow’s milk-based products and breast milk.

The report does not state that the former causes NEC.

       According to the Complaint, the American Academy of Pediatrics makes a nearly identical

statement to the Surgeon General report. Id. at ¶ 21. The Academy makes a recommendation that



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“all premature infants should be fed either their mother’s milk or, if their mother’s milk is

unavailable, pasteurized donor milk,” which recommendation is alleged to be related in part to

“lower rates… of NEC.” Id. This statement acknowledges that NEC still occurs in preterm infants

fed only breast milk, but simply at a lower rate. According to the Complaint, the Academy does

not state that cow’s milk-based feeding products cause NEC.

       The fourth and fifth studies cited by Plaintiffs in their Complaint provide similar

information. As alleged in the Complaint, a study “found that premature and low-birth-weight

infants fed an exclusive breast-mild-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow’s milk-based formula suffered NEC 21% of the time.”

In another study, as alleged in the Complaint, “babies given exclusively breast milk products

suffered NEC 5% of the time,” whereas “babies given cow’s milk products suffered NEC 17% of

the time.” Id. at ¶ 22-23. Once again, these studies, based on the allegations in Plaintiffs’

Complaint, do not state that cow’s milk-based formula causes NEC.

       Ultimately, Plaintiffs’ claim that Defendant Manufacturers’ cow’s milk-based feeding

products cause NEC and are therefore unreasonably dangerous rests upon the notion that

correlation equals causation. The numerous studies and reports cited by Plaintiffs in their

Complaint purportedly show higher rates of NEC in preterm and low birth weight infants fed cow’s

milk-based diets than those fed breast milk, but this data exists in a world where Plaintiffs admit

these infants are at a high risk of developing NEC regardless of diet. All that Plaintiffs’ Complaint

demonstrates, as pleaded under these facts, is that breast milk may be better at reducing that already

high risk of NEC in these infants than cow’s milk-based alternatives. This proposition does not

make the Defendant Manufacturers’ cow’s milk-based alternatives unreasonably dangerous within




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the meaning of § 388 of the Restatement (Second) of Torts and, accordingly, does not trigger a

duty to warn on the part of Moving Defendants.

               2. Moving Defendants Are Not a “Supplier” and, Therefore, Cannot Be Held
                  Liable for Negligent Failure to Warn

       Assuming arguendo that the Defendant Manufacturers’ cow’s milk-based feeding products

can be seen as dangerous for their intended use as opposed to simply being a less effective

alternative to breast milk products, Moving Defendants still had no duty to warn of the nature of

cow’s milk-based products under § 388 because they are not considered a supplier of cow’s milk-

based feeding products. Plaintiffs cite to no caselaw in Pennsylvania holding that a hospital is

considered a supplier under § 388. Indeed, extensive research into this topic turns up no prior

decisions where a Pennsylvania court has found a hospital to be a supplier in a products liability

case for negligent failure to warn.

       To determine a hospital may be defined as supplier of products ancillary to and following

medical services within the meaning of § 388 would be to impose on the hospital a duty to warn

about every conceivable object a patient may encounter in a hospital, right down to the napkins

available in the hospital cafeteria. Imposing such a duty does nothing to advance the purpose of

products liability law, i.e. to protect consumers from dangerous products in the stream of

commerce. Moving Defendants are not in the best position to determine what products are

available in the market for premature and low weight birth infants. In light of this, Plaintiffs have

not sufficiently pleaded that Moving Defendants are a supplier under § 388.

       For the foregoing reasons, Plaintiffs have not pleaded sufficient facts to aver the Defendant

Manufacturers’ products are unreasonably dangerous for their intended use and thus have not

established Moving Defendants had a duty to warn. Alternatively, even if the products at issue

here can be viewed as unreasonably dangerous, Plaintiffs still have failed to plead sufficient facts

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that Moving Defendants are a supplier of products that are ancillary to the medical services

provided to Plaintiffs. Accordingly, it is respectfully requested this Court sustain Moving

Defendants’ Preliminary Objections to Count VI: Failure to Warn of Plaintiffs’ Complaint.

               3. There is no Legal Basis for Plaintiffs to Present an Informed Consent
                  Claim Regarding the Use of Cow’s milk-based products

       Plaintiffs’ failure to warn claim is couched in language of product liability related to

Moving Defendants’ alleged duty “as a purchaser, supplier and/or distributor” to provide a product

(cow’s milk-based infant formula) that was free of unreasonable risk of harm to consumers

(parents and their premature infants). This theory fails for the reasons stated above. However, to

the extent that Plaintiffs are alleging that Moving Defendants, in providing medical care to

Plaintiff-minor, failed to obtain Plaintiff-parent’s consent to the use of cow’s milk-based products

and failed to warn of the purported risks and alternatives of such products, such a claim is also

clearly precluded by Pennsylvania law.

       Plaintiffs broadly allege that Moving Defendants failed to warn of the alleged dangers of

cow’s milk-based products and provide them with information necessary “to make an informed

choice about whether to allow their baby to be fed the Defendant Manufacturers’ products.” See

Exhibit “A” at ¶ 121. This purported failure to warn/inform allegedly led Plaintiff-minor to be fed

a cow’s milk-based product that Plaintiffs’ contend caused and/or increased the risk of NEC. Id.

at ¶ 125. The sole basis upon which Plaintiffs can proceed against Moving Defendants for “failure

to warn” in the context of providing medical care is to assert such a claim under a theory of failure

to obtain informed consent. Plaintiffs are impliedly asserting that Moving Defendants failed to

obtain Plaintiff-parent’s informed consent as to whether she should use cow’s milk-based infant

formula to feed her child as opposed to breastfeeding or using breast donor milk, based on the




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alleged risks of cow’s milk-based products. However, such a claim is not cognizable under

Pennsylvania law.

       Claims for informed consent in medical malpractice actions are governed by the Medical

Care Availability and Reduction of Error Act, which provides as follows:

           (a) Duty of Physicians.--Except in emergencies, a physician owes a
           duty to a patient to obtain the informed consent of the patient or the
           patient’s authorized representative prior to conducting the following
           procedures:

               (1) Performing surgery, including the related administration of
               anesthesia.

               (2) Administering radiation or chemotherapy.

               (3) Administering a blood transfusion.

               (4) Inserting a surgical device or appliance.

               (5) Administering an experimental medication, using an
               experimental device or using an approved medication or device in
               an experimental manner.

               (b) Description of procedure.--Consent is informed if the patient has
               been given a description of a procedure set forth in subsection (a)
               and the risks and alternatives that a reasonably prudent patient
               would require to make an informed decision as to that procedure.
               The physician shall be entitled to present evidence of the description
               of that procedure and those risks and alternatives that a physician
               acting in accordance with accepted standards of medical practice
               would provide.

40 P.S. §1303.504 (emphasis added).

       The clear language of the statute above reveals two significant tenets. The first is that the

informed consent statute does not apply to the use of infant formula in feeding premature infants,

since that is not a “procedure.” Thus, there is no basis for Plaintiffs to contend that Plaintiff-

parent’s consent was required for the use of infant formula to feed her infant, including warning

her of the risks or alternatives of same. Second, the informed consent statute only applies to

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physicians, not hospitals, in the context of medical procedures. See Morgan v. MacPhail, 550 Pa.

202, 205 (1997).

       Informed consent has not been extended to any type of therapeutic treatment involving an

ingestible therapeutic drug, which the court defined as “an ongoing treatment upon examination

by the treating physician, where any change of condition can be diagnosed and controlled.” Boyer

v. Smith, 345 Pa. Super. 66, 71, 497 A.2d 646, 648 (1985). The Superior Court ruled that the

informed consent doctrine is premised upon the legal theory that the performance of a medical

procedure without a patient's informed consent constitutes a technical assault or battery and that

merely prescribing an oral medication does not involve a touching so not battery can occur and no

informed consent is needed. Id. at 649. The same principles clearly apply to administration of

infant formula to a newborn.

       Further, an informed consent claim is only applicable to a physician and not the hospital

and/or other health care entities. See 40 P.S. § 1303.504; see also Kelly v. Methodist Hosp., 664

A.2d 148 (Pa. Super. 1995) (holding that generally only the physician who performs the operation

on the patient has the duty of obtaining his consent for the procedure). The Pennsylvania Supreme

Court has held that informed consent involves the relationship between a physician and the patient

and that the failure to obtain proper informed consent is deemed a battery, and the institution plays

no role in the communications involved in obtaining the same. See Valles v. Albert Einstein

Medical Center, 805 A.2d 1232 (2002). In Valles, the Court decisively ruled that:

       We find that a battery which results from a lack of informed consent is not the type
       of action that occurs within the scope of employment. In our view, a medical facility
       cannot maintain control over this aspect of the physician-patient relationship. Our
       lower courts have recognized that the duty to obtain informed consent belongs
       solely to the physician. (Citations omitted). Informed consent flows from the
       discussions each patient has with his physician, based on the facts and
       circumstances each case presents. We decline to interject an element of a hospital’s
       control into this highly individualized and dynamic relationship. We agree with the

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        lower court that to do so would be both improvident and unworkable. Thus, we
        hold that as a matter of law, a medical facility lacks the control over the manner in
        which the physician performs his duty to obtain informed consent so as to render
        the facility vicariously liable.

Id., 805 A.2d at 1239 (emphasis added). The Valles case remains the prevailing law in

Pennsylvania. Pennsylvania courts have repeatedly applied this doctrine, recognizing and

acknowledging that “[i]n a claim alleging lack of informed consent, it is the conduct of the

unauthorized procedure that constitutes the tort.” Isaac v. Jameson Mem. Hosp., 932 A.2d 924,

929 (Pa. Super. 2007) (citing Moure v. Raeuchle, 604 A.2d 1003, 1008 (Pa. Super. 1992). Further,

“[g]iven the unique nature of the doctrine and its origins as a technical battery, hospitals cannot be

held vicariously liable for a physician’s failure to obtain informed consent because ‘a medical

facility cannot maintain control over this aspect of the physician-patient relationship.’” Isaac, 932

A.2d at 930. As such, it is clear that the instant cause of action cannot be sustained against Moving

Defendants as a matter of law.

        B. DEMURRER TO COUNT VII: CORPORATE LIABILITY OF HEALTH
           CARE PROVIDER

                1. Moving Defendants Cannot be Held Liable for Corporate Negligence
                   Regarding a Food Product Which is Permitted for its Intended Use
                   Pursuant to Federal Law

        In Thompson v. Nason Hospital, 591 A.2d 703, 708 (Pa. 1991), the Pennsylvania Supreme

Court recognized the doctrine of corporate liability, holding that a hospital may be found directly

liable for negligence if it fails to meet any of the following four duties: (1) a duty to use reasonable

care in the maintenance of safe and adequate facilities and equipment; (2) a duty to select and

retain only competent physicians; (3) a duty to oversee all persons who practice medicine within

its walls as to patient care; and (4) a duty to formulate, adopt and enforce adequate rules and

policies to ensure quality care for patients.



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        Plaintiffs’ corporate liability claim fails based on the same rationale as the claim for failure

to warn. Both claims are based on the alleged failure to provide warnings to patients related to the

use of cow’s milk-based infant formula. As noted above, infant formula is regulated by the FDA,

and there is no legal restriction on the use of cow’s milk-based products for feeding of premature

infants. Indeed, the Infant Formula Act expressly acknowledges that it is permissible to provide

cow’s-milk based products to low birth weight infants. Further, as discussed above, Plaintiffs

cannot demonstrate that cow’s milk-based formula is a dangerous product. Thus, there is no legal

basis to contend that Moving Defendants can be held liable pursuant to a theory of corporate

liability for failing to preclude the use of cow’s milk-based products in the feeding of premature

infants in the hospital.

        Additionally, Courts considering the application of the duties set forth in Thompson have

insisted on more than a simple finding of a negligent act by someone for whom the hospital is

purportedly responsible. Edwards v. Brandywine Hospital, 652 A.2d 1382 (Pa. Super. 1995). In

considering whether the plaintiff could sustain corporate negligence claims based on these

allegations, the court analyzed the Thompson decision and delineated the standards required to

sustain such a claim:

               The Thompson theory of corporate liability will not be triggered every time
               something goes wrong in a hospital which harms a patient . . . To
               establish corporate negligence, a plaintiff must show more than an act of
               negligence by an individual for whom the hospital is responsible. Rather,
               Thompson requires a plaintiff to show that the hospital itself is breaching a
               duty and is somehow substandard…Thompson contemplates a kind of
               ‘systemic negligence’…

Id. at 1386-87 (citations omitted and emphasis added). Thus, corporate liability requires “more than

individual acts of negligence.” Id. As noted by the court in Edwards, this reading of the Court’s

opinion in Thompson is the only way to logically construe its holding, as hospitals are already held

vicariously liable for the negligent acts of their employees and ostensible agents, while “Thompson
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requires a plaintiff to show that the hospital itself is breaching a duty and is somehow substandard.”

Id. at 1387; see also MacDonald v. Chestnut Hill Hosp., 2005 Phila. Ct. Com. Pl. LEXIS 273, 18 (Pa.

C.P. 2005) (granting nonsuit to the hospital defendant where “[t]here was no evidence that protocols

were routinely ignored to the detriment of patients or that the kind of systematic negligence on the

part of CHH required by the Edwards decision was present.”)

        Thus, a hospital may not be held liable via corporate negligence simply based on the alleged

negligence of an individual health care provider. Accordingly, even if Plaintiffs could establish that

the use of cow’s milk-based infant formula was a breach of the standard of care by unidentified health

care providers based on the specific circumstances of the Plaintiff-minor’s case herein, which has not

been pleaded by Plaintiffs considering the paucity of the allegations in the Complaint, such evidence

cannot support a finding of corporate liability.

        For the reasons stated above, Count VII of Plaintiffs’ Complaint should be dismissed with

prejudice.

                2. Plaintiffs Are Precluded From Pursuing Corporate Negligence Claims as
                   to The Trustees of the University of Pennsylvania

        As noted infra, the Pennsylvania Supreme Court set forth certain nondelegable duties of

hospitals, which if violated may support a finding of corporate negligence. The Thompson holding

has been extended to HMO’s and nursing home facilities, where it was determined that such

entities performed similar functions as hospitals. See Shannon v. Health America Pennsylvania,

Inc., 718 A.2d 828 (Pa. Super. 1998); Scampone v. Highland Park Care Center, LLC, 57 A.3d 582

(Pa. 2012). However, courts have routinely refused to extend the Thompson holding past such

institutions to cover other entities, such as medical clinics and physician practice groups. See

Sutherland v. Monongahela Valley Hospital, 856 A.2d 55, 62 (Pa. Super. 2004); Dowhouer v.

Judson, 45 Pa. D. & C.4th 172, 180 (Pa.Com.Pl. 2000); Brewer v. Geisinger Clinic, Inc., 45 Pa. D.

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& C.4th 215, 223 (Pa.Com.Pl. 2000); Dibble v. Penn State Geisinger Clinic, Inc., 42 Pa. D. & C.4th

225 (Pa.Com.Pl. 1999); Davis v. Gish, 5 Pa. D. & C.5th 154, 159 (Pa.Com.Pl. 2007).

       There is no legal basis for holding that the purported corporate parent of a hospital can be

held liable under a theory of corporate negligence. The Trustees of the University of Pennsylvania

is not a hospital and cannot be held liable under a theory of corporate liability, regardless of its

relationship with Pennsylvania Hospital. Moreover, as Pennsylvania Courts have consistently

held, corporate negligence duties are “non-delegable,” i.e., only one entity can be held liable for a

breach of these duties. The Scampone Court cautioned that the trial court should ensure that

“multiple entities are not exposed to liability for breach of the same non-delegable duties.” 57 A.2d

at 606-07. Thus, even if a corporate negligence claim were permissible as to Pennsylvania

Hospital, which is denied for the reasons stated above, The Trustees of the University of

Pennsylvania, which is not a hospital, cannot also be exposed to liability for an alleged breach of

the same, non-delegable duties arising out of the same factual allegations. Accordingly, even

accepting as true all well pled facts in Plaintiffs’ Complaint, the corporate negligence claims as to

the non-hospital Defendant, the Trustees of the University of Pennsylvania, are legally insufficient

and must therefore be dismissed.

       C. MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR INSUFFICIENT
          SPECIFICITY AS TO THE FACTS AND ALLEGED INJURIES

       Pursuant to Pa.R.C.P. 1028(a)(3), a party may file preliminary objections in the nature of

a motion to strike for insufficient specificity in a pleading. A plaintiff’s Complaint is required to

provide a defendant with notice of what the plaintiff’s claims are and the grounds upon which they

rest, and the complaint must also formulate the issues by summarizing the facts essential to support

the claims. Alpha Tau Omega Fraternity v. The University of Pennsylvania, 464 A.2d 1349, 1352

(Pa. Super. 1983) (citations omitted). Pennsylvania Rule of Civil Procedure 1019(a) provides that

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“the material facts on which a cause of action or defense is based shall be stated in a concise and

summary form.” Pa.R.C.P. 1019(a). As the Superior Court has noted,

       Rule 1019(a) requires fact pleading. The purpose of 1019(a) is to require the pleader
       to disclose the material facts sufficient to enable the adverse party to prepare his
       case. A complaint therefore must do more than give the defendant fair notice
       of what the plaintiff's claim is and the grounds upon which it rests. It should
       formulate the issues by fully summarizing the material facts. Material facts
       are ultimate facts, i.e., those facts essential to support the claim. Evidence from
       which such facts may be inferred not only need not but should not be alleged.
       Allegations will withstand challenge under 1019(a) if (1) they contain
       averments of all of the facts a plaintiff will eventually have to prove in order
       to recover, and (2) they are sufficiently specific so as to enable defendant to
       prepare his defense.

Baker v. Rangos, 324 A.2d 498, 505-506 (Pa. Super. 1974) (citations and internal quotations

omitted)(emphasis added).

       Further, it is well established that, with regard to the description of injuries sustained by a

plaintiff, the Complaint must be stated with sufficient particularity to put the defendant on notice

of evidence that may be produced at trial. Kelly v. Martino, 99 A.2d 901 (Pa. 1953). A plaintiff’s

Complaint must set forth the extent, nature, location and duration of the injuries suffered,

and injuries that are permanent should be stated specifically. Miller v. Perrige, 71 Pa. D. &

C.2d 476, 479–80 (Pa. Com. Pl. 1975). See, also, Kopan v. Hawk, 14 Pa. D. & C.2d 713, 714 (Pa.

Com. Pl. 1958) (“A catchall averment of “other injuries” is nothing more than a generalized

averment under which any injuries whatever could be proved at the trial. Defendant would have

no knowledge in advance of the trial of what they are.”)

       Plaintiffs’ Complaint is woefully deficient with regard to the specificity of the allegations

of the relevant facts and injuries at issue in this case. Plaintiffs’ description of the material facts

relating to the minor’s care and treatment, diagnosis and injuries is limited to four paragraphs,

which are utterly insufficient to enable defendants to prepare their defenses. See Exhibit “A,” ¶¶

11-14. Plaintiffs aver that the minor was born prematurely but do not identify the gestational age
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at which the child was born or her birth weight. Plaintiffs’ allegation that “upon information and

belief,” the minor was fed Similac and/or Enfamil shortly after his birth (Id. at ¶ 12) does not

comply with the fact-pleading requirements of Rule 1019(a), since such allegations do not provide

Moving Defendants with appropriate notice of the facts as to whether the minor actually ingested

cow’s milk-based products. Further, plaintiffs have failed to identify which of the numerous

products sold by Abbott and Mead Johnson under the Similac and Enfamil brand names were

ingested by the minor. Id. at ¶¶ 37-38. Plaintiffs’ Complaint further fails to provide a description

of the material facts as to the period of time in which such products were ingested, when the minor

was allegedly diagnosed with NEC and what treatment was provided for that condition.

        The Complaint further fails to state the nature of the injuries and “long-term health effects”

that are alleged to have resulted from the diagnosis of NEC. Plaintiffs’ damages claim is not stated

with particularity, is amorphous, vague, and open-ended. Pursuant to Pennsylvania pleading

requirements, Moving Defendants should not be compelled to defend a claim for which the

statement of injury is unspecified and subject to change.

        In short, Plaintiffs’ Complaint is inconsistent with the requirements of the Pennsylvania

Rules of Civil Procedure as to the necessary specificity for the description of the facts and alleged

injuries sustained. The facts in the Complaint are pleaded almost entirely “on information and

belief.” These omissions are fatal defects in Plaintiff’s Complaint. Therefore, Plaintiffs’ Complaint

should be stricken in its entirety.

        D. MOTION TO STRIKE PLAINTIFFS’ CLAIMS FOR PUNITIVE DAMAGES

        As in the other infant formula cases, In the Ad Damnum clauses of Counts VI and VII of

the Complaint, Plaintiffs make baseless accusations that Moving Defendants engaged in

oppressive, reckless, malicious and/or fraudulent conduct that allegedly justify an award of



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punitive damages. See Exhibit “A,” pp. 38, 46. However, the Complaint contains no specific

allegations of conduct that would permit recovery of punitive damages as to Moving Defendants.

Rather, Plaintiffs merely allege that “upon information and belief” H.S. may have been given a

cow’s milk-based infant formula following birth, absent any context to indicate that such an action

was inappropriate based on the specific issues involved in H.S.’s medical care and condition

following birth. For example, the Complaint gives no indication of whether Plaintiff-parent refused

or was unable to provide breast milk and provides no information as to discussions between her

and any health care providers regarding the purported use of cow’s milk-based products.

       Plaintiff’s allegations of oppressive, malicious and similar conduct must be rejected as

mere boilerplate. As discussed above, the FDA specifically approves the use of infant formula in

care of low birth weight infants, with no restriction as to the use of cow’s milk-based products for

such infants. Indeed, the fact that Plaintiffs have filed numerous lawsuits against at least four

hospitals in Philadelphia based on identical claims belies the contention that Moving Defendants

engaged in outrageous or malicious conduct in allegedly feeding the Plaintiff-minor with cow’s

milk-based infant formula. Absent specific factual allegations to justify the claim that the use of

infant formula in H.S.’s case was extreme and outrageous, there is no basis for an award of punitive

damages in this case. Merely contending that punitive damages should be awarded with no

supporting factual justification requires dismissal of this claim.

       Since the purpose of punitive damages is not compensation of a plaintiff but punishment

of the defendant and deterrence, punitive damages can be awarded only for conduct involving

some element of outrage. Hutchinson v. Luddy, 582 Pa. 114, 870 A.2d 766 (2005). For that reason,

Pennsylvania Supreme Court decisions establish that “punitive damages are an ‘extreme remedy’

available in only the most exceptional matters.” Wagner v. Onofrey, 2006 Pa. Dist. & Cnty. Dec.



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LEXIS 333, *11 (Pa. Com. Pl. 2006) (citing Phillips v. Cricket Lighters, 584 Pa. 179, 188, 883

A.2d 439, 445 (2005)). “In fact, punitive damages are specifically designed to heap an additional

punishment on a defendant who is found to have acted in a fashion which is particularly

egregious.” Wagner at *12.

       Punitive damages may not be awarded for misconduct that constitutes ordinary negligence

such as inadvertence, mistake and errors of judgment. Martin v. Johns-Manville Corp., 494 A.2d

1088, 1097 (Pa. 1985); McDaniel v. Merck, Sharp & Dohme, 533 A.2d 436, 437 (Pa. Super. 1987).

An award of punitive damages must be supported by evidence of conduct more serious than the

mere commission of the underlying tort. Allstate Ins. Co. v. A.M. Pugh Assoc., Inc., 604 F. Supp.

85, 99 (M.D. Pa. 1984).

       Specifically, with regard to punitive damages in the context of claims against health care

providers, the Medical Care and Reduction of Error (MCARE) Act permits punitive damages only

to be awarded as follows:

       (a)     Award. -- Punitive damages may be awarded for conduct that is the result
       of the health care provider’s willful or wanton conduct or reckless indifference to
       the rights of others. In assessing punitive damages, the trier of fact can properly
       consider the character of the health care provider’s act, the nature and extent of the
       harm to the patient that the health care provider caused or intended to cause and the
       wealth of the health care provider.

       (b)    Gross Negligence. -- A showing of gross negligence is insufficient to
       support an award of punitive damages.

41 P.S. §1303.505.

       The Supreme Court has made clear that when assessing the propriety of the imposition of

punitive damages, “the state of mind of the actor is vital. The act or failure to act, must be

intentional, reckless or malicious.” Hutchinson, supra at 770. An appreciation of the risk is a

necessary element of the mental state required for the imposition of punitive damages. Id. at 772.



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Thus, “a punitive damages claim must be supported by evidence sufficient to establish that (1) a

defendant had a subjective appreciation of the risk of harm to which the plaintiff was exposed and

that (2) he acted, or failed to act, as the case may be, in conscious disregard of that risk.” Id.

        Since professional negligence actions involve allegations that health care professionals

deviated from the governing standard of care, punitive damages are generally not recoverable in

malpractice actions unless the medical provider’s deviation from the applicable standard of care is

so egregious as to evince a conscious or reckless disregard of a patent risk of harm to the patient.

Wagner, supra.

        Where the facts as averred show nothing more than negligence, a lapse in judgment, or

mere inadvertence, courts in Pennsylvania have dismissed pleas and claims for punitive damages,

often at the pleadings stage of litigation and even if the complaint alleged severe injuries or death.

See, e.g., Brownawell v. Bryan, 40 Pa. D. & C.3d 604, 606 (Pa. Com. Pl. 1985) (dismissing punitive

damages claim where a plaintiff alleged that a physician negligently performed a spinal fusion

surgery that left the plaintiff with severe neurological defects, and noting that “the mere pleading

of outrageous conduct does not, of course, satisfy the requirement stating facts which, if proven,

would form a basis for a jury concluding that the conduct was such that an award of punitive

damages was warranted.”) (emphasis added); Wagner, supra at *11 (contentions that physician

failed to prescribe antibiotics, order certain tests or request an infectious disease consult constituted

“nothing more than ordinary negligence and are insufficient to support an award of punitive

damages.”); McCardle v. Aldinger, 5 Pa. D. & C.4th 421, 428 (Pa. Com. Pl. 1996) (sustaining

preliminary objections and dismissing claim for punitive damages where the plaintiff alleged

negligence in the prenatal care of her child that led to the child was stillborn and holding that “[i]t

is not the outcome of the alleged negligence that is of consideration, but rather the alleged conduct



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of defendants that is at issue.”); Flurer v. Pocono Medical Ctr., 15 Pa. D. & C.4th 645, 670 (Pa.

Com. Pl. 1992) (sustaining preliminary objections and finding that plaintiffs were not “capable of

pleading the requisite behavior” for an award of punitive damages where a hospital allegedly failed

to properly utilize a fetal monitor on a pregnant woman who was involved in a serious car accident

and thereafter delivered a stillborn child).

       Conversely, punitive damages have been reserved for those situations that are truly

egregious and utterly outrageous, and typically involve aggravating or other factors that evince a

particularly reckless mind or evil motive. See, e.g., Medvecz v. Choi, 569 F.2d 1221, 1227-30 (3rd

Cir. 1987) (anesthesiologist who abandoned patient on operating room table and left room for a

lunch break without securing a suitable replacement could be liable for punitive damages to patient

who suffered irreversible paralysis from anesthesia complication that developed during his

absence); Hoffman v. Memorial Osteopathic Hospital, 492 A.2d 1382, 386-87 (Pa. Super. 1985)

(evidence that emergency room physician allowed Guillain-Barre Syndrome patient suffering from

neurological paralysis to remain crying and immobile on floor for two hours as physician

repeatedly stepped over patient was sufficient to support punitive damages claim); Guernsey v.

County Living Personal Care Home, Inc., 2006 U.S. Dist. LEXIS 31450, 2006 WL 1412765 (M.D.

Pa. 2006) (punitive damages recoverable from nursing home officials who allowed resident to

have access to room of 86-year old Alzheimer’s patient where he repeatedly raped her, since

nursing home was aware of resident’s prior criminal convictions for sex registration as a sexual

offender under Megan’s Law, and his prior instances of grabbing and kissing staff); Lawrence v.

Kunkle, 75 D. & C. 4th 370 (Pa. Com. Pl. 2005) (patient could maintain punitive damages claim

against physician who refused to perform emergency surgery because patient did not have medical




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insurance even though physician knew that patient would likely suffer permanent neurologic and

functional deficits if surgery was delayed).

       All of the cases in the paragraph above set forth examples of egregious conduct, completely

inapposite to the facts of the instant case. The facts underlying Plaintiffs’ bare assertions of

reckless, outrageous or similar behavior do not even remotely meet the requisite standard under

Pennsylvania law that would permit an award of punitive damages. Even assuming the allegations

in the Complaint were true for the purposes of this argument only, the outcome in this case was

not the result of any intentional wrongdoing or deliberate misconduct on the part of Moving

Defendants or any medical provider at Pennsylvania Hospital, nor does the Complaint contain any

such allegations.

       Additionally, pursuant to § 505(c) of the MCARE Act, punitive damages are specifically

restricted in claims involving vicarious liability:

       (c)     Vicarious liability. -- Punitive damages shall not be awarded against a
       healthcare provider who is only vicariously liable for the actions of its agent that
       caused the injury unless it can be shown by a preponderance of the evidence that
       the party knew of and allowed the conduct of its agent that resulted in an award of
       punitive damages.

40 P.S. §1303.505(c). Plaintiffs allege in this action that unidentified “staff” fed H.S. Similac

and/or Enfamil at Pennsylvania Hospital shortly after her birth and failed to warn Plaintiff-parent

of the alleged risks of such products. See Exhibit “A,” ¶ 12. Even if such actions were claimed to

be egregious or malicious such that punitive damages were permissible, which is denied for the

reasons stated above, Plaintiffs must allege facts to establish that Moving Defendants had actual

knowledge of the alleged wrongful conduct and nevertheless allowed it. See Zazzera v. Roche, 54

D. & C. 4th 225, 238 (Pa. Com. Pl. 2001); Dean Witter Reynolds, Inc. v. Genteel, 499 A.2d 637

(Pa. Super. 1985). In this matter, Plaintiffs have failed to plead any facts to suggest that Moving



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Defendants were aware of any alleged misconduct by any individual alleged to be an agent and

allowed such conduct to continue.

       For all these reasons, Plaintiffs’ demand for punitive damages must be stricken with

prejudice as to Moving Defendants, along with all allegations of reckless and similar conduct.

       E. MOTION TO DISMISS PLAINTIFF-PARENT’S CLAIMS

               1. Plaintiff-Parent has Failed to State a Cause of Action

       Plaintiff-parent seeks to recover damages in her own right and as the parent and natural

guardian of H.S. Plaintiffs’ Complaint includes allegations in each count asserted as to Moving

Defendants in which it is averred that Plaintiff-parent “suffered significant emotional distress, loss

of income, and/or other harms. Her life has been significantly altered by the Injured Infant’s

injuries.” See Exhibit “A,” ¶¶ 126, 139 and 147. However, no specific cause of action is asserted

as to any damages sought by Plaintiff-parent in her own right, who is not alleged in the Complaint

to have suffered any physical injuries as a result of the alleged negligent conduct of Moving

Defendants. For this reason, Plaintiff-parent’s claim should be dismissed.

               2. Plaintiffs are Required to Plead Separate Claims Pursuant to
                  Pa.R.C.P. 1020

       Further, even if Plaintiff-parent had properly articulated a cause of action in the Complaint

to allow her to recover damages in her own right, the Complaint should be stricken pursuant to

Pa.R.C.P. 1020(b), which provides as follows:

               If persons join as plaintiffs under Rules 2228, 2229(a) or (e), the complaint
       shall state the cause of action, any special damage, and the demand for relief of
       each plaintiff in a separate count, preceded by a heading naming the parties to the
       causes of action therein set forth.

Accordingly, it is improper for Plaintiffs to plead in a single count claims on behalf of both the

Plaintiff-minor and the Plaintiff-parent, as was done in the Complaint filed herein. Claims on



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behalf of each of the Plaintiffs must be set forth in separate counts of the Complaint, specifically

identifying the cause of action asserted and relief sought in each count.

               3. Plaintiff-Parent’s Claim Is Precluded Pursuant to the Statute of Limitations

       Although the statute of limitations for claims asserted on behalf of minors are tolled until

the age of majority, Plaintiff-parent’s claims were not similarly tolled and were required to have

been brought within two years of the alleged injury. See Hathi v. Krewstown Park Apts, 561 A.2d

1261 (Pa. Super. 1989); 42 Pa.C.S. § 5524. Plaintiffs allege that H.S. was born on September 12,

2006, was fed the Defendant manufacturers’ products shortly after her birth, and developed NEC

shortly thereafter. See Exhibit “A,” ¶¶ 11-13. Thus, since the Complaint herein was filed on March

24, 2022, Plaintiff-parent’s claims herein are clearly time-barred based on the applicable statute of

limitations.

       F. MOTION TO STRIKE PLAINTIFFS’ COMPLAINT FOR FAILURE TO
          COMPLY WITH Pa.R.C.P. 1024

       Pennsylvania Rule of Civil Procedure 1024(a) requires verification of every pleading

containing a factual averment based upon the signer’s personal knowledge or information and

belief. Rule 1024(c) requires that the verification be made by one or more of the parties filing the

pleading. In this case, Plaintiffs’ counsel signed the verification for the Complaint, in violation of

Rule 1024. See Exhibit “A.” Accordingly, the Complaint should be stricken for lack of an

appropriate verification.




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V,     REQUESTED RELIEF

       For the foregoing reasons, Defendants The Pennsylvania Hospital of the University of

Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of the University of

Pennsylvania d/b/a Penn Medicine respectfully request that this Honorable Court sustain their

Preliminary Objections and enter the attached Order.



                                             BURNS WHITE LLC


                                       BY:
                                             JAMES A. YOUNG, ESQ.
                                             RICHARD S. MARGULIES, ESQ.
                                             Attorneys for Defendants,
                                             The Pennsylvania Hospital of the University of
                                             Pennsylvania Health System d/b/a Pennsylvania
                                             Hospital and The Trustees of the University of
                                             Pennsylvania d/b/a Penn Medicine




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                                 CERTIFICATE OF SERVICE

       I, Richard S. Margulies, Esquire, do hereby certify that on this day I caused a true and

correct copy of the foregoing Preliminary Objections of Defendants The Pennsylvania Hospital of

the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of

the University of Pennsylvania d/b/a Penn Medicine to Plaintiffs' Complaint, to be served via

electronic filing, to the following counsel of record, addressed as follows:


                                       Tracy Finken, Esq.
                                         Anapol Weiss
                                       One Logan Square
                                  130 N. 18th Street, Suite 1600
                                    Philadelphia, PA 19103

                                     Ashley Keller, Esquire
                                      Keller Lenkner, LLC
                                150 N. Riverside Plaza, Suite 4100
                                       Chicago, IL 60606

                                     Alex Walsh, Esquire
                                      Walsh Law PLLC
                            1050 Connecticut Avenue, NW, Suite 500
                                   Washington, D.C. 20036




                                         BY:
                                               RICHARD S. MARGULIES, ESQ.


Dated: April 19, 2022




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                      EXHIBIT A




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TERRAINE ABDULLAH, on her own                   COURT OF COMMON PLEAS
Behalf and as Parent and Natural Guardian       PHILADELPHIA COUNTY
of H.S., a Minor
335 Passmore Street
Philadelphia, PA 19111
                     Plaintiffs
        Vv.                                     CIVIL ACTION

MEAD    JOHNSON     & COMPANY,      LL.C
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703
                                                NO.

MEAD JOHNSON NUTRITION COMPANY
Illinois Corporation Service Co.
801 Adlai Stevenson Drive
Springfield, IL 62703



ABBOTT LABORATORIES


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CT Corporation System
208 So. Lasalle Street, Suite 814
Chicago, IL 60604


THE PENNSYLVANIA HOSPITAL OF
THE UNIVERSITY OF PENNSYLVANIA
HEALTH SYSTEM d/b/a PENNSYLVANIA
HOSPITAL
3400 Civic Center Blvd.
Philadelphia, PA 19104



THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA d/b/a PENN MEDICINE
133 South 36 Street
Philadelphia, PA 19104

                                 Defendants                                        JURY TRIAL DEMANDED


                                             COMPLAINT IN CIVIL ACTION
                                                       NOTICE TO DEFEND

                                 NOTICE                                                                      AVISO
   You have been sued in court, If you wish to defend against the           Le han demandado a usted en la corte. Si usted quiere defenderse de
 claims set forth in the following pages, you must take action within       estas demandas expuestas las paginas siguientes, usted tiene viente (20)
 twenty (20) days after this complaint and notice are served, by entering   dias de plazo al partir de la fecha de la demanda y la notificacién. Hace
 a written appearance personaly or by attorney and filing in writing        falta asentar una comparencia escrita 0 en persona o con un abogado y
 with the court your defenses or objections to the claims set forth         entregar a la corte en forma escrita sus defensas o sus objeciones a tas
 against you by the court without further notice for any money claimed      demandas en contra de su persona. Sea avisado que si usted no se
 in the complaint or for any other claim or relief requested by the         defiende, la corte tomar medidas y puede continuar la demanda en
 plaintiff. You may lose money or property or other rights important to     contra suya sin previo aviso o notificacién. Ademds, la corte puede
 YOu.                                                                       decidir a favor del demandante y requiere que usted cumpla con todas
                                                                            {as provisiones de esta demanda. Usted puese perder dinero o sus
 YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT                               propiedades u ostros derechos importantes para usted.
 ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT
 AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET                                LLEVE ESTA DEMANDA A UN ABOGADO IMMEDIATAMENTE.
 FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL                            - SI NO TIENE ABOGADO O SI NO TIENE EL DINERO
 HELP.                                                                      SUFICIENTE DE PAGAR TAL SERVICO, VAYA EN PERSONA O
                                                                            LLAME POR TELEPHONO A LA OFICINA CUYA DIRECCION SE
                                                                            ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR DONDE SE
             PHILADELPHIA BAR ASSOCIATION                                   PUEDE CONSEGUIR ASISTENCIA LEGAL.
       LAWYER REFERRAL AND INFORMATION SERVICE
                  ONE READING CENTER                                                 ASOCIACION DE LICENCIADOS DE FILADELFIA
                 PHILADELPHIA, PA 19107                                                   Servicio De Referencia E Informacion Legal
               TELEPHONE: (215) 238-1701                                                              One Reading Center
                                                                                                 Filadeifia, Pennsylvania 19107
                                                                                                   Telephono: (215) 238-1701




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TERRAINE ABDULLAH, ON HER OWN              :       COURT OF COMMON PLEAS
BEHALF AND AS PARENT AND NATURAL GUARDIAN:         PHILADELPHIA COUNTY
or H.S., A MINOR                               :
335 PASSMORE STREET
PHILADELPHIA, PA 19111
                   PLAINTIFFS
V.                                                 CIVIL ACTION

MEAD JOHNSON & COMPANY, LLC
ILLINOIS CORPORATION SERVICE CoO.
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, I1. 62703
                                                   NO.

MEAD JOHNSON NUTRITION COMPANY
ILLINOIS CORPORATION SERVICE CO.
801 ADLAI STEVENSON DRIVE
SPRINGFIELD, IL. 62703


ABBOTT LABORATORIES
CT CORPORATION SYSTEM
208 SO. LASALLE STREET, SUITE 814
CHICAGO, IL 60604


THE PENNSYLVANIA HOSPITAL OF
THE UNIVERSITY OF PENNSYLVANIA
HEALTH SYSTEM p/B/A PENNSYLVANIA


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HOSPITAL
3400 Crvic CENTER BLVD.
PHILADELPHIA, PA 19104


THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA p/B/A PENN MEDICINE
133 SOUTH 36™ STREET
PHILADELPHIA, PA 19104

                          DEFENDANTS                        :      JURY TRIAL DEMANDED
                                              COMPLAINT

          Plaintiff brings this Complaint and Demand for Jury Trial (the “Complaint™) against Mead

Johnson     &    Company,    LLC,     Mead   Johnson   Nutrition   Company,   and   Abbott   Laboratories

(collectively “the Defendant Manufacturers”), and The Trustees of the University of Pennsylvania

d/b/a Penn Medicine and Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital (collectively “Penn Medicine” or “Pennsylvania Hospital”), together

“Defendants.”       Plaintiff alleges the following upon personal knowledge as to Plaintiff's own acts

and experiences and upon information and belief, including investigation conducted by Plaintiff’s

attorneys, as to all other matters.

                                         I      INTRODUCTION

1.        This action arises out of the injuries suffered by a premature infant (the “Injured Infant”)

who was         given the Defendant Manufacturers’         cow’s milk-based   infant feeding products   at

Pennsylvania Hospital. Pennsylvania Hospital, managed by Penn Medicine, acquired and supplied

the Defendant Manufacturers’ products to the Injured Infant and negligently failed to warn of their

unreasonably dangerous properties in a reasonable manner.              This caused the Injured Infant to

develop necrotizing enterocolitis (“NEC”), a life-altering and potentially deadly disease that

largely affects premature babies who are given cow’s milk-based feeding products.             As a result,




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the Injured Infant was seriously injured, resulting in long term health effects and accompanying

harm to their parent (“the Plaintiff Parent”).

2.       Plaintiff brings these causes of action against Defendants to recover for injuries that are the

direct and proximate result of the Injured Infant’s consumption of the Defendant Manufacturers’

unreasonably dangerous cow’s milk-based infant feeding products, which were acquired and

supplied without adequate warming to the Injured Infant at Pennsylvania Hospital, owned and

operated by Penn Medicine.

                                           II.      PARTIES

3.       Plaintiff Terraine Abdullah is a natural adult person and a resident of Pennsylvania.       Ms.

Abdullah is the parent and natural guardian of H.S., a minor. Ms. Abdullah’s address is 335

Passmore Street, Philadelphia, Pennsylvania 19111.

4.       Defendant Mead Johnson Nutrition Company is a corporation, incorporated under the laws

of the State of Delaware.     Its principal place of business is Illinois. Defendant Mead Johnson &

Company, LLC, is a limited liability company, organized under the laws of the State of Delaware.

Its citizenship is that of its sole member, Mead Johnson Nutrition Company.           Defendants Mead

Johnson Nutrition Company         and Mead       Johnson & Company,      LLC,   (together, “Mead”)    are

manufacturers of cow’s milk-based infant feeding products and market many of these products

under the “Enfamil” brand name.

 5.      Defendant Abbott Laboratories (“Abbott”) is a corporation, incorporated under the laws of

 the State of Illinois. Its principal place of business is in Illinois. Abbott is a manufacturer of cow’s

 milk-based infant feeding products and markets many of its products under the “Similac” brand

 name.




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6.      Defendant The Pennsylvania Hospital of the University of Pennsylvania Health System

d/b/a Pennsylvania Hospital is a non-profit corporation incorporated and registered to do business

under the laws of the Commonwealth of Pennsylvania.                Its principal place of business     is

Philadelphia, Pennsylvania.       Pennsylvania Hospital is a registered name of The Pennsylvania

Hospital of the University of Pennsylvania Health System. The sole member of The Pennsylvania

Hospital of the University of Pennsylvania Health System is The Trustees of the University of

Pennsylvania.

7.      Defendant The Trustees of the University of Pennsylvania d/b/a Penn Medicine is a non-

profit corporation registered to do business in the Commonwealth of Pennsylvania.           Its principal

place of business is Philadelphia, Pennsylvania.          Penn Medicine is a registered name of The

Trustees of the University of Pennsylvania.

                                III.       JURISDICTION AND VENUE

 8.     This Court has jurisdiction in this matter pursuant to 42 Pa. C.S.A. § 931.          Defendants

 conduct authorized business           in the Commonwealth   of Pennsylvania.    They have sufficient

minimum contacts with and purposefully avail themselves of the markets of this Commonwealth.

 This suit arises out of Defendants’ forum-related activities, such that the Court of Common Pleas

 of Philadelphia County’s exercise of jurisdiction would be consistent with traditional notions of

 fair play and substantial justice.

 9.      Venue is proper in the Court of Common Pleas of Philadelphia County pursuant to Rules

 1006(b),   1006(c)(1),   and   2179(a)     of the Pennsylvania   Rules   of Civil   Procedure    because

 Defendants are corporations or similar entities that regularly conduct business in Philadelphia

 County, which is also the county where Plaintiffs causes of action arose, and the county where

 the occurrences took place out of which Plaintiff’s causes of action arose.




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10.    This action is not subject to the Compulsory Arbitration Program of the Court of Common

Pleas of Philadelphia County because the amount in controversy, excluding interest and costs, is

in excess of $50,000.

                               IV.    FACTUAL ALLEGATIONS

                                      H.S.’s NEC Diagnosis

11.     H.S. was born prematurely at Pennsylvania Hospital in Philadelphia, Pennsylvania on

September 12, 2006.

12.    Upon information and belief H.S. was fed Similac and/or Enfamil cow’s milk-based

products by staff at Pennsylvania Hospital from shortly after her birth.

13.     Upon information and belief shortly after H.S. first ingested the Defendant Manufacturers’

products, she developed NEC.

14.     H.S. was forced to undergo surgery and has continued to suffer long term health effects.

                 Cow’s Milk-Based Feeding Products Are Known to Cause NEC

15.     NEC is a devastating disease that is the most frequent and lethal gastrointestinal disorder

affecting preterm infants. NEC develops when harmful bacteria breach the walls of the intestine,

causing portions of the intestine to become inflamed and often to die.     Once NEC develops, the

condition can progress rapidly from mild feeding intolerance to systemic and fatal sepsis. Up to

30 percent of NEC-diagnosed infants die from the disease.

16.     Preterm and low-birth-weight infants are especially susceptible to NEC because of their

underdeveloped digestive systems. Extensive scientific research, including numerous randomized

controlled trials, has confirmed that cow’s milk-based feeding products cause NEC in preterm and

Jlow-birth-weight infants, which in turn may lead to other medical complications, surgeries, long-

term health problems, and death.




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17.     For example, in one randomized, multicenter study of 926 preterm infants, NEC was six to

ten times more common in exclusively cow’s milk formula-fed babies than in exclusively breast

milk-fed babies and three times more common in babies who receiveda combination of formula

and breast milk.    For babies born at more than 30 weeks gestation, NEC was 20 times more

common in those only fed cow’s milk formula than in those fed breast milk.

18.     Another randomized controlled trial showed that preterm babies fed an exclusive breast

milk-based diet were 90%       less likely to develop surgical NEC    (NEC   that requires surgical

treatment), compared to preterm babies fed a diet that included some cow’s milk-based products.

19.     Yet another study that analyzed the data from a 12-center randomized trial concluded that

fortification of breast milk with a cow’s milk-based fortifier resulted in a 4.2-fold increased risk

of NEC and a 5.1-fold increased risk of surgical NEC or death, compared to fortification with a

breast milk-based fortifier.

20.     A Surgeon General report, The Surgeon General's Call to Action to Support Breastfeeding,

warns that, “for vulnerable premature infants, formula feeding is associated with higher rates of

necrotizing enterocolitis.” The report also states that premature infants who are not breastfed are

138% more likely to develop NEC.

21.     The American Academy of Pediatrics, “an organization of 67,000 pediatricians committed

to the optimal physical, mental, and social health and well-being         for all infants, children,

adolescents, and young adults,” has advised that all premature infants should be fed either their

mother’s milk or, if their mother’s milk is unavailable, pasteurized human donor milk.          This

recommendation is based on the “potent benefits of human milk,” including “lower rates of . . .

NEC.”




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22,    A multicenter, randomized,    controlled trial found that premature    and low-birth-weight

infants fed an exclusive breast milk-based diet suffered NEC only 3% of the time while premature

and low-birth-weight infants receiving cow’s milk-based formula suffered NEC 21% of the time.

23.    Another study conducted a randomized comparison of extremely preterm infants who were

given either (a) a diet of breast milk fortified with a breast milk-based fortifier or (b) a diet

containing variable amounts of cow’s milk-based products,       The babies given exclusively breast

milk products suffered NEC 5% of the time. The babies given cow’s milk products suffered NEC

17% of the time.

       Safer, Nutritionally Superior Alternatives To Cow’s Milk-Based Products Exist

24.    A range of options are available that allow preterm and low-birth-weight infants to be fed

exclusively human milk-based nutrition.    For example, in addition to the mother’s own milk, an

established network delivers pasteurized donor breast milk to hospitals nationwide.       Moreover,

hospitals have access to shelf-stable formula and fortifiers derived from pasteurized breast milk.

25.     Adiet based exclusively on breast milk and breast milk fortifiers provides all the nutrition

necessary to support premature and low-birth-weight infants without the elevated risk of NEC

associated with cow’s milk-based products.       For example, in a study analyzing preterm infants

who were fed an exclusive breast milk-based diet until they reached 34 weeks, all 104 infants

exceeded   standard   growth   targets and met    length   and head-circumference   growth   targets,

demonstrating that infants can achieve and mostly exceed targeted growth            standards when

receiving an exclusive breast milk-based diet. This is particularly true given the ability of breast

milk-based fortifiers to provide the additional nutritional supplements necessary for adequate

growth while receiving the protective benefits of a breast milk diet.




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26.     The Defendant Manufacturers’ products not only pose a threat to infants’ health, but also

displace the breast milk they could otherwise receive.        This displacement only increases infants’

vulnerability to NEC, as studies show that breast milk protects against the disease.          For example,

a study analyzing 1,587 infants across multiple institutions concluded that an exclusive breast

milk-based diet is associated with significant benefits for extremely premature infants and that it

produced no feeding-related adverse outcomes.

27.     For the above reasons, experts acknowledge that breast milk is the best source of nutrition

for preterm infants and those at risk for NEC.      Breast milk-based nutrition nourishes infants while

creating a significantly lower risk of NEC.

28.     At the time the Injured Infant was fed the Defendant Manufacturers’ products, the science

clearly demonstrated to Defendants that these products cause NEC                 and greatly increase the

likelihood that a baby will develop NEC, leading to severe injury and often death.

29.     Despite the scientific consensus that the Defendant Manufacturers’              cow’s milk-based

products present a dire threat to the health and development of preterm infants, the Defendant

Manufacturers have made no changes to their products or the products’ packaging, guidelines,

instructions, or warnings.        Instead, they have continued to sell their unreasonably dangerous

products.    In addition, they incentivize hospitals that know the risks to use their products by

providing them to the hospital for free or at a significant discount, in order that vulnerable infants

 and their families will become accustomed to using their products before discharge.

                  The Defendant Manufacturers’ False And Misleading Marketing
                           Regarding Cow’s Milk-Based Infant Products

 30.     Abbott   and      Mead   have   aggressively   marketed   their cow’s   milk-based    products      as

 medically endorsed and nutritionally equivalent alternatives to breast milk, including prior to the

 Injured Infant’s birth.




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31.     Abbott’s and Mead’s marketing approach includes targeting the parents of preterm infants

while they are still in the hospital with messages that the Defendant Manufacturers’ cow’s milk

formulas and fortifiers are necessary for the growth and development of their vulnerable children.

Often these tactics implicitly discourage mothers from breastfeeding, which reduces the mother’s

supply of breast milk. None of the Defendant Manufacturers’ marketing materials, including their

promotional websites, reference the science showing how significantly their products increase the

risk of NEC.

32.    Numerous studies have shown the detrimental impact of formula advertising on the rates

of initiation and continuation of breastfeeding, including studies that show that as “hand feeding”

(non-breastfeeding)      advertisements     increase,     reported   breastfeeding     rates    decrease     in   the

following year.

33.    Undoubtedly aware of the impact of their advertising, the Defendant Manufacturers, along

with other formula manufacturers, are willing to spend massive sums to disseminate their message,

with one study estimating that formula manufacturers collectively spent $4.48 billion on marketing

and promotion in 2014 alone.

34.     Recognizing the abuse and dangers of infant formula marketing, in 1981, the World Health

Assembly—the        decision-making       body   of the      World   Health    Organization—developed             the

International     Code   of Marketing     of Breast-milk       Substitutes    (“the   Code”),    which      required

companies to acknowledge the superiority of breast milk, the negative effect on breastfeeding of

introducing partial bottle-feeding, and the difficulty of reversing the decision not to breastfeed.

The Code also forbade advertising or other forms of promotion of formula to the general public,

as well as providing sample products to mothers or members of their families.




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35.      While Abbott and Mead acknowledge the Code on their websites and claim to support the

effort to encourage mothers to breastfeed for as long as possible, this is little more than lip service.

Instead, the Defendant Manufacturers’ aggressive marketing exploits new parents’ darkest fears—

that the nutrition they are supplying to their child will not provide the best chance of survival—

while wholly failing to warn that their products come with a significantly increased risk of NEC.

36.      For example, Abbott’s website, on a paged titled “Infant Formula Marketing,” states: “We

agree with the World Health Organization that breastfeeding provides the best nutrition for babies,

and we support its goal to increase breastfeeding.           We also recognize that for infants who aren’t

breastfed—for        medical   reasons    or otherwise—infant     formula   is the only   appropriate,   safe

alternative to meet babies’ nutritional needs.” This statement ignores the existence of donor milk,

as well as human milk-based formula.

37.      Abbott markets and sells multiple products specifically targeting preterm and low-birth-

weight    infants,    including   Liquid Protein Fortifier,     Similac   NeoSure,   Similac   Human     Milk

Fortifiers, Similac Special Care 20, Similac Special Care 24, Similac Special Care 24 High Protein,

and Similac Special Care 30.             In advertising these products, Abbott emphasizes the products’

purported ability to assist underdeveloped babies in reaching their growth targets.            For example,

on the since-edited webpage regarding Similac NeoSure, Abbott noted: “Your premature baby

 didn’t get her full 9 months in the womb, so her body is working hard to catch up. During her first

 full year, feed her Similac NeoSure,           a nutrient-enriched formula for babies who were born

prematurely, and help support her development.” Yet, no mention was made of the accompanying

 significantly increased risk of NEC.           At some point, the website was edited to remove this

 statement. However, upon information and belief, the statement remained on the website until at

 feast December 2020.




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38.    Mead    markets   and   sells multiple    products   specifically   targeting premature    infants,

including Enfamil NeuroPro EnfaCare Infant Formula, Enfamil Premature Infant Formula 24 Cal

High Protein, Enfamil Premature Infant Formula 30 Cal with Iron, Enfamil Premature Infant

Formula 24 Cal with Iron, Enfamil Premature Infant Formula 20 Cal with Iron, Enfamil 24 Cal

Infant Formula, and Enfamil Human Milk Fortifier (acidified liquid and powder).           In advertising

these products, Mead emphasizes the purported similarities between its formula and breast milk,

while failing to include any information about the nutritional deficits and dangers that accompany

formula use.   For example, the since-edited webpage for Enfamil Enfacare stated: “Premature

babies fed Enfamil® formulas during the first year have achieved catch-up growth similar to that

of full term, breastfed infants” and noted that Enfamil formulas include “expert-recommended

levels of DHA and ARA (important fatty acids found naturally in breast milk) to support brain and

eye development.”

39.    One Enfamil advertisement, introducing a new product line called Enfamil NeuroPro, is

entirely focused on favorably comparing Enfamil’s formula to breast milk, without any mention

of the product’s extreme risks.    Indeed, the terms “human milk” and “breast milk” are used 13

times in the advertisement, including in such statements as “for decades human milk has inspired

the advancements in Enfamil formulas and now through extensive global research, we are taking

an even closer look at human milk” and “only Enfamil NeuroPro has a fat blend of MFGM                  and

DHA previously found only in breast milk.”           The webpage for the product has made similar

manipulative claims, stating “Enfamil is backed by decades of breast milk research and multiple

clinical studies” and it claims that “to create our best formulas, we collaborated on some of the

most extensive breast milk studies to date[.]”




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40.     Formula manufacturers have long used their relationships with hospitals and the discharge

process to encourage parents to substitute formula for breast milk. They offer free or reduced-cost

formula to hospitals for use with infants before discharge.   And they offer free formula, coupons,

and even entire gift baskets to parents before their infants’ discharge from the NICU or hospital.

41.     Through this early targeting, the Defendant Manufacturers create brand loyalty under the

guise of a “medical blessing,” in hopes that new parents continue to use formula after they leave

the hospital, resulting in increased expense for parents, significantly increased risk for babies, and

increased profit for the Defendant Manufacturers.      The Defendant Manufacturers’ giveaways and

gift baskets send confusing signals to mothers who are simultaneously being encouraged to

breastfeed by their healthcare professionals, and they have been shown to negatively impact

breastfeeding rates.

42.     Further, when the Defendant Manufacturers recognized a shift in the medical community

towards an exclusive breast milk-based diet for premature infants, Abbott developed a product

called “Similac Human Milk Fortifier,” and Mead developed “Enfamil Human Milk Fortifier.”

These names are misleading in that they suggest that the products are derived from breast milk,

when, in fact, they are cow’s milk-based products.      One study, for example, found that only 8.8

percent of parents surveyed in the NICU interpreted “human milk fortifier” as potentially meaning

a cow’s milk-based product. The packaging appears as:




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43.     The Defendant Manufacturers have designed powerful misleading marketing campaigns to

deceive parents into believing that: (1) cow’s milk-based products are safe, including for preterm

infants; (2) cow’s milk-based products are equal, or even superior, substitutes to breast milk; (3)

cow’s milk-based products are necessary for proper growth and development of preterm infants;

and (4) physicians consider the Defendant Manufacturers’ cow’s milk-based products to be a first

choice. This marketing scheme is employed despite all Defendants knowing of and failing to warn

of the extreme risk of NEC and death that cow’s milk-based products pose to preterm infants like

the Injured Infant.




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                       The Defendant Manufacturers’ Inadequate Warnings

44,     Although Mead promotes an aggressive marketing campaign designed to convince parents

that its cow’s milk-based products are safe and necessary for the growth of a premature infant, the

product is in fact extremely dangerous for premature infants.        Enfamil products significantly

increase the chances of a premature infant developing potentially fatal NEC.

45.     The Enfamil products Mead markets specifically for premature infants are commercially

available at retail locations and online. No prescription is necessary.

46.     Despite knowing of the risk of NEC, the packaging of Mead’s products does not warn of

the significantly increased risk of NEC (and resulting medical conditions, and/or death) associated

with Mead’s products, or of the magnitude of this increased risk. Mead likewise did not provide

instructions or guidance for how to avoid NEC.

47.     Mead cites no medical literature or research to guide the use of its products.

48.     Despite knowing of the risk of NEC, Mead did not warn of the significantly increased risk

of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

magnitude of this increased risk. Mead likewise did not provide instructions or guidance for how

to avoid NEC.

49.      Mead deceived the public, parents, physicians, other medical professionals, and medical

staff into believing that Enfamil products were a safe and necessary alternative, supplement and/or

 substitute to breast milk.

 50.     Despite knowing that its products were being fed to premature infants, often without the

 parents’ informed consent, Mead failed to require or recommend that medical professionals inform

 parents of the significant risk of NEC or to require that parental consent be obtained prior to the

 products being fed to their babies.




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 51.    Like Mead, Abbott promotes an aggressive marketing campaign designed to make parents

 believe that its products are safe and necessary for the growth of premature infants, despite the

 products in fact being extremely dangerous for premature infants. Abbott’s products significantly

 increase the chances of a premature infant getting potentially fatal NEC.

 52.    The products Abbott markets specifically for premature infants are available at retail

 locations and online. No prescription is necessary.

 53.    Despite knowing of the risk of NEC, Abbott did not warn of the significantly increased risk

 of NEC (and resulting medical conditions, and/or death) associated with its products, or of the

 magnitude of this increased risk. Abbott likewise did not provide instructions or guidance for how

 to avoid NEC.

 54.     Abbott deceived the public, parents, physicians, other medical professionals, and medical

 staff into believing that its products were a safe and necessary alternative, supplement and/or

 substitute to breast milk.

 55.     Despite knowing that its products were being fed to premature infants, often without the

 parents’ informed consent, Abbott failed to require or recommend that medical professionals

 inform parents of the significant risk of NEC or to require that parental consent be obtained prior

 to the products being fed to their babies.

                                  Penn Medicine’s Failure to Warn

 56.     On information and belief, Penn Medicine, which operates Pennsylvania Hospital, was

 aware of the significantly increased risk of NEC and death associated with providing Abbott’s and

 Mead's cow’s milk-based products to its premature infant patients. It knew or should have known

 that feeding these cow’s milk-based products can cause NEC in premature infants who otherwise

"would not have developed this devastating condition.        However, instead of warning of those




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dangers, or supplying breast milk-based feeding products to preterm infants like the Injured Infant,

Penn Medicine has continued to source, distribute, and supply the Defendant Manufacturers’

products in its hospitals without any adequate warning.

57.    To that end, Penn Medicine has participated in studies designed to increase the use of donor

milk while,   at the same     time, reducing     formula feeding    in neonates.     The   University   of

Pennsylvania School of Nursing, an affiliate of Penn Medicine, has conducted extensive research

into the risks associated with feeding formula to premature infants. It recently partnered with the

National Institute of Nursing Research to publish clinical determinations based on its experience

“changing hospital systems and influencing policy,” and its findings were unequivocal:

       This is what we know about the science of human milk: it reduces the risk of
       necrotizing enterocolitis, reduces the risk of infection, [and] creates greater enteral
       feed tolerance and more rapid weaning from intravenous nutrition. . . .

Other Penn Medicine research has similarly concluded that “[hjuman milk decreases the

incidence and severity of . . . necrotizing enterocolitis (NEC).”

58.    Penn Medicine also purports to adhere to the tenets of the “Baby Friendly Hospital

Initiative,” which seeks to increase rates of breastfeeding initiation, exclusivity, and diet duration.

The “Baby Friendly Hospital Initiative” specifically targets a reduction in the rates of NEC in

preterm infants by encouraging implementation of exclusive breast milk diets among new mothers.

Although Pennsylvania Hospital has maintained its “Baby Friendly” designation for years, it has

not eliminated or restricted the use of formula or fortifier for preterm infants in its hospitals.

59.     Finally,   medical   providers   and   staff at Penn   Medicine   have   acknowledged   the risks


associated with providing the Defendant Manufacturers’ cow’s milk-based products to premature

infant patients instead of breast milk-based nutrition. In an internal newsletter from 2012 touting

donor milk programs, Penn Medicine acknowledged the benefits of a human milk-based diet,

quoting a staff lactation consultant:



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       Donor milk is not inexpensive. It costs about $4.25 per ounce, but the return on
       investment is huge. “Preemies given mother’s milk get discharged three to four
       days sooner and also have a six to 10 times lower risk of getting a gastrointestinal
       complication called necrotizing enterocolitis,” Carpenter said, adding that the
       infection can cost up to $250,000 to treat. The average cost to provide a preemie
       with donor milk: $125.

60.    These statements demonstrate that Penn Medicine knew or should have known of the high

increased risk of NEC for premature infants posed by the Defendant Manufacturers’ products.

61.    Although Penn Medicine knew or should have known               of the serious danger of the

Defendant Manufacturers’ products, it has continued to purchase, supply, and distribute these

products to preterm infants without providing full and adequate warnings of the attendant risks to

parents, healthcare professionals, and other medical staff at its relevant facilities. Asa result, the

Injured Infant was fed the Defendant Manufacturers’ Cow's milk-based products at Pennsylvania

Hospital, causing their injuries. This occurred even though hospitals across the country, including

Pennsylvania Hospital, warn and obtain consent from parents before providing other safer forms

of nutrition, such as donor breast milk.

62.     Penn Medicine’s failure to warn of the risks posed by the Defendant Manufacturers’

products is entrenched (and compounded) by the financial benefits it accrues from its relationships

with the Defendant Manufacturers.          On information and belief, it has received the Defendant

Manufacturers’ cow’s milk-based products for free or at a significant discount, and has granted

their sales representatives access to its healthcare professionals and medical staff.     These sales

representatives have provided deceptive information that Penn Medicine reasonably knew or

should have known would ultimately reach parents through those staff. This arrangement dovetails

with the Defendant Manufacturers’ own marketing strategy, which aims to “sell and service”

healthcare professionals and medical staff as a means of converting them into “extra salespersons.”




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                                       Safer Alternative Designs

63.        The Defendant Manufacturers’ cow’s milk-based products made specifically for premature

infants are unreasonably unsafe for those infants. The Defendant Manufacturers could have used

pasteurized breast milk instead of cow’s milk in their products, which would have produced a safer

product.

64.        Prolacta   Bioscience   manufactures   and    sells   breast   milk-based   feeding   products,

specifically designed for preterm infants, which contain no cow’s milk.           This alternative design

provides all the necessary nutrition for growth and development that cow’s milk-based products

provide, without the same unreasonably dangerous and deadly effects.

65.        On information and belief, Abbott and Mead were aware of the significantly increased risk

of NEC and death associated with their cow’s milk-based products, and instead of warning of the

dangers, or removing them altogether, Abbott and Mead have continued to use cow’s milk as the

foundation of their products.

                                         CAUSES OF ACTION

                      COUNT I: STRICT LIABILITY FOR DESIGN DEFECT
                                  (Against Abbott and Mead)

66.        Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

67.        Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

NO               sell, and distribute their products in a manner that was not unreasonably dangerous.

68.        Abbott and Mead also owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to manufacture,      sell, and distribute their products     in a manner   that was

merchantable and reasonably suited for their intended use.




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69.         Abbott and Mead knew that their products would be used to feed premature infants like the

Injured Infant and knew (or reasonably should have known) that use of their cow’s milk-based

products significantly increased the risk of NEC, serious injury, and death, and that such use was

therefore unreasonably dangerous to premature infants, not reasonably suited for the use intended,

not merchantable, and had risks that exceeded a reasonable buyer’s expectations.             Nonetheless,

they continued to sell and market their defective products as appropriate for premature infants.

70.         The Injured Infant ingested Abbott and/or Mead’s unreasonably dangerous cow’s milk-

based products. The risks of feeding those products to the Injured Infant outweighed the benefits.

An ordinary consumer would not expect those products to carry a significant risk of serious injury

and death from NEC.

71.         Abbott and Mead knew (or reasonably should have known) that breast milk-based nutrition

did not carry the same risks of NEC, serious injury, and death that their products do.

72.         Abbott’s and Mead’s products contained cow’s milk at the time they left the manufacturing

facility.

73.         Abbott and Mead did not develop a human-milk based product that was safer for premature

infants and did not reformulate their products to reduce the risk of NEC, serious injury, and death,

even though doing so was economically and technologically feasible and even though pasteurized

breast milk was an available alternative.

74.         Abbott’s and/or Mead’s products were fed to the Injured Infant, which caused and/or

increased the risk of their NEC and injuries.

75.         As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.         Her life has been significantly affected by the Injured Infant’s

injuries.




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WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers as follows:

             a.   For compensatory damages in an amount to be proven at trial and in excess of

                  $50,000 and this Court’s arbitrational limit;

             b.   For damages for past, present, and future emotional distress, loss of enjoyment of

                  life, pain and suffering, mental anguish, and other non-economic losses sustained

                  as a result of the Defendants Manufacturers’ conduct;

             c.   For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                  and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                  related to medical or mental health treatment which have or may be recommended;

             d.   For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                  resulting   from   the    Defendant   Manufacturers’   oppressive,   fraudulent,    and/or

                  malicious conduct, as permitted by law;

             e.   For interest as permitted by law;

             f.   For attorney’s fees, expenses, and recoverable costs incurred in connection with

                  this action; and

             g.   For such other and further relief as the Court deems proper.


                  COUNT II: STRICT LIABILITY FOR FAILURE TO WARN
                                           (Against Abbott and Mead)

76.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

77.       Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide adequate warnings or instructions about the dangers and risks associated with the use of




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their products with preterm infants, specifically including but not limited to the risk of NEC,

serious injury, and death.

78.    Abbott’s and Mead’s duty to warn is part of their general duty to design, manufacture, and

sell their infant products in a manner that is reasonably safe for their foreseeable uses.          By

designing their products with cow’s milk-based ingredients, Abbott and Mead undertook a duty to

warn of the unreasonable risk of harm posed by those ingredients, specifically including the

significantly increased risk of NEC,     severe injury, and death.   The failure to warn makes      the


products at issue in this litigation unreasonably dangerous.

79.     Specifically, Abbott and Mead breached their duty to warn of the foreseeable risks of the

infant products at issue in this litigation because they knew or should have known that their cow’s

milk-based premature infant products would be fed to premature infants like the Injured Infant,

and that their products might cause the Injured Infant to develop NEC, severe injury, or death, yet

they failed to provide adequate warnings of those risks.         Among    other risks, the Defendant

Manufacturers:

            a.   Failed to warn that cow’s milk-based products significantly increase the risk of

                 NEC, severe injury, and death for the Injured Infant; and/or

            b.   Failed to warn that cow’s milk-based products are unsafe and/or contraindicated

                 for premature infants like the Injured Infant; and/or

            c.   Inserted warnings and instructions on their products that are severely inadequate,

                 vague, confusing, and provide a false sense of security in that they warn and instruct

                 specifically on certain conditions, but do not wam of the significantly increased

                 risk of NEC and death; and/or




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               d.   Failed to insert a large and prominent “black box”-type warning that their cow’s

                    milk-based products are known to significantly increase the risk of NEC and death

                    when compared to breast milk in premature infant; and/or

               e.   Failed to disclose well-researched and well-established studies that linked cow’s

                    milk-based products to NEC and death in premature infants; and/or

               f.   Failed to insert a warning or instruction to healthcare professionals and other

                    medical staff in the hospital that parents should be provided information necessary

                    to make an informed choice about whether to allow their babies to be fed the

                    Defendant Manufacturers’ products, notwithstanding their substantial risks; and/or

               g.   Failed to provide a warning in a method reasonably calculated or expected to reach

                    the parents of newborns, like the Plaintiff Parent; and/or

               h.   Failed to provide statistical evidence showing the magnitude of increased risk of

                    NEC in premature infants associated with cow’s milk-based products.

80.         Abbott's and Mead’s products contained cow’s milk at the time they left the manufacturing

facility.

81.         As a direct and proximate result of the inadequacy of the warnings and the pervasive

marketing       campaigns    suggesting the safety and necessity of the Defendant       Manufacturers’

products, the Injured Infant were fed cow’s milk-based products, which caused and/or increased

risk of their developing NEC.

82.         The unwamed-of risks are not of a kind that an ordinary consumer would expect.          Had

physicians and medical staff known of the extreme risk associated with feeding premature infants

cow’s milk-based formula, they would not have fed the Injured Infant those products.            Had the




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Plaintiff Parent known of the significant risks of feeding the Injured Infant cow’s milk-based

formula, they would not have allowed such products to be fed to the Injured Infant.

83.         As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.           Her life has been significantly affected by the Injured Infant’s

injuries.

WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers as follows:

                a.   For compensatory damages in an amount to be proven at trial and in excess of

                     $50,000 and this Court’s arbitrational limit;

                b.   For damages for past, present, and future emotional distress, loss of enjoyment of

                     life, pain and suffering, mental anguish, and other non-economic losses sustained

                     as a result of the Defendants Manufacturers’ conduct;

                c.   For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                     and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                     related to medical or mental health treatment which have or may be recommended;

                d.   For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                     resulting   from   the Defendants    Manufacturers’   oppressive,   fraudulent,    and/or

                     malicious conduct, as permitted by law;

                e.   For interest as permitted by law;

                f.   For attorney’s fees, expenses, and recoverable costs incurred in connection with

                     this action; and

                g.   For such other and further relief as the Court deems proper.




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                                     COUNT Ill: NEGLIGENCE
                                      (Against Abbott and Mead)

84.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

85.       Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

exercise reasonable care to design, test, manufacture, inspect, and distribute a product free of

unreasonable risk of harm to users, when such products are used in their intended manner and for

their intended purpose.

86.       Atall times relevant to this action, the Injured Infant’s healthcare professionals and medical

staff used the products at issue in their intended manner and for their intended purpose.

87.       Abbott and Mead, directly or indirectly, negligently, and/or defectively made, created,

manufactured, designed, assembled, tested, marketed,          sold, and/or distributed the cow’s milk-

based infant products at issue in this litigation and thereby breached their duty to the general public

and the Plaintiff Parent.

88.       Specifically, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based infant products significantly increased the risk of NEC,

serious injury, and death, they failed to act in a reasonably prudent manner and breached their duty

by:

              a.   Failing to warn that cow’s milk-based products significantly increase the risk of

                   NEC, severe injury, and death for the Injured Infant; and/or

              b.   Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

                   for premature infants like the Injured Infant; and/or




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          ¢.    Inserting warnings and instructions that are severely inadequate, vague, confusing,

                and provide a false sense of security in that they warn and instruct specifically on

                certain conditions, but do not warn of the significantly increased risk of NEC and

                death; and/or

           d.   Failing to insert a large and prominent “black box”-type warning that their cow's

                milk-based products are known to significantly increase the risk of NEC and death

                when compared to breast milk in premature infants; and/or

           e.   Failing to provide well-researched and well-established studies that linked cow’s

                milk-based products to NEC and death in premature infants; and/or

           f.   Failing to insert a warning or instruction to healthcare professionals and other

                medical staff in the hospital that parents should be provided information necessary

                to make an informed choice about whether to allow their babies to be fed the

                Defendant Manufacturers’ products, notwithstanding their substantial risks; and/or

           g.   Failing to provide a warning in a method reasonably calculated/expected to reach

                the parents of newborns, like the Plaintiff Parent; and/or

           h.   Failing to provide statistical evidence showing the magnitude of increased risk of

                NEC in premature infants associated with cow’s milk-based products.

89.    In addition, although Abbott and Mead knew or reasonably should have known at the time

of production that their cow’s milk-based products significantly increased the risk of NEC, serious

injury, and death, they failed to act in a reasonably prudent manner and breached their duty by

failing to perform the necessary process of data collection, detection, assessment, monitoring,

prevention, and reporting or disclosure of adverse outcomes in infants who ingest their products.




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90.         As a direct and proximate result of the Defendant Manufacturers’ failure to act in a

reasonably prudent manner and their breach of duty, the Injured Infant was fed cow’s milk-based

products, which caused and/or increased the risk of their developing NEC.

91.         Had Abbott and Mead satisfied their duties to the consuming public in general, the Injured

Infant would not have been exposed to their unreasonably dangerous cow’s milk-based products.

92.         As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.            Her life has been significantly affected by the Injured Infant’s

injuries.

WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers as follows:

                a.    For compensatory damages in an amount to be proven at trial and in excess of

                      $50,000 and this Court’s arbitrational limit;

                b.    For damages for past, present, and future emotional distress, loss of enjoyment of

                      life, pain and suffering, mental anguish, and other non-economic losses sustained

                      as a result of the Defendants Manufacturers’ conduct;

                c.    For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                      and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                      related to medical or mental health treatment which have or may be recommended;

                d.    For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                      resulting   from   the Defendants    Manufacturers’   oppressive,   fraudulent,    and/or

                      malicious conduct, as permitted by law;

                e.    For interest as permitted by law;

                 f.   For attorney’s fees, expenses, and recoverable costs incurred in connection with

                      this action; and




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               g.    For such other and further relief as the Court deems proper.

                        COUNT IV: INTENTIONAL MISREPRESENTATION
                                   (Against Abbott and Mead)

93.       Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

94.       At    all times    relevant   to this   action,    the   Injured   Infant   consumed   the   Defendant

Manufacturers’ products in their intended manner and for their intended purpose.

95.       Abbott and Mead, as the manufacturers and/or sellers of the infant products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, fulsome information about the risks and benefits of using their products

when used in the intended manner and for the intended purpose.

96.       Abbott and Mead breached their duty through misrepresentations made to consumers,

physicians, and medical staff in their advertising and promotional materials, as described in

previous paragraphs         and incorporated herein, each of whom               were foreseeable and intended

recipients of this information.

97.       Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis and prior to the time the Injured Infant

was fed their products:

                a.   That their cow’s milk-based products were safe and beneficial for premature infants

                     when they knew or should have known that their products were unreasonably

                     dangerous and cause NEC, serious injury, and death in premature infants; and/or

                b.   That their cow’s milk-based products were necessary to the growth and nutrition of

                     premature infants, when they knew or should have known that their products were

                     not necessary to achieve adequate growth; and/or



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             c.     That their products have no serious side effects, when they knew or should have

                    known the contrary to be true; and/or

             d.     That cow’s milk-based products were safe for premature infants; and/or

             e.     That cow’s milk-based products were necessary for optimum growth; and/or

             f.     That cow’s milk-based products were similar or equivalent to breast milk; and/or

             g.     That their products were safe and more like breast milk than other infant products

                    and that they had removed the harmful ingredients of cow’s milk when, in fact, the

                    cow’s milk in their products was still capable of causing NEC, serious injury, and

                    death; and/or

             h.     That their products were based on up-to-date science, which made them safe for

                    premature infants; and/or

              i.    Omitting the material fact that their products significantly increased the risk of NEC

                    in premature infants.

98.       Abbott and Mead knew or reasonably should have known those misrepresentations to be

false.

99.       The Defendant Manufacturers’ misrepresentations were intended to, and in fact did, induce

physicians and medical staff, including the Injured Infant’s physicians and medical staff, to provide

their infant products to babies, including the Injured Infant.

100.      The Plaintiff Parent was not aware that these misrepresentations were false and justifiably

relied on them.      The Defendant Manufacturers’ misrepresentations induced the Plaintiff Parent to

allow their children to be fed Abbott’s and Mead’s infant products, in reliance on all the messaging

they     received     about   formula    feeding,   including,     directly    or   indirectly,      the   Defendant

Manufacturers’         messaging.       Had   Abbott    and      Mead    not    committed         these    intentional




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misrepresentations,        the   Injured         Infant   would        not   have   been     exposed     to   the   Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products.

101.        As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased risk of their developing NEC and subsequent injuries.

102.        As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.              Her life has been significantly affected by the Injured Infant’s

injuries.

WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers as follows:

                a.   For compensatory damages in an amount to be proven at trial and in excess of

                     $50,000 and this Court’s arbitrational limit;

                b.   For damages for past, present, and future emotional distress, loss of enjoyment of

                     life, pain and suffering, mental anguish, and other non-economic losses sustained

                     as a result of the Defendants Manufacturers’ conduct;

                c.   For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                     and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                     related to medical or mental health treatment which have or may be recommended;

                d.   For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                     resulting   from      the     Defendant       Manufacturers’          oppressive,    fraudulent,    and/or

                     malicious conduct, as permitted by law;

                e.   For interest as permitted by law;

                f.   For attorney’s fees, expenses, and recoverable costs incurred in connection with

                     this action; and

                g.   For such other and further relief as the Court deems proper.




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                         COUNT V: NEGLIGENT MISREPRESENTATION
                                         (Against Abbott and Mead)

103.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

104.      At all times relevant to this action, the Injured Infant consumed the products at issue in

their intended manner and for their intended purpose.

105.      Abbott and Mead, as the manufacturers and/or sellers of the products at issue in this

litigation, owed a duty to the consuming public in general, and the Plaintiff Parent in particular, to

provide truthful, accurate, and complete information about the risks and benefits of using their

products when used in the intended manner and for the intended purpose.

106.      In   the   course   of their   business,   Abbott   and   Mead   breached   their   duty    through

misrepresentations made to consumers, physicians, and medical staff in their advertising and

promotional materials, as described in previous paragraphs and incorporated herein, each of whom

were foreseeable recipients of this information.

107.      Specifically, upon information and belief, Abbott and Mead made the following false

statements of material fact on an ongoing and repeated basis and prior to the time the Injured Infant

was fed their products:

               a.    That their cow’s milk-based products were safe and beneficial for premature infants

                     when they knew or should have known that their products were unreasonably

                     dangerous and cause NEC, serious injury, and death in premature infants; and/or

               b.    That their cow’s milk-based products were necessary to the growth and nutrition of

                     premature infants, when they knew or should have known that their products were

                     not necessary to achieve adequate growth; and/or




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            c.   That their products have no serious side effects, when they knew or should have

                 known the contrary to be true; and/or

            d.   That cow’s milk-based products were safe for premature infants; and/or

            e.   That cow’s milk-based products were necessary for optimum growth; and/or

            f.   That cow’s milk-based products were similar or equivalent to breast milk; and/or

            g.   That their products were safe and more like breast milk than other infant products

                 and that they had removed the harmful ingredients of cow’s milk when, in fact, the

                 cow’s milk in their products was still capable of causing NEC, serious injury, and

                 death; and/or

            h.   That their products were based on up-to-date science, which made them safe for

                 premature infants; and/or

            i.   Omitting the material fact that their products significantly increased the risk of NEC

                 in premature infants.

108.     Abbott and Mead were negligent or careless in not determining those representations to be

false.

109.     The Defendant Manufacturers’ misrepresentations were intended to and did in fact induce

physicians and medical staff, including the Injured Infant’s physicians and medical staff, to provide

their products to babies, including the Injured Infant.

110.     The Defendant Manufacturers’ misrepresentations induced, and were intended to induce,

the Plaintiff Parent to allow their child to be fed Abbott’s and Mead’s infant products, in justifiable

reliance on all the messaging they received about formula feeding, including, directly or indirectly,

the Defendant Manufacturers’ messaging.        Had Abbott and Mead not committed these negligent




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misrepresentations,        the Injured Infant would not have been           exposed   to their unreasonably

dangerous cow’s milk-based products.

111.        As a direct and proximate result, Abbott’s and Mead’s products were fed to the Injured

Infant, which caused and/or increased of their developing NEC and subsequent injuries.

112.        As a further direct result, the Plaintiff Parent suffered significant emotional distress, loss

of income, and/or other harms.           Her life has been significantly affected by the Injured Infant’s

injuries.

WHEREFORE, Plaintiff demands judgment against the Defendant Manufacturers as follows:

                a.   For compensatory damages in an amount to be proven at trial and in excess of

                     $50,000 and this Courts arbitrational limit;

                b.   For damages for past, present, and future emotional distress, loss of enjoyment of

                     life, pain and suffering, mental anguish, and other non-economic losses sustained

                     as a result of the Defendants Manufacturers’ conduct;

                c.   For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                     and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                     related to medical or mental health treatment which have or may be recommended;

                d.   For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                     resulting   from   the   Defendant    Manufacturers’   oppressive,   fraudulent,    and/or

                     malicious conduct, as permitted by law;

                e.   For interest as permitted by law;

                f.   For attorney’s fees, expenses, and recoverable costs incurred in connection with

                     this action; and

                g.   For such other and further relief as the Court deems proper.




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                               COUNT VI: FAILURE TO WARN
                       (Against Penn Medicine and Pennsylvania Hospital)

113.      Plaintiff incorporates by reference each of the preceding paragraphs as if fully set forth

herein.

114.      Penn Medicine and Pennsylvania Hospital as purchaser, supplier, and/or distributor of the

products at issue in this litigation, owed a duty to the consuming public in general, and the Plaintiff

Parent in particular, to purchase, supply, and distribute products that were free of unreasonable

risk of harm when used in their intended manner and for their intended purpose, and/or to

formulate, adopt, and enforce adequate rules and policies for the same.

115.      At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

116.      Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital, managing these individuals during their

treatment of the Injured Infant.

 117.     Penn   Medicine   and    Pennsylvania     Hospital   negligently   and   recklessly   supplied    and

distributed the Defendant Manufacturers’ milk-based infant feeding products to these healthcare

professionals and medical staff for use on premature infants, including the Injured Infant.

 118.     Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’           sales representatives to market, advertise, distribute,

and/or sell their products        at Pennsylvania     Hospital.    The   Defendant    Manufacturers’       sales

representatives were encouraged to interact with Pennsylvania Hospitals healthcare professionals

 and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives




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 an opportunity to co-opt Pennsylvania Hospital’s healthcare professionals and medical staff into

 assisting   with    the   marketing,   distribution,   and/or   sale    of the   Defendant    Manufacturers’

unreasonably dangerous products to consumers, such as the Plaintiff Parent.

  119.     Penn Medicine and Pennsylvania also knowingly allowed the Defendant Manufacturers’

 sales representatives to routinely misrepresent the risks and benefits of Defendants’ products to

 Pennsylvania       Hospital’s     healthcare    professionals     and     medical    staff,   including   the

 misrepresentation that premature babies would not grow adequately with human milk and human

 milk products and that use of donor milk was not advised for premature infants.

  120.     Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

  time that they acquired, distributed, and supplied the Defendant Manufacturers’ cow’s milk-based

  infant products that these products significantly increased the risk of NEC, serious injury, and

  death.

  121.     Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly and

  breached its duty by:

              a.    Failing to warn that cow’s milk-based products significantly increase the risk of

                    NEC, severe injury, and death in those babies; and/or

              b.    Failing to warn that cow’s milk-based products are unsafe and/or contraindicated

                    for premature infants like the Injured Infant; and/or

              ¢.    Failing to warm or instruct its healthcare professionals and medical staff on the

                    information that should be provided to parents in order to make an informed choice

                    about whether to allow their babies to be fed the Defendant Manufacturers’

                    products, notwithstanding their substantial risk; and/or




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             d.     Failing to provide its healthcare professionals and medical staff with the well-

                    researched and well-established studies that link cow's mi Ik-based products to NEC

                    and death in premature infants; and/or

             e.     Failing to provide a warning in a method reasonably calculated/expected to reach

                    the parents of newborns; and/or

             f.     Failing to provide statistical evidence showing the magnitude of increased risk of

                    NEC in premature infants associated with cow’s milk-based products; and/or

             g.     Failing   to prevent      the Defendant      Manufacturers’      sales     representatives    from

                    misrepresenting to Pennsylvania Hospital’s healthcare professionals and medical

                     staff that premature babies would not grow adequately with human milk and human

                     milk products and that use of donor milk was not advised for premature infants.

122.      Reasonable hospitals under the same or similar circumstances would have warned of the

above risks, would have instructed their healthcare professionals and medical staff—as well as

patients—on the safe use of the Defendant Manufacturers’ products, and would have restricted the

ability   of the       Defendant     Manufacturers’      sales    representatives    to      market    the   Defendant

Manufacturers’ unreasonably dangerous products without adequate warning.

123.      Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.

124.      Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to warn its medical providers and patients about the Defendant Manufacturers’ unreasonably

dangerous         products,   the   Injured   Infant   would     not   have   been   exposed      to   the   Defendant

Manufacturers’ cow’s milk-based products.




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125.       As a direct and proximate result of Penn Medicine and Pennsylvania Hospital’s failure to

warn of the danger posed by the Defendant Manufacturers’ unreasonably dangerous cow’s milk-

based products, the Injured Infant was fed the Defendant Manufacturers’                cow’s milk-based

products, which caused and/or increased the risk of developing NEC and significant injuries.

126.       As a further direct and proximate result of Penn Medicine and Pennsylvania            failure to

warn of the Defendant Manufacturers’           unreasonably dangerous products, the Plaintiff Parent

suffered significant emotional distress, loss of income, and/or other harms.            Her life has been

significantly affected by the Injured Infant’s injuries.


WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania Hospital as

follows:

               a.   For compensatory damages in an amount to be proven at trial and in excess of

                    $50,000 and this Court’s arbitrational limit;

               b.   For damages for past, present, and future emotional distress, loss of enjoyment of

                    life, pain and suffering, mental anguish, and other non-economic losses sustained

                    as a result of Penn Medicine’s conduct;

               c.   For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                    and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                    related to medical or mental health treatment which have or may be recommended,

               d.   For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                    resulting from Penn Medicine and Pennsylvania Hospital’s oppressive,          reckless,

                    and/or malicious conduct, as permitted by law;

               e.   For interest as permitted by law;




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              f.   For attorney’s fees, expenses, and recoverable costs incurred in connection with

                   this action; and

             -g.   For such other and further reliefas the Court deems proper. - -


          COUNT VII:       CORPORATE LIABILITY OF HEALTH-CARE PROVIDER
                         (Against Penn Medicine and Pennsylvania Hospital)

127.      Plaintiff incorporates by references each of the preceding paragraphs as if fully set forth

herein.

128.      At all relevant times, Penn Medicine and Pennsylvania Hospital owed a duty of care to the

Injured Infant to ensure their safety and well-being while the Injured Infant was under the care of

Pennsylvania Hospital staff.          Specifically, Penn Medicine and Pennsylvania Hospital had a duty

to the Injured Infant to formulate, adopt, and enforce adequate rules and policies to ensure quality

care for the Injured Infant. Further, Penn Medicine and Pennsylvania Hospital owed a duty to the

Injured Infant to oversee its healthcare professionals and medical staff that provided patient care

to the Injured Infant.

129.      Penn Medicine and Pennsylvania Hospital owed a duty to its patients, and the Injured Infant

in particular, to formulate, adopt, and enforce adequate rules and policies for the purchase, supply,

distribution, and use of products that were free of unreasonable risk of harm when used in their

intended manner and for their intended purpose and ensured quality care for the Injured Infant.

130.      At all times relevant to this action, the Injured Infant used the cow’s milk-based products

purchased, supplied, and/or distributed by Penn Medicine and Pennsylvania Hospital in their

intended manner and for their intended purpose.

131.      Moreover, at all relevant times, Penn Medicine and Pennsylvania Hospital knowingly

authorized the Defendant Manufacturers’ sales representatives to market, advertise, distribute,




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and/or sell their products                at Pennsylvania      Hospital.          The     Defendant      Manufacturers’       sales

representatives were encouraged to interact with Pennsylvania Hospital's healthcare professionals

and medical staff. These interactions provided the Defendant Manufacturers’ sales representatives

an opportunity to co-opt Pennsylvania Hospital's healthcare professionals and medical staff into

assisting     with     the      marketing,    distribution,     and/or     sale         of the   Defendant        Manufacturers’

unreasonably dangerous products.

132.    Penn         Medicine       and    Pennsylvania       Hospital     also     knowingly          allowed     the Defendant

Manufacturers’          sales     representatives    to routinely          misrepresent          the   risks     and   benefits   of

Defendants’      products to Pennsylvania Hospital’s healthcare professionals and medical staff,

including the misrepresentation that premature babies would not grow adequately with human milk

and human milk products and that use of donor milk was not advised for premature infants.

133.        Penn Medicine and Pennsylvania Hospital knew or reasonably should have known at the

time that it formulated, adopted, and enforced its rules for the acquisition, distribution, and supply

of the Defendant Manufacturers’ cow’s milk-based infant products, including the access afforded

the Defendant Manufacturer’s sales representatives, that these products significantly increased the

risk of NEC, serious injury, and death for premature infants.

134.        Penn Medicine and Pennsylvania Hospital knew or reasonably should have known that its

medical professionals and the parents of premature infants, including the Plaintiff Parent, would

not have realized the risks associated with feeding cow’s milk-based formula to premature infants.

135.        Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly and

breached its duty by:




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           Failing to formulate, adopt, and enforce adequate rules and policies that would have

           restricted the use of cow’s milk-based products for feeding premature babies;

           and/or

         . Failing to formulate, adopt, and enforce adequate rules and policies that warned the

           Plaintiff Parent that cow’s milk-based products significantly increase the risk of

           NEC, severe injury, and death in premature babies, like the Injured Infant; and/or

           Failing to formulate, adopt, and enforce adequate rules and policies that warned its

           healthcare professionals and medical staff that cow’s milk-based products are

           unsafe and/or contraindicated for premature babies like the Injured Infant; and/or

         . Failing to formulate, adopt, and enforce adequate rules and policies to instruct its

           healthcare professionals    and medical    staff on the information that should be

           provided to parents in order to make an informed choice about whether to allow

           their babies to be fed the Defendant Manufacturers’ products, notwithstanding their

           substantial risk; and/or

           Failing to formulate, adopt, and enforce adequate rules and policies to provide its

           healthcare professionals and medical staff with the well-researched and well-

           established studies that link cow’s milk-based products to NEC           and death in

           premature infants; and/or

           Failing to formulate, adopt, and enforce adequate rules and policies to ensure a

           warning     in a method    reasonably calculated/expected    to reach the parents    of

           newborns, like the Plaintiff Parent; and/or

         . Failing to formulate, adopt, and enforce adequate rules and policies to prevent the

           Defendant      Manufacturers’    sales    representative   from   misrepresenting    to




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                  Pennsylvania Hospital’s healthcare professionals and medical staff that premature

                  babies would not grow adequately with human milk and human milk products and

                  that use of donor milk was not advised for premature infants; and/or

            h.    Failing to establish a donor milk program that was sufficient to meet the needs of

                  the premature babies, like the Injured Infant.

136.    A reasonable hospital under the same or similar circumstances would have formulated,

adopted, and enforced adequate policies, and rules to restrict the feeding of cow’s milk-based

products to premature babies, including developing an adequate donor milk program, instructing

its healthcare professionals and medical staff on the safe use of Defendants Manufacturers’ cow’s

milk-based products, and restricting the marketing of the Defendant Manufacturers’ unreasonably

dangerous products to its healthcare professionals, medical staff, and parents of premature infants

under its care.

137.    Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

duty to formulate, adopt, and enforce adequate rules and policies to ensure the quality care of its

patients, the Injured Infant would not have been exposed to the Defendant Manufacturers’ cow’s

milk-based products.

138.    As a direct and proximate result of Penn Medicine and Pennsylvania Hospital failure to

formulate and enforce adequate policies and rules related to the danger posed by the Defendant

Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

developing NEC and significant injuries.

139.    As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital

negligent and reckless conduct the Plaintiff Parent suffered significant emotional distress, loss of




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income, and/or other harms.          Her life has been significantly affected by the Injured Infant’s

injuries.

140.        In the alternative, Penn Medicine and Pennsylvania Hospital owed a duty to its patients,

and the Injured Infant in particular, to oversee the practicing healthcare professionals and medical

staff that provided the products at issue to infants under Pennsylvania Hospital's care, including

the Injured Infant.

141.        Penn Medicine and Pennsylvania Hospital employed or contracted with the healthcare

professionals and medical staff at Pennsylvania Hospital and was responsible for overseeing those

individuals during their treatment of the Injured Infant.

142.        Nonetheless, Penn Medicine and Pennsylvania Hospital acted negligently, recklessly and

breached its duty by:

                a.   Failing to oversee its healthcare professionals and medical staff on their use of

                     Cow's milk-based products for feeding premature babies; and/or

                b.   Failing to warn or instruct its healthcare professionals and medical staff that cow’s

                     milk-based products significantly increase the risk of NEC, severe injury, and death

                     in those babies; and/or

                ¢.   Failing to warn or instruct its healthcare professionals and medical staff that cow’s

                     milk-based products are unsafe and/or contraindicated for premature babies like the

                     Injured Infant; and/or

                d.   Failing to oversee its healthcare professionals and medical staff to restrict their

                     feeding of cow’s milk-based products to premature babies; and/or

                e.   Failing to warn or instruct its healthcare professionals and medical staff on the

                     information that should be provided to parents in order to make an informed choice




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                about whether to allow their babies to be fed the Defendant Manufacturers’

                products, notwithstanding their substantial risk; and/or

          f     Failing to provide its healthcare professionals and medical staff with the well-

                researched and well-established studies that link cow’s milk-based products to NEC

                and death in premature infants; and/or

          g.    Failing to provide its healthcare professionals and medical staff with warnings

                 about   the   dangers   of the Defendants’    Manufacturers   products    in a method

                 reasonably calculated/expected to reach the parents of newborns; and/or

          h.     Failing to provide statistical evidence to its healthcare professionals and medical

                 staff showing     the magnitude   of increased risk of NEC      in premature    infants

                 associated with cow’s milk-based products; and/or

           i.    Failing to oversee its healthcare professionals and medical staff to ensure that the

                 Defendant Manufacturers’ sales representatives’ misrepresentations that premature

                 babies would not grow adequately with human milk and human milk products and

                 that use of donor milk was not advised for premature infants had not influenced the

                 use and/or misuse of the Defendant Manufacturers’ products.
                                                                                          the
143.   A reasonable hospital under the same or similar circumstances would have warned of
                                                                                              use of
above risks, would have instructed its healthcare professionals and medical staff on the safe
                                                                                    Defendant
the Defendant Manufacturers’ products, and would have restricted the ability of the

Manufacturers’     sales representatives     to market    the Defendant   Manufacturers’   unreasonably

dangerous products without adequate warning.




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 144.    A reasonable hospital under the same or similar circumstances would have overseen and

“managed its healthcare professionals and medical staff fo ensure that they received proper training

 and updating on the risks associated with feeding cow’s milk-based formula to premature infants.

 145.        Had Penn Medicine and Pennsylvania Hospital exercised reasonable care by satisfying its

 duty to oversee its healthcare professionals and medical staff who provide patient care, the Injured

 Infant would not have been exposed to the Defendant Manufacturers’ cow’s milk-based products.

 146.        As a direct and proximate result of Penn Medicine and Pennsylvania Hospital's failure to

 oversee its healthcare professionals and medical staff on the danger posed by the Defendant

 Manufacturers’ unreasonably dangerous cow’s milk-based products, the Injured Infant was fed the

 Defendant Manufacturers’ cow’s milk-based products, which caused and/or increased the risk of

 developing NEC and significant injuries.

 147.        As a further direct and proximate result of Penn Medicine and Pennsylvania Hospital's

 negligent and reckless conduct, , the Plaintiff Parent suffered significant emotional distress, loss

 of income, and/or other harms.          Her life has been significantly affected by the Injured Infant's

 injuries.

 WHEREFORE, Plaintiff demands judgment against Penn Medicine and Pennsylvania Hospital as

 follows:

                 a.   For compensatory damages in an amount to be proven at trial and in excess of

                      $50,000 and this Court’s arbitrational limit;

                 b.   For damages for past, present, and future emotional distress, loss of enjoyment of

                      life, pain and suffering, mental anguish, and other non-economic losses sustained

                      as a result of Penn Medicine and Pennsylvania Hospital's conduct;




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          c.    For past, present, and future out-of-pocket costs, lost income and/or lost revenue,

                and/or lost profits, and/or lost business opportunity, lost earning capacity, and costs

                related to medical or mental health treatment which have or may be recommended;

          d.    For punitive damages in excess of $50,000 and this Court’s arbitrational limit

                resulting from Penn Medicine’s oppressive, fraudulent, and/or malicious conduct,

                as permitted by law;

          e.    For interest as permitted by law;

          f.    For attorney’s fees, expenses, and recoverable costs incurred in connection with

                this action; and

           g.   For such other and further relief as the Court deems proper.


                                   DEMAND FOR JURY TRIAL

148.   Plaintiff hereby demands a jury trial for all claims triable.



Dated: March 24, 2022

                                                         Respectfully submitted,

                                                         ANAPOL WEISS




                                                          Je
                                                         Tracy Finken
                                                          130 N. 18" Street, Suite 1600
                                                          Philadelphia, PA 19103
                                                          Phone: (215) 735-1130
                                                          Email: tfinken@anapolweiss.com

                                                          KELLER LENKNER LLC
                                                          Ashley Keller (pro hac vice forthcoming)
                                                          150 N. Riverside Plaza, Suite 4100
                                                          Chicago, Illinois 60606



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                                               Telephone: (312) 741-5220
                                               Fax: (312) 971-3502
                                               Email: ack@kellerlenkner.com

                                           ~   WALSH Law PLLC
                                               Alex Walsh (pro hac vice forthcoming)
                                               1050 Connecticut Ave, NW, Suite 500
                                               Washington, D.C. 20036
                                               Telephone: (202) 780-4127
                                               Fax: (202) 780-3678
                                               Email: awalsh@alexwalshlaw.com


                                               Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2022, 1 electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that the foregoing document is being served on all
counsel of record or parties registered to receive CM/ECF Electronic Filings.




                                                        “1


                                             Tracy Finken




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                                          VERIFICATION

          I, the undersigned, Tracy Finken, verify that the statements made in this document are

true and correct to the best of my knowledge, information, and belief,   I understand that false

  statements herein are made subject to the penalties of 18 Pa. C.S. §4904, relating to unsworn

  falsification to authorities.




  Date:   March 24, 2022
                                                                  "A
                                                       Tracy Finken




                                                  49

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ANAPOL WEISS                                                               Filed and Attested by the
BY: TRACY FINKEN, ESQUIRE                                                 Office of Judicial Records
Identification Number: 82258                                                  29 APR 2022 12:04 pm
One Logan Square                                                                     S. RICE
130 N. 18th Street, Suite 1600
Philadelphia, PA 19103
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Email: tfinken@anapolweiss.com                                  ATTORNEY FOR PLAINTIFFS

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BY: Ashley Keller (pro hac vice forthcoming)
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Telephone: (312) 741-5220
Fax: (312) 971-3502
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1050 Connecticut Ave, NW, Suite 500
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Telephone: (202) 780-4127
Fax: (202) 780-3678
Email: awalsh@alexwalshlaw.com                   ATTORNEY FOR PLAINTIFFS
______________________________________________________________________________
TERRAINE ABDULLAH, on her own behalf        :    COURT OF COMMON PLEAS
and as Parent and Natural Guardian of H.S., :    PHILADELPHIA COUNTY
a Minor,                                    :
                    Plaintiffs              :
       v.                                   :    CIVIL ACTION
                                            :
MEAD JOHNSON & COMPANY, LLC, et al. :            NO.: 220302583
                    Defendants.             :
__________________________________________________________________________
                               AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA                           )
COUNTY OF PHILADELPHIA                                 )
       TRACY FINKEN, ESQUIRE, being duly sworn according to law, deposes and says that
she is the attorney for the Plaintiff above named action and that the facts set forth in the Affidavit
as set forth below are true and correct to the best of her knowledge, information and belief.
       1.      On March 24, 2022, a Civil Action Complaint was filed in the above matter in the
Court of Common Pleas of Philadelphia County, Pennsylvania.
       2.      On or around April 15, 2022, Defendants, Mead Johnson & Company, LLC and
Mead Johnson Nutrition Company, were served with a true and correct copy of the Complaint in
this matter by certified mail, return receipt requested #7020 1810 0002 1257 5326 and #7020


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1810 0002 1257 5333. A true and correct copy of the transmittal letter as well as the return
receipt is attached hereto.
       3.      I hereby state that I am the attorney for the within named Plaintiff and the facts set
forth in the foregoing Affidavit, are true and correct to the best of my knowledge, information
and belief; and this statement is made subject to the penalties of 18 Pa. C.S.A. Sec. 4904 relating
to unsworn falsification to authorities.




                                              _______________________________________
                                              TRACY FINKEN, ESQUIRE




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                       EXHIBIT B




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Case Description

 Case ID:      220302583
 Case Caption: ABDULLAH ETAL VS MEAD JOHNSON & COMPANY, LLC, ETAL
 Filing Date:  Thursday , March 24th, 2022
 Court:        MAJOR JURY-COMPLEX
 Location:     City Hall
 Jury:         JURY
 Case Type:    PRODUCT LIABILITY
 Status:       WAITING TO LIST CASE MGMT CONF

Related Cases

No related cases were found.

Case Event Schedule

No case events were found.

Case motions

                                          Control
           Motion          Assign/Date                Date/Received     Judge
                                            No
PRELIMINARY                pending       22043304     19-APR-2022 ANDERS, DANIEL
OBJECTIONS                                                        J



Case Parties

                                      Expn
   Seq #                      Assoc                   Type            Name
                                      Date
       1                                      ATTORNEY          FINKEN, TRACY A
                                              FOR
                                              PLAINTIFF
Address: ONE LOGAN SQUARE             Aliases: none
         130 N. 18TH ST.
         SUITE 1600
         PHILADELPHIA PA 19103
         (215)735-0773
         tfinken@anapolweiss.com




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      2                           1           PLAINTIFF    ABDULLAH,
                                                           TERRAINE
Address: 335 PASSMORE STREET          Aliases: none
         PHILADELPHIA PA 19111


      3                           1           MINOR -      S, H
                                              PLAINTIFF
Address: 335 PASSMORE STREET          Aliases: none
         PHILADELPHIA PA 19111


      4                                       DEFENDANT    MEAD JOHNSON &
                                                           COMPANY LLC
Address: ILLINOIS CORPORATION         Aliases: none
         SERVICE C
         801 ADLAI STEVENSON
         DRIVE
         SPRINGFIELD IL 62703


      5                                       DEFENDANT    MEAD JOHNSON
                                                           NUTRITION
                                                           COMPANY
Address: ILLINOIS CORPORATION         Aliases: none
         SERVICE C
         801 ADLAI STEVENSON
         DRIVE
         SPRINGFIELD IL 62703


      6                                       DEFENDANT    ABBOTT
                                                           LABORATORIES
Address: CT CORPORATION          Aliases: none
         SYSTEM
         208 SO. LASSALLE STREET
         SUITE 814
         CHICAGO IL 60604


      7                          10           DEFENDANT    PA HOSPITAL OF
                                                           THE UNIVERSITY OF
                                                           PA HEALTH SYSTEM
Address: 3400 CIVIC CENTER BLVD       Aliases: PENNSYLVANIA HOSPITAL
         PHILADELPHIA PA 19104




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       8                          10            DEFENDANT    TRUSTEES OF THE
                                                             UNIVERSITY OF
                                                             PENNSYLVANIA
Address: 133 SOUTH 36TH STREET         Aliases: PENN MEDICINE
         PHILADELPHIA PA 19104


       9                                        TEAM         ANDERS, DANIEL J
                                                LEADER
Address: 529 CITY HALL                 Aliases: none
         PHILADELPHIA PA 19107


      10                                        ATTORNEY     YOUNG, JAMES A
                                                FOR
                                                DEFENDANT
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         BOULEVARD
         10TH FLOOR
         PHILADELPHIA PA 19103
         (215)587-1625
         jayoung@burnswhite.com


      11                          10            ATTORNEY     MARGULIES,
                                                FOR          RICHARD S
                                                DEFENDANT
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         1880 JFK BLVD., 10TH FLR
         PHILADELPHIA PA 19103
         (215)587-1600
         rsmargulies@burnswhite.com



Docket Entries

    Filing                                                Disposition     Approval/
                 Docket Type               Filing Party
  Date/Time                                                  Amount       Entry Date
24-MAR-2022 ACTIVE CASE                                                 25-MAR-2022
01:57 PM                                                                09:34 AM
      Docket
             E-Filing Number: 2203054444
      Entry:




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24-MAR-2022 COMMENCEMENT                   FINKEN, TRACY                        25-MAR-2022
01:57 PM    CIVIL ACTION JURY              A                                    09:34 AM
 Documents:     Click link(s) to preview/purchase the documents
              Final Cover

     Docket
            none.
     Entry:


24-MAR-2022 COMPLAINT FILED                FINKEN, TRACY                        25-MAR-2022
01:57 PM    NOTICE GIVEN                   A                                    09:34 AM
 Documents:     Click link(s) to preview/purchase the documents
              FINAL - Abdullah Complaint - 2022.03.TBD (Pennsylvania Hospital) (Final) (003)
              Draft 2_(4623119_v1)_(4623230_v1).pdf

     Docket COMPLAINT WITH NOTICE TO DEFEND WITHIN TWENTY (20) DAYS
     Entry: AFTER SERVICE IN ACCORDANCE WITH RULE 1018.1 FILED.


24-MAR-2022 JURY TRIAL                     FINKEN, TRACY                        25-MAR-2022
01:57 PM    PERFECTED                      A                                    09:34 AM
     Docket
            12 JURORS REQUESTED.
     Entry:


24-MAR-2022 WAITING TO LIST                FINKEN, TRACY                        25-MAR-2022
01:57 PM    CASE MGMT CONF                 A                                    09:34 AM
     Docket
            none.
     Entry:


06-APR-2022 AFFIDAVIT OF                                                        08-APR-2022
09:48 AM    SERVICE FILED                                                       10:33 AM
 Documents:     Click link(s) to preview/purchase the documents
              186319.02_AFFIDAVIT_CDB0025C-D6BA-FF47-BC78-5C38A99B633F.pdf
            AFFIDAVIT OF SERVICE OF CIVIL ACTION COMPLAINT UPON
     Docket
            TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA BY PERSONAL
     Entry:
            SERVICE ON 03/30/2022 FILED.


06-APR-2022 AFFIDAVIT OF                                                        08-APR-2022
10:13 AM    SERVICE FILED                                                       10:34 AM
 Documents:     Click link(s) to preview/purchase the documents
              186319.01_AFFIDAVIT_8DD01F64-5F51-A942-9C91-9CAAA8C95B47.pdf
            AFFIDAVIT OF SERVICE OF CIVIL ACTION COMPLAINT UPON PA
     Docket
            HOSPITAL OF THE UNIVERSITY OF PA HEALTH SYSTEM BY
     Entry:
            PERSONAL SERVICE ON 03/30/2022 FILED.



                                                                                         Case ID: 220302583
Case: 1:24-cv-11759
         Case 2:22-cv-01684
                    DocumentDocument
                            #: 1-1 Filed:
                                       1-210/31/24
                                             Filed 05/02/22
                                                    Page 378Page
                                                            of 5046 PageID
                                                                    of 6   #:386




18-APR-2022 ENTRY OF                        YOUNG, JAMES           18-APR-2022
12:07 PM    APPEARANCE                      A                      03:39 PM
 Documents:     Click link(s) to preview/purchase the documents
              Abdullah EOA.pdf
            ENTRY OF APPEARANCE OF RICHARD S MARGULIES AND JAMES A
     Docket YOUNG FILED. (FILED ON BEHALF OF TRUSTEES OF THE
     Entry: UNIVERSITY OF PENNSYLVANIA AND PA HOSPITAL OF THE
            UNIVERSITY OF PA HEALTH SYSTEM)


19-APR-2022 PRELIMINARY                     MARGULIES,             19-APR-2022
03:17 PM    OBJECTIONS                      RICHARD S              04:15 PM
 Documents:     Click link(s) to preview/purchase the documents
              Abdullah - Preliminary Objections to Complaint.pdf
            04-22043304 PRELIMINARY OBJECTIONS TO PLANTIFF'S COMPLAINT
     Docket FILED. RESPONSE DATE: 05/09/2022 (FILED ON BEHALF OF
     Entry: TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA AND PA
            HOSPITAL OF THE UNIVERSITY OF PA HEALTH SYSTEM)


26-APR-2022 NOTICE OF                       MARGULIES,             26-APR-2022
01:51 PM    INTENT/PARCP 1042.6             RICHARD S              02:18 PM
 Documents:     Click link(s) to preview/purchase the documents
              Abdullah - Notice of Intent to Non Pros.pdf

            NOTICE OF INTENT TO ENTER JUDGMENT OF NON PROS FOR
            FAILURE TO FILE CERTIFICATE OF MERIT TO TERRAINE
     Docket
            ABDULLAH AND H S. CERTIFICATE OF SERVICE ATTACHED. (FILED
     Entry:
            ON BEHALF OF TRUSTEES OF THE UNIVERSITY OF PENNSYLVANIA
            AND PA HOSPITAL OF THE UNIVERSITY OF PA HEALTH SYSTEM)


29-APR-2022 AFFIDAVIT OF                    FINKEN, TRACY          29-APR-2022
12:04 PM    SERVICE FILED                   A                      12:12 PM
 Documents:     Click link(s) to preview/purchase the documents
              Abdullah, Terraine - Service Affidavit.pdf
            AFFIDAVIT OF SERVICE OF PLAINTIFF'S COMPLAINT UPON MEAD
     Docket JOHNSON NUTRITION COMPANY AND MEAD JOHNSON &
     Entry: COMPANY LLC BY CERTIFIED MAIL ON 04/15/2022 FILED. (FILED ON
            BEHALF OF H S AND TERRAINE ABDULLAH)




                                                                         Case ID: 220302583
JS 44 (Rev. 10/20)   Case: 1:24-cv-11759
                              Case 2:22-cv-01684
                                         Document Document
                                                  #: 1-1
                                              CIVIL      Filed:
                                                      COVER  1-310/31/24
                                                                   Filed 05/02/22
                                                                 SHEET    Page 379Page
                                                                                  of 5041 PageID
                                                                                          of 1   #:387
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                       DEFENDANTS
       TERRAINE ABDULLAH, on her own behalf and as Parent                                                Mead Johnson & Company, LLC, Mead Johnson Nutrition Company, Abbott Laboratories,
                                                                                                         The Pennsylvania Hospital of The University Of Pennsylvania Health System d/b/a
       and Natural Guardian of H.S., a Minor,                                                            Pennsylvania Hospital, and The Trustees of The University of Pennsylvania d/b/a Penn Medicine

   (b) County of Residence of First Listed Plaintiff Philadelphia, PA                                   County of Residence of First Listed Defendant              Vanderburgh County, IN
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                               (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)           Attorneys (If Known)
       Tracy Finken, Anapol Weiss, One Logan Square, 130 N.            Samuel W. Silver, Schnader Harrison Segal & Lewis LLP,
                                                                       1600 Market Street, Suite 3600, Philadelphia, PA 19103
       18th St., Ste. 1600, Philadelphia, PA 19103 | (215)             (215) 751-2309/2451

       735-0773
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                     Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                    of Business In This State

  2    U.S. Government              ✖ 4    Diversity                                           Citizen of Another State            2          2   Incorporated and Principal Place           5    ✖ 5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                          of Business In Another State

                                                                                               Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                 Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                  Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                           FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY               625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane               ✖ 365 Personal Injury -              of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability          690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability               367 Health Care/                                                                                      400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                  PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                  820 Copyrights                   430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                                830 Patent                       450 Commerce
  152 Recovery of Defaulted                Liability               368 Asbestos Personal                                                835 Patent - Abbreviated         460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                       New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                        840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                        LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle            371 Truth in Lending               Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability        380 Other Personal             720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                   385 Property Damage            740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -            Product Liability          751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                         Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS              790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                 791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                   463 Alien Detainee                 Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                               870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                     Sentence                                                             or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                         871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                  IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment               Other:                         462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other           465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                   Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖ 2   Removed from                 3     Remanded from              4 Reinstated or             5 Transferred from       6 Multidistrict                    8 Multidistrict
    Proceeding                 State Court                        Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                           (specify)                  Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. §§ 1332, 1441, and 1446
VI. CAUSE OF ACTION Brief description of cause:
                                       Products liability cause of action targeting preterm infant formula.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                       DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                          JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE          (SEE ATTACHED ADDENDUM)                              DOCKET NUMBER 1:22-cv-71 (N.D. Ill.) (MDL No. 3026
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
May 2, 2022                                                          /s/ John Timmer
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                   JUDGE                           MAG. JUDGE   Case ID: 220302583
  Case: 1:24-cv-11759
           Case 2:22-cv-01684
                      DocumentDocument
                              #: 1-1 Filed:
                                         1-410/31/24
                                               Filed 05/02/22
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TERRAINE ABDULLAH, on her own behalf                 Civil Action No. __________________
and as Parent and Natural Guardian of H.S., a
Minor,                                                   (Formerly Case ID No. 220302583, Court of
                                                         Common Pleas Philadelphia County)
                       Plaintiffs,

       v.

MEAD JOHNSON & COMPANY, LLC,
MEAD JOHNSON NUTRITION COMPANY,
ABBOTT LABORATORIES, THE
PENNSYLVANIA HOSPITAL OF THE
UNIVERSITY OF PENNSYLVANIA
HEALTH SYSTEM d/b/a PENNSYLVANIA
HOSPITAL, and THE TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA d/b/a
PENN MEDICINE,

                       Defendants.




                        ADDENDUM REGARDING RELATED CASES
        In re: Abbott Laboratories, et al., Preterm Infant Nutrition Products Liability Litigation,

 Multidistrict Litigation (“MDL”) 3026, is currently pending and involves related cases. Abbott

 Laboratories believes the following cases are, or will be, included in MDL 3026 before Chief

 Judge Pallmeyer in the U.S. District Court for the Northern District of Illinois as a result of the

 Judicial Panel on Multidistrict Litigation’s transfer and conditional transfer orders:


  Plaintiff(s) Name(s)                                                  Case Number
  Adams, Kamekia                                                        2:22-cv-00036
  Bookhart, Kimberlee                                                   4:22-cv-00032
  Brown, Deondrick, Sr.; Etienne, Rebekah                               3:21-cv-00687
  Childs, Alyhana                                                       1:22-cv-00711
  Clarke, Samatha                                                       4:22-cv-00144
  Crawford, Candace                                                     1:21-cv-00201
  Davis, Patriece                                                       5:21-cv-00481



                                                                                                 Case ID: 220302583
 Case: 1:24-cv-11759
          Case 2:22-cv-01684
                     DocumentDocument
                             #: 1-1 Filed:
                                        1-410/31/24
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 Plaintiff(s) Name(s)                                                             Case Number
 De Los Santos, Justin                                                            1:22-cv-01089
 Devine, Karrie                                                                   1:22-cv-01197
 Donaldson, Rebecca                                                               4:22-cv-00147
 Feliciano, Selena                                                                1:22-cv-01439
 George, Ashia                                                                    1:20-cv-02537
 Grosshuesh, Abigail                                                              1:22-cv-00363
 Gschwend, Jessica; Hodges, Justin                                                1:22-cv-00197
 Hall, Shannon E.                                                                 1:22-cv-00071
 Hughes, Tatyana                                                                  4:22-cv-00157
 Hunte, Anika; Peterson, Dane                                                     3:20-cv-01626
 Kelton, Mary                                                                     5:21-cv-02145
 Koeth, Katina                                                                    1:21-cv-06234
 LaFond, Lisa; LaFond, Ashley; and LaFond, Angela1                                2:22-cv-00724
 Lincoln, Brianna                                                                 4:22-cv-00033
 Littles, Lashanae                                                                5:21-cv-02146
 Mar, Ericka                                                                      1:22-cv-00232
 McKinnon, Lisa; McKinnon, Todd                                                   2:22-cv-00422
 Medley, Darius; Robinson, Chakoya                                                2:22-cv-00273
 Osmun, Klaire; Osmun, Joshua                                                     3:22-cv-05018
 Payne, Kerrie; Church, Eric Sr.                                                  4:22-cv-00230
 Pariani, Margurite2                                                              2:22-cv-00723
 Perkins, Laurie Lynn McCubbin; Perkins, Michael                                  2:22-cv-00658
 Poston, Stephanie                                                                4:22-cv-00158
 Rhodes, Danitra                                                                  1:22-cv-00239
 Richardson, Latrice                                                              2:21-cv-09932
 Rinehart, Anthony; Rinehart, Jessica                                             1:22-cv-00192
 Sanchez Juan, Sara Melissa                                                       6:21-cv-00502
 Shindel, Erika                                                                   1:22-cv-00561
 Silvers, Stephanie                                                               4:22-cv-00159
 Stuper, Megan                                                                    1:22-cv-00204
 Taylor, Dorothy                                                                  1:22-cv-00203
 Thomas, Trisha; Johnson-Merrida, Ameerah; Maeder, Nila;
 Eberhart, Maria; Viera, Virjinia; Forrest, Lisa; and Madison,
 Sylvia3                                                                          4:22-cv-002460



         1
           Abbott removed LaFond, et al. to the United States District Court for the Eastern District of California on
April 27, 2022. While currently assigned to Judge Troy L Nunley, Abbott will be filing a “tag-along” order shortly.
         2
          Abbott removed Pariani to the United States District Court for the Eastern District of California on April
27, 2022. While currently assigned to Judge Troy L Nunley, Abbott will be filing a “tag-along” order shortly.
         3
           Abbott removed Thomas, et al. to the United States District Court for the Northern District of California
on April 21, 2022. While currently assigned to Judge Haywood S Gilliam, Jr, Abbott filed a “tag-along” on April
27, 2022.




                                                                                                            Case ID: 220302583
 Case: 1:24-cv-11759
          Case 2:22-cv-01684
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                             #: 1-1 Filed:
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                                              Filed 05/02/22
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 Plaintiff(s) Name(s)                                                              Case Number
 Tracy, Kristine, Roesler, Alyssa, Barnes, Amber, Johson,
 Robneisha, Williams, Maria, Nelmes, Leanne and Joshua4                            3:22-cv-002480
 Walker, Hope                                                                      3:22-cv-00174
 Hartwick, Kami; Michelle Perez; Ashley Gutierrez; and Malika
 Gillespie5                                                                        3:22-cv-02598




         4
           Abbott removed Tracy, et al. to the United States District Court for the Northern District of California on
April 22, 2022. While currently assigned to Judge Yvonne Gonzalez Rogers, Abbott filed a “tag-along” on April
27, 2022.
         5
          Abbott removed Hartwick, et al. to the United States District Court for the Northern District of California
on April 27, 2022. While currently assigned to Judge Sallie Kim, Abbott filed a “tag-along” on April 27, 2022.




                                                                                                            Case ID: 220302583
                    Case: 1:24-cv-11759
                             Case 2:22-cv-01684
                                        Document Document
                                                  #: 1-1
                                              UNITED     Filed:
                                                     STATES  1-510/31/24
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                                                             DISTRICT    05/02/22
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                                                                      COURT       of 5041 PageID
                                                                                          of 1   #:391
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                            335 Passmore Street, Philadelphia, PA 19111
Address of Plaintiff: ______________________________________________________________________________________________
                                           100 Abbott Park Road, Abbott Park, IL 60064
Address of Defendant: ____________________________________________________________________________________________
                                                            Pennsylvania Hospital; Philadelphia, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                          Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                         Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                 Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                         Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case              is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      05/02/2022
DATE: __________________________________                      ____VJohn Timmer (PA ID No. 89814)_____________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                   ✔    7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                             ARBITRATION CERTIFICATION
                                                   (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

               John Timmer
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:


     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


       05/02/2022
DATE: __________________________________                      ___/s/     John Timmer (PA ID No. 9814)_____________
                                                                                                            Attorney-at-Law / Pro Se Plaintiff        Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
                                                                                                                                                           Case ID: 220302583
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 384 of 504 PageID #:392
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 385 of 504 PageID #:393
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 386 of 504 PageID #:394
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 387 of 504 PageID #:395
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 388 of 504 PageID #:396
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 389 of 504 PageID #:397
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 390 of 504 PageID #:398
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 391 of 504 PageID #:399
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 392 of 504 PageID #:400




                   EXHIBIT A-11
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 393 of 504 PageID #:401
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 394 of 504 PageID #:402
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 395 of 504 PageID #:403
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 396 of 504 PageID #:404




                   EXHIBIT A-12
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 397 of 504 PageID #:405
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 398 of 504 PageID #:406
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 399 of 504 PageID #:407
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 400 of 504 PageID #:408
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 401 of 504 PageID #:409
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 402 of 504 PageID #:410
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 403 of 504 PageID #:411
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 404 of 504 PageID #:412
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 405 of 504 PageID #:413
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 406 of 504 PageID #:414
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 407 of 504 PageID #:415
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 408 of 504 PageID #:416
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 409 of 504 PageID #:417
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 410 of 504 PageID #:418
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 411 of 504 PageID #:419
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 412 of 504 PageID #:420




                   EXHIBIT A-13
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 413 of 504 PageID #:421




ANAPOL WEISS
BY: PAOLA PEARSON, ESQUIRE (I.D. 318356)
ppearson@anapolweiss.com
130 N. 18TH ST., SUITE 1600
PHILADELPHIA, PA 19103                    ATTORNEY FOR PLAINTIFFS
TERRAINE ABDULLAH, on her own             :   COURT OF COMMON PLEAS
Behalf and as Parent and Natural Guardian :   PHILADELPHIA COUNTY
of H.S., a Minor                          :
335 Passmore Street                       :
Philadelphia, PA 19111                    :
                      Plaintiffs          :
        v.                                :    CIVIL ACTION
                                          :
MEAD JOHNSON & COMPANY, LLC               :
Illinois Corporation Service Co.          :
801 Adlai Stevenson Drive                 :
Springfield, IL 62703                     :
                                          :    NO. 220302583
                                          :
MEAD JOHNSON NUTRITION COMPANY :
Illinois Corporation Service Co.          :
801 Adlai Stevenson Drive                 :
Springfield, IL 62703                     :
                                          :
                                          :
                                          :
ABBOTT LABORATORIES                       :
CT Corporation System                     :
208 So. Lasalle Street, Suite 814         :
Chicago, IL 60604                         :
                                          :
                                          :
THE PENNSYLVANIA HOSPITAL OF              :
THE UNIVERSITY OF PENNSYLVANIA            :
HEALTH SYSTEM d/b/a PENNSYLVANIA          :
HOSPITAL                                  :
3400 Civic Center Blvd.                   :
Philadelphia, PA 19104                    :
                                          :
                                          :
THE TRUSTEES OF THE UNIVERSITY OF :
PENNSYLVANIA d/b/a PENN MEDICINE          :
              th
133 South 36 Street                       :
Philadelphia, PA 19104                    :
                                          :
                      Defendants          :    JURY TRIAL DEMANDED

                                        1
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 414 of 504 PageID #:422




                                ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter the appearance of the undersigned for Plaintiffs, Terraine Abdullah, on her

own behalf and as Parent and Natural Guardian of H.S., a minor, in the above-captioned matter.



Dated: January 10, 2023                                   ANAPOL WEISS


                                                          /s/ Paola Pearson__________
                                                          Paola Pearson (PA #318356)
                                                          130 N. 18th Street – Suite 1600
                                                          Philadelphia, PA 19103
                                                          Tel: (215) 790-4554
                                                          Fax: (215) 875-7719
                                                          ppearson@anapolweiss.com




                                               2
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 415 of 504 PageID #:423




                               CERTIFICATE OF SERVICE

       I, Paola Pearson, hereby certify that on this 10th day of January 2023, the foregoing Entry

of Appearance was filed and made available via ECF to all counsel of record.




                                                    By:     /s/ Paola Pearson____
                                                            Paola Pearson, Esquire




                                                3
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 416 of 504 PageID #:424




                   EXHIBIT A-14
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 417 of 504 PageID #:425




        IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                      TRIAL DIVISION CIVIL SECTION

TERRAINE ABDULLAH, on her own behalf :                    MARCH TERM 2022
and as Parent and Natural Guardian of H.S., a :
Minor,                                        :
                                              :           NO. 220302583
                                  Plaintiffs, :
                                              :
                                              :
             v.
                                              :
                                              :
MEAD JOHNSON & COMPANY LLC;                   :
MEAD JOHNSON NUTRITION COMPANY; :
ABBOTT LABORATORIES; THE                      :
PENNSYLVANIA HOSPITAL OF THE                  :
UNIVERSITY OF PENNSYLVANIA                    :
HEALTH SYSTEM, d/b/a PENNSYLVANIA :
HOSPITAL; and THE TRUSTEES OF THE :
UNIVERSITY OF PENNSYLVANIA, d/b/a :
PENN MEDICINE,                                :
                                              :
                                Defendants.


                                ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter the appearance of Jennifer B. Flannery in the above-captioned matter as

counsel for Defendant Abbott Laboratories.



 January 10, 2023                                 Respectfully Submitted,

                                                  /s/ Jennifer B. Flannery
                                                  Jennifer B. Flannery
                                                  PA Bar No. 74546
                                                  Jones Day
                                                  1221 Peachtree Street, N.E.
                                                  Suite 400
                                                  Atlanta, Georgia 30361-3053
                                                  404.581.8008
                                                  jbflannery@jonesday.com
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 418 of 504 PageID #:426




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that she caused a copy of the foregoing Entry of

Appearance to be served upon all counsel of record via electronic filing on January 10, 2023.


                                                    /s/ Ronni E. Fuchs
                                                        Ronni E. Fuchs
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 419 of 504 PageID #:427




                   EXHIBIT A-15
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 420 of 504 PageID #:428
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 421 of 504 PageID #:429




                   EXHIBIT A-16
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 422 of 504 PageID #:430




 BY:                     , Esquire
        Meaghann C. Porth, Esquire
        Ryan J. O Neil, Esquire
 Attorney I.D. No.: 29053/307629/314034
 1205 Westlakes Drive, Suite 330
 Berwyn, PA 19312
 (610) 964-1900
 (610) 964-1981
 Attorneys for Defendant,
 Abbott Laboratories

 TERRAINE ABDULLAH, on her own Behalf :                  COURT OF COMMON PLEAS
 and as Parent and Natural Guardian of H.S., a
                                      :                  PHILADELPHIA COUNTY
 minor,                               :
                                      :                  CIVIL DIVISION - LAW
                       Plaintiffs,    :
                                      :                  MARCH TERM, 2022
            v.                        :
                                      :                  NO.: 02583
 MEAD JOHNSON & COMPANY, LLC,         :
 MEAD JOHNSON NUTRITION COMPANY,      :
 ABBOTT LABORATORIES, THE             :
 PENNSYLVANIA HOSPITAL OF THE         :
 UNIVERSITY OF PENNSYLVANIA HEALTH :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL :
 and THE TRUSTEES OF THE UNIVERSITY   :
 OF PENNSYLVANIA d/b/a PENN MEDICINE, :
                                      :
                       Defendants.    :

                                 ENTRY OF APPEARANCE

TO THE PROTHONOTARY:

       Kindly enter the appearances of                           , Meaghann C. Porth, Esquire

and Ryan J. O Neil, Esquire as counsel on behalf of Defendant, Abbott Laboratories with regard

to the above-captioned matter.

                                                   Respectfully submitted,

                                                   CAMPBELL CONROY &              EIL, P.C.

                                           By:     /s/
                                                                      , Esquire
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 423 of 504 PageID #:431




                                            Meaghann C. Porth, Esquire
                                            Ryan J. O Neil, Esquire
                                            Attorneys for Defendant,
DATED: January 11, 2023                     Abbott Laboratories




                                        2
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 424 of 504 PageID #:432




                   CERTIFICATE OF SERVICE AND COMPLIANCE

       I, the undersigned, hereby certify that I have electronically filed the foregoing Entry of

Appearance with the Prothonotary of the Court using the CM/ECF system which will send

notification of filing to those attorneys registered on this 11 th day of January, 2023.

       I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.



                                                       CAMPBELL CONROY &              EIL, P.C.



                                               By:     /s/
                                                                         , Esquire
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 425 of 504 PageID #:433




                   EXHIBIT A-17
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 426 of 504 PageID #:434
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 427 of 504 PageID #:435




                   EXHIBIT A-18
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 428 of 504 PageID #:436




BURNS WHITE LLC                                         Attorneys for Defendants,
By:    James A. Young, Esquire                          The Pennsylvania Hospital of the
       Richard S. Margulies, Esquire                    University of Pennsylvania Health
       Susan R. Engle, Esquire                          System d/b/a Pennsylvania Hospital and
Attorney ID Nos. 00213 / 62306 / 81671                  The Trustees of the University of
1880 John F. Kennedy Boulevard, 10th Floor              Pennsylvania d/b/a Penn Medicine
Philadelphia, PA 19103
(215) 587-1625 / 1628 / 1669
jayoung@burnswhite.com
rsmargulies@burnswhite.com
srengle@burnswhite.com

TERRAINE ABDULLAH, on his own behalf and            :   COURT OF COMMON PLEAS
as Parent and Natural Guardian of H.S., a Minor,    :   PHILADELPHIA COUNTY
                             Plaintiffs,            :
                                                    :   CIVIL ACTION
       v.                                           :
                                                    :   MARCH TERM 2022
MEAD JOHNSON & COMPANY, LLC, et al.,                :   NO. 2583
                   Defendants.                      :

                          PRAECIPE TO ENTER APPEARANCE

TO THE OFFICE OF JUDICIAL RECORDS/PROTHONOTARY:

       Kindly enter my appearance as co-counsel on behalf of Defendants, The Pennsylvania

Hospital of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The

Trustees of the University of Pennsylvania d/b/a Penn Medicine, in the above-captioned matter.

                                             BURNS WHITE LLC

                                    BY:      /s/ Susan R. Engle
                                             Susan R. Engle, Esquire

DATE: March 1, 2023
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 429 of 504 PageID #:437




                                CERTIFICATE OF SERVICE

       I, Susan R. Engle, Esquire, attorney for attorney for Defendants, The Pennsylvania Hospital

of the University of Pennsylvania Health System d/b/a Pennsylvania Hospital and The Trustees of

the University of Pennsylvania d/b/a Penn Medicine, do hereby certify that a true and correct copy

of the foregoing Praecipe to Enter Appearance was electronically filed on this date and served

to all counsel of record.



                                     BY:     /s/ Susan R. Engle
                                             Susan R. Engle, Esquire

DATE: March 1, 2023
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 430 of 504 PageID #:438




                   EXHIBIT A-19
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 431 of 504 PageID #:439



                                                     :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as         :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,       :
                                                     :   CIVIL TRIAL DIVISION
                            Plaintiff,               :
                                                     :   MARCH TERM 2022
        v.                                           :   NO. 2583
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD                   :
 JOHNSON NUTRITION COMPANY, ABBOTT                   :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL             :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH            :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and             :
 THE TRUSTEES OF THE UNIVERSITY OF                   :
 PENNSYLVANIA d/b/a PENN MEDICINE,                   :
                                                     :
                                                     :
                               Defendants.           :
                                                     :

                                             ORDER

       AND NOW THIS ______ day of _____________, 2023, upon consideration of Plaintiff

Terraine Abdullah’s Motion for Admission Pro Hac Vice of Benjamin Whiting, it is hereby

ORDERED that the motion is GRANTED.                 It is further ORDERED that pursuant to

Pennsylvania Rule of Civil Procedure 1012.1, Pennsylvania Bar Admission Rule 301, and 204 Pa.

Code § 81.503, Benjamin Whiting, Esquire, is hereby specially admitted to the Bar of this

Commonwealth for purposes limited to this particular civil action to represent Plaintiff Terraine

Abdullah, on her own behalf and as Parent and Natural Guardian of H.S., a Minor. Counsel pro

hac vice shall pay all city business and wage taxes as required by the Court.



                                                     BY THE COURT:



                                                     __________________________
                                                                             J.
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 432 of 504 PageID #:440




 Anapol Weiss
 By: Paola Pearson, Esq.
 Attorney ID: 318356
 Tracy Finken, Esq.
 Attorney ID: 82258
 One Logan Square
 130 N 18th St., Suite 1600
 Philadelphia, PA 19103
 Telephone: (215) 790-4554
 Email: ppearson@anapolweiss.com
 tfinken@anapolweiss.com                                 Attorneys for Plaintiffs


                                                     :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as         :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,       :
                                                     :   CIVIL TRIAL DIVISION
                            Plaintiff,               :
                                                     :   MARCH TERM 2022
        v.                                           :   NO. 2583
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD                   :
 JOHNSON NUTRITION COMPANY, ABBOTT                   :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL             :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH            :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and             :
 THE TRUSTEES OF THE UNIVERSITY OF                   :
 PENNSYLVANIA d/b/a PENN MEDICINE,                   :
                                                     :
                                                     :
                               Defendants.           :
                                                     :

            PLAINTIFF TERRAINE ABDULLAH’S MOTION FOR ADMISSION
                      PRO HAC VICE OF BENJAMIN WHITING

       Plaintiff Terraine Abdullah, on her own behalf and as Parent and Natural Guardian of H.S.,

a Minor, through the undersigned sponsoring counsel, moves this Court to admit Benjamin

Whiting pro hac vice as co-counsel on behalf of Plaintiff for all purposes allowed by law in the

above captioned matter. In support of this motion, Ms. Abdullah states as follows:

       1.      This is a civil action about the development of necrotizing entercolitis (“NEC”),

and related injuries, by a premature infant due to the use of the Defendant Manufacturers’ cow’s

milk-based preterm infant feeding products at the Defendant Hospital. Plaintiff Terraine Abdullah,
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 433 of 504 PageID #:441




on her own behalf and as Parent and Natural Guardian of H.S., a Minor, is represented in this

action by the undersigned counsel who is admitted to the Bar of this Commonwealth to practice

law.

       2.        The general rule for admission pro hac vice in the Commonwealth is stated in Pa.

B.A.R. 301(a):

       An attorney, barrister or advocate who is qualified to practice in the courts of
       another state or of a foreign jurisdiction may be specially admitted to the bar of this
       Commonwealth for purposes limited to a particular case. An attorney, barrister or
       advocate admitted pro hac vice in a case shall not thereby be authorized to act as
       attorney of record in the case.

       3.        Mr. Whiting satisfies the requirements of Pa. B.A.R. 301(a). As set forth in the

candidate verification pursuant to Pa. R.C.P. 1012.1(c), attached as Exhibit A, and incorporated

herein, Mr. Whiting is an attorney with the law firm Keller Postman LLC, located at 150 N

Riverside Plaza, Suite 4100, Chicago, Illinois 60606. Mr. Whiting was admitted to the practice of

law in the State of Illinois and in the State of New York in 2011. Mr. Whiting has been and

remains a member in good standing with the Bar.

       4.        Mr. Whiting has not been the subject of disciplinary action in any court or before

any Bar.

       5.        Ms. Abdullah has retained the services of Mr. Whiting and his firm in regard to the

above captioned lawsuit. This matter is a complex product liability lawsuit and Mr. Whiting has

extensive and specialized knowledge of this type of case.

       6.        Mr. Whiting seeks admission pro hac vice under Rule 301 of the Pennsylvania Bar

Admission Rules for the purpose of participating with the undersigned counsel in further

proceedings and trial in the above captioned matter.




                                                  2
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       7.      All fees required by 204 Pa. Code § 81.505 have been paid and the Pennsylvania

IOLTA Board’s acknowledgement letter is attached as Exhibit B. Mr. Whiting’s law firm will

pay any city business and wage taxes required.

       8.      Mr. Whiting’s good reputation and competence is attested to in the sponsor

verification attached pursuant to Pa. R.C.P. 1012.1(d)(2) as Exhibit C, and incorporated herein.

       9.      As set forth in the motion and the exhibits incorporated herein, there exists no good

cause for denial of Ms. Abdullah’s Motion for Admission Pro Hac Vice of Benjamin Whiting. No

party will be prejudiced by Mr. Whiting’s admission pro hac vice.

       WHEREFORE, Plaintiff Terraine Abdullah, on her own behalf and as Parent and Natural

Guardian of H.S., a Minor, respectfully requests that this Court enter the attached Order granting

admission pro hac vice in this matter for Benjamin Whiting, Esquire.

                                                     Respectfully submitted,

                                                     Anapol Weiss

                                                     By: /s/ Paola Pearson_________
                                                     Paola Pearson, Esq.
                                                     Tracy Finken, Esq.
                                                     Attorneys for Plaintiffs

Dated: March 13, 2023




                                                 3
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 Anapol Weiss
 By: Paola Pearson, Esq.
 Attorney ID: 318356
 Tracy Finken, Esq.
 Attorney ID: 82258
 One Logan Square
 130 N 18th St., Suite 1600
 Philadelphia, PA 19103
 Telephone: (215) 790-4554
 Email: ppearson@anapolweiss.com
 tfinken@anapolweiss.com                                  Attorneys for Plaintiffs

                                                      :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as          :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,        :
                                                      :   CIVIL TRIAL DIVISION
                            Plaintiff,                :
                                                      :   MARCH TERM 2022
        v.                                            :   NO. 2583
                                                      :
 MEAD JOHNSON & COMPANY, LLC, MEAD                    :
 JOHNSON NUTRITION COMPANY, ABBOTT                    :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL              :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH             :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and              :
 THE TRUSTEES OF THE UNIVERSITY OF                    :
 PENNSYLVANIA d/b/a PENN MEDICINE,                    :
                                                      :
                                                      :
                                Defendants.           :
                                                      :

  MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR THE PRO HAC VICE
          ADMISSION OF ATTORNEY BENJAMIN WHITING

       Plaintiff Terraine Abdullah, on her own behalf and as Parent and Natural Guardian of H.S.,

a Minor, by and through her counsel of record, Anapol Weiss, hereby submits this memorandum

of law in support of her motion for the pro hac vice admission of Benjamin Whiting, Esquire.

       Benjamin Whiting, Esquire has experience in the legal matters relating to this case and is

therefore familiar with the issues raised in this action. Paola Pearson, the attorney of record from

Philadelphia, will continue to serve as counsel of record for the above referenced Plaintiff, and

will participate in all proceedings pursuant to Pennsylvania Rule of Civil Procedure 1012.1.
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 436 of 504 PageID #:444




       Benjamin Whiting, Esquire agrees to submit to all rules of practice and procedure for the

Courts of this Commonwealth and will work closely with counsel of record in connection with this

case. See the Verified Statement of Candidate Benjamin Whiting, Esquire attached as Exhibit A.

The information required by 204 Pa Code Section 81.504 has been provided to the IOLTA Board

and the fee required by 204 Pa. Code Section 81.505(a) has been paid. See the Certification from

the Pennsylvania IOLTA Board attached as Exhibit B. Paola Pearson is in a position to recommend

Benjamin Whiting, Esquire’s admission pro hac vice to this Court pursuant to Pennsylvania Rule

of Civil Procedure 1012.1. See the Verified Statement of sponsor Paola Pearson attached as Exhibit

C.

II.    LEGAL ARGUMENT

       Pursuant to Rule 301 of the Pennsylvania Bar Admission Rules: "[a]ny court or magisterial

district judge shall grant [a motion for pro hac vice admission] unless good cause for the denial

shall appear[.]" Absent good cause for the denial of this motion, the instant motion should be

granted.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court admit Benjamin

Whiting, Esquire, pro hac vice, pursuant to Rule 301 of the Pennsylvania Bar Admission Rules.



Dated: March 13, 2023                               Respectfully Submitted,

                                                    ANAPOL WEISS

                                                    /s/ PAOLA PEARSON
                                                    Paola Pearson (PA# 318356)
                                                    130 N. 18th Street – Suite 1600
                                                    Philadelphia, PA 19103
                                                    Tel: (215) 735-1130
                                                     Fax: (215) 875-7701
                                                     ppearson@anapolweiss.com
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 437 of 504 PageID #:445




                   EXHIBIT A
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 438 of 504 PageID #:446




 Anapol Weiss
 By: Paola Pearson, Esq.
 Attorney ID: 318356
 Tracy Finken, Esq.
 Attorney ID: 82258
 One Logan Square
 130 N 18th St., Suite 1600
 Philadelphia, PA 19103
 Telephone: (215) 790-4554
 Email: ppearson@anapolweiss.com
 tfinken@anapolweiss.com                                    Attorneys for Plaintiffs


                                                        :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as            :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,          :
                                                        :   CIVIL TRIAL DIVISION
                             Plaintiff,                 :
                                                        :   MARCH TERM 2022
         v.                                             :   NO. 2583
                                                        :
 MEAD JOHNSON & COMPANY, LLC, MEAD                      :
 JOHNSON NUTRITION COMPANY, ABBOTT                      :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL                :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH               :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and                :
 THE TRUSTEES OF THE UNIVERSITY OF                      :
 PENNSYLVANIA d/b/a PENN MEDICINE,                      :
                                                        :
                                                        :
                                 Defendants.            :
                                                        :

   CANDIDATE VERIFICATION STATEMENT PURSUANT TO PA. R.C.P. 1012.1(c)

I, Benjamin Whiting, Esquire, being duly sworn, state as follows:

        1.      I am an attorney and have been duly qualified and admitted to practice before the

highest court of the State of New York since April 14, 2011, New York license number 4935888,

and before the highest court of the State of Illinois since November 10, 2011, Illinois license

number 6307321.

        2.      I am also admitted to the United States District Court for the Central District of

Illinois, Northern District of Illinois, Southern District of Illinois, and the Southern District of New

York and the United States Circuit Court of Appeals for the Federal Circuit.
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 439 of 504 PageID #:447




       3.      I am affiliated with the law firm Keller Postman LLC, 150 N Riverside Plaza, Suite

4100, Chicago, Illinois 60606.

       4.      I have never been suspended, disbarred, or otherwise disciplined.

       5.      I am not currently subject to any disciplinary proceedings.

       6.      At this time, I am applying for admission pro hac vice in the following cases in the

Philadelphia Court of Common Pleas:

       a. Abdullah v. Mead Johnson & Company, LLC et al., March Term, 2022, No. 2583
       b. McMillian v. Mead Johnson & Company, LLC et al., April Term, 2022, No. 0140

       7.      No motions for admission pro hac vice have been denied.

       8.      I shall comply with and be bound by the applicable statutes, case law and procedural

rules of the Commonwealth of Pennsylvania, including the Pennsylvania Rules of Professional

Conduct.

       9.      I shall submit to the jurisdiction of the Pennsylvania courts and the Pennsylvania

Disciplinary Board with respect to acts and omissions occurring during the appearance in the

matter for which admission pro hac vice is being sought.

       10.     I have consented to the appointment of Paola Pearson, Esquire as the agent upon

whom service of process shall be made for all actions, including disciplinary actions, that may

arise out of the practice of law in the matter for which admission pro hac vice is sought.

       11.     The undersigned verifies that the facts set forth in the foregoing candidate

verification are true and correct to the best of his knowledge, information, and belief and

understands that any false statements are made subject to the penalties of 18 Pa. Code § 4904

relating to unsworn falsification to authorities.

Dated: March 13, 2023                                /s/ Benjamin Whiting
                                                     Benjamin Whiting, Esq.
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 440 of 504 PageID #:448
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 441 of 504 PageID #:449




                   EXHIBIT B
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 442 of 504 PageID #:450




                                  Pennsylvania Judicial Center
                              601 Commonwealth Ave., Ste. 2400
                           PO Box 62445, Harrisburg, PA 17106-2445
                  717/238-2001 888/PA-IOLTA (724-6582 717/238-2003 FAX
                             paiolta@pacourts.us www.paiolta.org

         Administering Pennsylvania s Interest On Lawyers Trust Account (IOLTA) Program
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 443 of 504 PageID #:451




                   EXHIBIT C
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 444 of 504 PageID #:452




 Anapol Weiss
 By: Paola Pearson, Esq.
 Attorney ID: 318356
 Tracy Finken, Esq.
 Attorney ID: 82258
 One Logan Square
 130 N 18th St., Suite 1600
 Philadelphia, PA 19103
 Telephone: (215) 790-4554
 Email: ppearson@anapolweiss.com
 tfinken@anapolweiss.com                                    Attorneys for Plaintiffs


                                                        :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as            :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,          :
                                                        :   CIVIL TRIAL DIVISION
                            Plaintiff,                  :
                                                        :   MARCH TERM 2022
        v.                                              :   NO. 2583
                                                        :
 MEAD JOHNSON & COMPANY, LLC, MEAD                      :
 JOHNSON NUTRITION COMPANY, ABBOTT                      :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL                :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH               :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and                :
 THE TRUSTEES OF THE UNIVERSITY OF                      :
 PENNSYLVANIA d/b/a PENN MEDICINE,                      :
                                                        :
                                                        :
                               Defendants.              :
                                                        :

    SPONSOR VERIFICATION STATEMENT PURSUANT TO PA. R.C.P. 1012.1(d)

I, Paola Pearson, being duly sworn, state as follows:

       1.      I am an attorney duly admitted to practice law before this Court and am a partner

of the law firm Anapol Weiss, counsel for Plaintiff Terraine Abdullah, on her own behalf and as

Parent and Natural Guardian of H.S., a Minor, in the above captioned matter.

       2.      I submit this verification in support of Ms. Abdullah’s Motion for Admission Pro

Hac Vice of Benjamin Whiting for purposes of serving as co-counsel to Ms. Abdullah.

       3.      After reasonable investigation, I believe Benjamin Whiting, Esquire, is a reputable

and competent attorney and I am in a position to recommend his admission.
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 445 of 504 PageID #:453




        4.      Within the last year, I have acted as a sponsor for the pro hac vice admission of

counsel in the following cases:

        Ross v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        February Term 2022, CIVIL ACTION NO.: 220201902
        Steele v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        February Term 2022, CIVIL ACTION NO.: 220202068
        Krivak v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        February Term 2022, CIVIL ACTION NO.:220202072
        Jackson v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        February Term 2022, CIVIL ACTION NO.:220202070
        Altobelli v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        April Term 2022, CIVIL ACTION NO.:220400801
        Graham v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        June Term 2022, CIVIL ACTION NO.: 220601402

        5.      The proceeds from the settlement of a cause of action in which Benjamin Whiting,

Esquire, is granted admission pro hac vice shall be received, held, distributed, and accounted for

in accordance with Rule 1.15 of the Pennsylvania Rules of Professional Conduct, including the

IOLTA provisions thereof, if applicable.

        6.      The undersigned verifies that the facts set forth in the foregoing sponsor verification

are true and correct to the best of her knowledge, information, and belief and understands that any

false statements are made subject to the penalties of 18 Pa. Code § 4904 relating to unsworn

falsification to authorities.


                                                       /s/ Paola Pearson_______________
                                                       Paola Pearson, Esq.

Dated: March 13, 2023
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 446 of 504 PageID #:454




                                            VERIFICATION


        I, Paola Pearson, Esquire hereby verify that the facts contained in the foregoing Statement are

true and correct to the best of my knowledge, information and belief. I further understand that these

statements are made subject to penalties of 18 Pa. C.S.A. 4904 relating to unsworn falsification to

authorities.



                                                          __________________________
                                                          Paola Pearson, Esquire
        March 13, 2023
DATE: _________________
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 447 of 504 PageID #:455




                                CERTIFICATE OF SERVICE

       I, Paola Pearson, Esq. hereby certify that a true and correct copy of the foregoing Motion
for Admission Pro Hac Vice of Benjamin Whiting was filed this date via the First Judicial District
of Pennsylvania’s Electronic Filing System, which thereby deems the foregoing as served on all
counsel of record pursuant to Rule 205.4(g)(2)(ii) of the Pennsylvania Rules of Civil Procedure.


                                                    /s/ Paola Pearson______________
                                                    Paola Pearson, Esq.

Dated: March 13, 2023
        Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 448 of 504 PageID #:456




  ASSIGNED TO JUDGE:                       ANSWER/RESPONSE DATE:



  Do not send Judge courtesy copy of Petition/Motion/Answer/Response.
                                                                                                                                           Term,
                                                                                                           Month                                    Year
  Status may be obtained online at http://courts.phila.gov
                                                                                             No.

                                                                                             Name of Filing Party:




                                                                      Has another petition/motion been decided in this case?                  Yes       No
INDICATE NATURE OF DOCUMENT FILED:                                    Is another petition/motion pending?                                     Yes       No
   Petition (Attach Rule to Show Cause)      Motion
                                                                      If the answer to either question is yes, you must identify the judge(s):
   Answer to Petition            Response to Motion




 I. CASE PROGRAM                                                               II. PARTIES (required for proof of service)
                                                                               (Name, address and                           of all counsel of record and
                                                                               unrepresented parties. Attach a stamped addressed envelope for each
                                                                               attorney of record and unrepresented party.)
    Name of Judicial Team Leader:
    Applicable Petition/Motion Deadline:
    Has deadline been previously extended by the Court:




 III. OTHER



By filing this document and signing below, the moving party certifies that this motion, petition, answer or response along with all documents filed, will be
served upon all counsel and unrepresented parties as required by rules of Court (see PA. R.C.P. 206.6, Note to 208.2(a), and 440). Furthermore, moving party
verifies that the answers made herein are true and correct and understands that sanctions may be imposed for inaccurate or incomplete answers.



      (Attorney Signature/Unrepresented Party)                             (Date)                    (Print Name)                       (Attorney I.D. No.)
The Petition, Motion and Answer or Response, if any, will be forwarded to the Court after the Answer/Response Date.
No extension of the Answer/Response Date will be granted even if the parties so stipulate.
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 449 of 504 PageID #:457
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 450 of 504 PageID #:458




                   EXHIBIT A-20
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 451 of 504 PageID #:459



                                                     :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as         :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,       :
                                                     :   CIVIL TRIAL DIVISION
                            Plaintiff,               :
                                                     :   MARCH TERM 2022
        v.                                           :   NO. 2583
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD                   :
 JOHNSON NUTRITION COMPANY, ABBOTT                   :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL             :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH            :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and             :
 THE TRUSTEES OF THE UNIVERSITY OF                   :
 PENNSYLVANIA d/b/a PENN MEDICINE,                   :
                                                     :
                                                     :
                               Defendants.           :
                                                     :

                                             ORDER

       AND NOW THIS ______ day of _____________, 2023, upon consideration of Plaintiff

Terraine Abdullah’s Motion for Admission Pro Hac Vice of Ashley C. Keller, it is hereby

ORDERED that the motion is GRANTED.                 It is further ORDERED that pursuant to

Pennsylvania Rule of Civil Procedure 1012.1, Pennsylvania Bar Admission Rule 301, and 204 Pa.

Code § 81.503, Ashley C. Keller, Esquire, is hereby specially admitted to the Bar of this

Commonwealth for purposes limited to this particular civil action to represent Plaintiff Terraine

Abdullah, on her own behalf and as Parent and Natural Guardian of H.S., a Minor. Counsel pro

hac vice shall pay all city business and wage taxes as required by the Court.



                                                     BY THE COURT:



                                                     __________________________
                                                                             J.
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 452 of 504 PageID #:460




 Anapol Weiss
 By: Paola Pearson, Esq.
 Attorney ID: 318356
 Tracy Finken, Esq.
 Attorney ID: 82258
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 Philadelphia, PA 19103
 Telephone: (215) 790-4554
 Email: ppearson@anapolweiss.com
 tfinken@anapolweiss.com                                 Attorneys for Plaintiffs


                                                     :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as         :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,       :
                                                     :   CIVIL TRIAL DIVISION
                            Plaintiff,               :
                                                     :   MARCH TERM 2022
        v.                                           :   NO. 2583
                                                     :
 MEAD JOHNSON & COMPANY, LLC, MEAD                   :
 JOHNSON NUTRITION COMPANY, ABBOTT                   :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL             :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH            :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and             :
 THE TRUSTEES OF THE UNIVERSITY OF                   :
 PENNSYLVANIA d/b/a PENN MEDICINE,                   :
                                                     :
                                                     :
                               Defendants.           :
                                                     :

            PLAINTIFF TERRAINE ABDULLAH’S MOTION FOR ADMISSION
                       PRO HAC VICE OF ASHLEY C. KELLER

       Plaintiff Terraine Abdullah, on her own behalf and as Parent and Natural Guardian of H.S.,

a Minor, through the undersigned sponsoring counsel, moves this Court to admit Ashley C. Keller

pro hac vice as co-counsel on behalf of Plaintiff for all purposes allowed by law in the above

captioned matter. In support of this motion, Ms. Abdullah states as follows:

       1.      This is a civil action about the development of necrotizing enterocolitis (“NEC”),

and related injuries, by a premature infant due to the use of the Defendant Manufacturers’ cow’s

milk-based preterm infant feeding products at the Defendant Hospital. Plaintiff Terraine Abdullah,
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 453 of 504 PageID #:461




on her own behalf and as Parent and Natural Guardian of H.S., a Minor, is represented in this

action by the undersigned counsel who is admitted to the Bar of this Commonwealth to practice

law.

       2.        The general rule for admission pro hac vice in the Commonwealth is stated in Pa.

B.A.R. 301(a):

       An attorney, barrister or advocate who is qualified to practice in the courts of
       another state or of a foreign jurisdiction may be specially admitted to the bar of this
       Commonwealth for purposes limited to a particular case. An attorney, barrister or
       advocate admitted pro hac vice in a case shall not thereby be authorized to act as
       attorney of record in the case.

       3.        Mr. Keller satisfies the requirements of Pa. B.A.R. 301(a). As set forth in the

candidate verification pursuant to Pa. R.C.P. 1012.1(c), attached as Exhibit A, and incorporated

herein, Mr. Keller is an attorney with the law firm Keller Postman LLC, located at 150 N Riverside

Plaza, Suite 4100, Chicago, Illinois 60606. Mr. Keller was admitted to the practice of law in the

State of Illinois in 2009 and admitted to the practice of law in the State of Florida in 2021. Mr.

Keller has been and remains a member in good standing with the Bar.

       4.        Mr. Keller has not been the subject of disciplinary action in any court or before any

Bar.

       5.        Ms. Abdullah has retained the services of Mr. Keller and his firm in regard to the

above captioned lawsuit. This matter is a complex product liability lawsuit and Mr. Keller has

extensive and specialized knowledge of this type of case.

       6.        Mr. Keller seeks admission pro hac vice under Rule 301 of the Pennsylvania Bar

Admission Rules for the purpose of participating with the undersigned counsel in further

proceedings and trial in the above captioned matter.




                                                   2
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 454 of 504 PageID #:462




       7.      All fees required by 204 Pa. Code § 81.505 have been paid and the Pennsylvania

IOLTA Board’s acknowledgement letter is attached as Exhibit B. Mr. Keller’s law firm will pay

any city business and wage taxes required.

       8.      Mr. Keller’s good reputation and competence is attested to in the sponsor

verification attached pursuant to Pa. R.C.P. 1012.1(d)(2) as Exhibit C, and incorporated herein.

       9.      As set forth in the motion and the exhibits incorporated herein, there exists no good

cause for denial of Ms. Abdullah’s Motion for Admission Pro Hac Vice of Ashley C. Keller. No

party will be prejudiced by Mr. Keller’s admission pro hac vice.

       WHEREFORE, Plaintiff Terraine Abdullah, on her own behalf and as Parent and Natural

Guardian of H.S., a Minor, respectfully requests that this Court enter the attached Order granting

admission pro hac vice in this matter for Ashley C. Keller, Esquire.

                                                     Respectfully submitted,

                                                     Anapol Weiss

                                                     By: /s/ Paola Pearson_________
                                                     Paola Pearson, Esq.
                                                     Tracy Finken, Esq.
                                                     Attorneys for Plaintiffs

Dated: March 13, 2023




                                                 3
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 455 of 504 PageID #:463




 Anapol Weiss
 By: Paola Pearson, Esq.
 Attorney ID: 318356
 Tracy Finken, Esq.
 Attorney ID: 82258
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 Philadelphia, PA 19103
 Telephone: (215) 790-4554
 Email: ppearson@anapolweiss.com
 tfinken@anapolweiss.com                                  Attorneys for Plaintiffs

                                                      :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as          :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,        :
                                                      :   CIVIL TRIAL DIVISION
                            Plaintiff,                :
                                                      :   MARCH TERM 2022
        v.                                            :   NO. 2583
                                                      :
 MEAD JOHNSON & COMPANY, LLC, MEAD                    :
 JOHNSON NUTRITION COMPANY, ABBOTT                    :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL              :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH             :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and              :
 THE TRUSTEES OF THE UNIVERSITY OF                    :
 PENNSYLVANIA d/b/a PENN MEDICINE,                    :
                                                      :
                                                      :
                                Defendants.           :
                                                      :

  MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR THE PRO HAC VICE
           ADMISSION OF ATTORNEY ASHLEY KELLER

       Plaintiff Terraine Abdullah, on her own behalf and as Parent and Natural Guardian of H.S.,

a Minor, by and through her counsel of record, Anapol Weiss, hereby submits this memorandum

of law in support of her motion for the pro hac vice admission of Ashley Keller, Esquire.

       Ashley Keller, Esquire has experience in the legal matters relating to this case and is

therefore familiar with the issues raised in this action. Paola Pearson, the attorney of record from

Philadelphia, will continue to serve as counsel of record for the above referenced Plaintiff, and

will participate in all proceedings pursuant to Pennsylvania Rule of Civil Procedure 1012.1.
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 456 of 504 PageID #:464




       Ashley Keller, Esquire agrees to submit to all rules of practice and procedure for the Courts

of this Commonwealth and will work closely with counsel of record in connection with this case.

See the Verified Statement of Candidate Ashley Keller, Esquire attached as Exhibit A. The

information required by 204 Pa Code Section 81.504 has been provided to the IOLTA Board and

the fee required by 204 Pa. Code Section 81.505(a) has been paid. See the Certification from the

Pennsylvania IOLTA Board attached as Exhibit B. Paola Pearson is in a position to recommend

Ashley Keller, Esquire’s admission pro hac vice to this Court pursuant to Pennsylvania Rule of

Civil Procedure 1012.1. See the Verified Statement of sponsor Paola Pearson attached as Exhibit

C.

II.    LEGAL ARGUMENT

       Pursuant to Rule 301 of the Pennsylvania Bar Admission Rules: "[a]ny court or magisterial

district judge shall grant [a motion for pro hac vice admission] unless good cause for the denial

shall appear[.]" Absent good cause for the denial of this motion, the instant motion should be

granted.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court admit Ashley

Keller, Esquire, pro hac vice, pursuant to Rule 301 of the Pennsylvania Bar Admission Rules.


Dated: March 13, 2023                                Respectfully Submitted,

                                                     ANAPOL WEISS

                                                     /s/ PAOLA PEARSON
                                                     Paola Pearson (PA# 318356)
                                                     130 N. 18th Street – Suite 1600
                                                     Philadelphia, PA 19103
                                                     Tel: (215) 735-1130
                                                      Fax: (215) 875-7701
                                                      ppearson@anapolweiss.com
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 457 of 504 PageID #:465




                   EXHIBIT A
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 458 of 504 PageID #:466




 Anapol Weiss
 By: Paola Pearson, Esq.
 Attorney ID: 318356
 Tracy Finken, Esq.
 Attorney ID: 82258
 One Logan Square
 130 N 18th St., Suite 1600
 Philadelphia, PA 19103
 Telephone: (215) 790-4554
 Email: ppearson@anapolweiss.com
 tfinken@anapolweiss.com                                  Attorneys for Plaintiffs


                                                      :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as          :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,        :
                                                      :   CIVIL TRIAL DIVISION
                            Plaintiff,                :
                                                      :   MARCH TERM 2022
        v.                                            :   NO. 2583
                                                      :
 MEAD JOHNSON & COMPANY, LLC, ET AL.                  :
                                                      :
                                                      :
                                Defendants.           :
                                                      :
                                                      :
                                                      :

  CANDIDATE VERIFICATION STATEMENT PURSUANT TO PA. R.C.P. 1012.1(c)

I, Ashley C. Keller, Esquire, being duly sworn, state as follows:

       1.      I am an attorney and have been duly qualified and admitted to practice before the

highest court of the State of Illinois since November 5, 2009, Illinois license number 6300171, and

before the highest court of the State of Florida since May 19, 2021, Florida license number

1029118.

       2.      I am also admitted to the Supreme Court of the United States, the United States

District Court for the Northern District of Illinois, the United States Circuit Court of Appeals for

the Third, Seventh, Eighth, Ninth, and Eleventh Circuits, and the Judicial Panel on Multidistrict

Litigation (JPML).
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 459 of 504 PageID #:467




       3.      I am affiliated with the law firm Keller Postman LLC, 150 N Riverside Plaza, Suite

4100, Chicago, Illinois 60606.

       4.      I have never been suspended, disbarred, or otherwise disciplined.

       5.      I am not currently subject to any disciplinary proceedings.

       6.      At this time, I am applying for admission pro hac vice in the following cases in the

Philadelphia Court of Common Pleas:

       a. Abdullah v. Mead Johnson & Company, LLC et al., March Term, 2022, No. 2583
       b. McMillian v. Mead Johnson & Company, LLC et al., April Term, 2022, No. 0140

       7.      No motions for admission pro hac vice have been denied.

       8.      I shall comply with and be bound by the applicable statutes, case law and procedural

rules of the Commonwealth of Pennsylvania, including the Pennsylvania Rules of Professional

Conduct.

       9.      I shall submit to the jurisdiction of the Pennsylvania courts and the Pennsylvania

Disciplinary Board with respect to acts and omissions occurring during the appearance in the

matter for which admission pro hac vice is being sought.

       10.     I have consented to the appointment of Paola Pearson, Esquire as the agent upon

whom service of process shall be made for all actions, including disciplinary actions, that may

arise out of the practice of law in the matter for which admission pro hac vice is sought.

       11.     The undersigned verifies that the facts set forth in the foregoing candidate

verification are true and correct to the best of his knowledge, information, and belief and

understands that any false statements are made subject to the penalties of 18 Pa. Code § 4904

relating to unsworn falsification to authorities.


                                                     /s/ Ashley C. Keller
Dated: March 13, 2023                                Ashley C. Keller, Esq.
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 460 of 504 PageID #:468




                                        VERIFICATION

        I, Ashley Keller, Esquire hereby verify that the facts contained in the foregoing Statement

are true and correct to the best of my knowledge, information and belief. I further understand that

these statements are made subject to penalties of § 18 Pa. C.S.A. 4904 relating to unsworn

falsification to authorities.



                                                     __________________________
                                                     Ashley Keller, Esquire
DATE: _________________
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 461 of 504 PageID #:469




                   EXHIBIT B
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 462 of 504 PageID #:470




                                  Pennsylvania Judicial Center
                              601 Commonwealth Ave., Ste. 2400
                           PO Box 62445, Harrisburg, PA 17106-2445
                  717/238-2001 888/PA-IOLTA (724-6582 717/238-2003 FAX
                             paiolta@pacourts.us www.paiolta.org

         Administering Pennsylvania s Interest On Lawyers Trust Account (IOLTA) Program
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 463 of 504 PageID #:471




                   EXHIBIT C
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 464 of 504 PageID #:472




 Anapol Weiss
 By: Paola Pearson, Esq.
 Attorney ID: 318356
 Tracy Finken, Esq.
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 Email: ppearson@anapolweiss.com
 tfinken@anapolweiss.com                                    Attorneys for Plaintiffs


                                                        :   IN THE COURT OF COMMON PLEAS
 TERRAINE ABDULLAH, on her own behalf and as            :   PHILADELPHIA COUNTY
 Parent and Natural Guardian of H.S., a Minor,          :
                                                        :   CIVIL TRIAL DIVISION
                            Plaintiff,                  :
                                                        :   MARCH TERM 2022
        v.                                              :   NO. 2583
                                                        :
 MEAD JOHNSON & COMPANY, LLC, MEAD                      :
 JOHNSON NUTRITION COMPANY, ABBOTT                      :
 LABORATORIES, THE PENNSYLVANIA HOSPITAL                :
 OF THE UNIVERSITY OF PENNSYLVANIA HEALTH               :
 SYSTEM d/b/a PENNSYLVANIA HOSPITAL, and                :
 THE TRUSTEES OF THE UNIVERSITY OF                      :
 PENNSYLVANIA d/b/a PENN MEDICINE,                      :
                                                        :
                                                        :
                               Defendants.              :
                                                        :

    SPONSOR VERIFICATION STATEMENT PURSUANT TO PA. R.C.P. 1012.1(d)

I, Paola Pearson, being duly sworn, state as follows:

       1.      I am an attorney duly admitted to practice law before this Court and am a partner

of the law firm Anapol Weiss, counsel for Plaintiff Terraine Abdullah, on her own behalf and as

Parent and Natural Guardian of H.S., a Minor, in the above captioned matter.

       2.      I submit this verification in support of Ms. Abdullah’s Motion for Admission Pro

Hac Vice of Ashley C. Keller for purposes of serving as co-counsel to Ms. Abdullah.

       3.      After reasonable investigation, I believe Ashley C. Keller, Esquire, is a reputable

and competent attorney and I am in a position to recommend his admission.
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 465 of 504 PageID #:473




        4.      Within the last year, I have acted as a sponsor for the pro hac vice admission of

counsel in the following cases:

        Ross v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        February Term 2022, CIVIL ACTION NO.: 220201902
        Steele v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        February Term 2022, CIVIL ACTION NO.: 220202068
        Krivak v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        February Term 2022, CIVIL ACTION NO.:220202072
        Jackson v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        February Term 2022, CIVIL ACTION NO.:220202070
        Altobelli v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        April Term 2022, CIVIL ACTION NO.:220400801
        Graham v. Janssen Pharmaceuticals, Inc. Court of Common Pleas, Philadelphia County,
        June Term 2022, CIVIL ACTION NO.: 220601402


        5.      The proceeds from the settlement of a cause of action in which Ashley C. Keller,

Esquire, is granted admission pro hac vice shall be received, held, distributed, and accounted for

in accordance with Rule 1.15 of the Pennsylvania Rules of Professional Conduct, including the

IOLTA provisions thereof, if applicable.

        6.      The undersigned verifies that the facts set forth in the foregoing sponsor verification

are true and correct to the best of her knowledge, information, and belief and understands that any

false statements are made subject to the penalties of 18 Pa. Code § 4904 relating to unsworn

falsification to authorities.


                                                       /s/ Paola Pearson_______________
                                                       Paola Pearson, Esq.

Dated: March 13, 2023
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 466 of 504 PageID #:474




                                            VERIFICATION


        I, Paola Pearson, Esquire hereby verify that the facts contained in the foregoing Statement are

true and correct to the best of my knowledge, information and belief. I further understand that these

statements are made subject to penalties of 18 Pa. C.S.A. 4904 relating to unsworn falsification to

authorities.



                                                          __________________________
                                                          Paola Pearson, Esquire
        March 13, 2023
DATE: _________________
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 467 of 504 PageID #:475




                                CERTIFICATE OF SERVICE

       I, Paola Pearson, hereby certify that a true and correct copy of the foregoing Motion for
Admission Pro Hac Vice of Ashley C. Keller was filed this date via the First Judicial District of
Pennsylvania’s Electronic Filing System, which thereby deems the foregoing as served on all
counsel of record pursuant to Rule 205.4(g)(2)(ii) of the Pennsylvania Rules of Civil Procedure.

                                                    /s/ Paola Pearson______________
                                                    Paola Pearson, Esq.

Dated: March 13, 2023
        Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 468 of 504 PageID #:476




  ASSIGNED TO JUDGE:                       ANSWER/RESPONSE DATE:



  Do not send Judge courtesy copy of Petition/Motion/Answer/Response.
                                                                                                                                           Term,
                                                                                                           Month                                    Year
  Status may be obtained online at http://courts.phila.gov
                                                                                             No.

                                                                                             Name of Filing Party:




                                                                      Has another petition/motion been decided in this case?                  Yes       No
INDICATE NATURE OF DOCUMENT FILED:                                    Is another petition/motion pending?                                     Yes       No
   Petition (Attach Rule to Show Cause)      Motion
                                                                      If the answer to either question is yes, you must identify the judge(s):
   Answer to Petition            Response to Motion




 I. CASE PROGRAM                                                               II. PARTIES (required for proof of service)
                                                                               (Name, address and                           of all counsel of record and
                                                                               unrepresented parties. Attach a stamped addressed envelope for each
                                                                               attorney of record and unrepresented party.)
    Name of Judicial Team Leader:
    Applicable Petition/Motion Deadline:
    Has deadline been previously extended by the Court:




 III. OTHER



By filing this document and signing below, the moving party certifies that this motion, petition, answer or response along with all documents filed, will be
served upon all counsel and unrepresented parties as required by rules of Court (see PA. R.C.P. 206.6, Note to 208.2(a), and 440). Furthermore, moving party
verifies that the answers made herein are true and correct and understands that sanctions may be imposed for inaccurate or incomplete answers.



      (Attorney Signature/Unrepresented Party)                             (Date)                    (Print Name)                       (Attorney I.D. No.)
The Petition, Motion and Answer or Response, if any, will be forwarded to the Court after the Answer/Response Date.
No extension of the Answer/Response Date will be granted even if the parties so stipulate.
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 469 of 504 PageID #:477
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 470 of 504 PageID #:478




                   EXHIBIT A-21
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 471 of 504 PageID #:479
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 472 of 504 PageID #:480
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 473 of 504 PageID #:481




                   EXHIBIT A-22
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 474 of 504 PageID #:482
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 475 of 504 PageID #:483
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 476 of 504 PageID #:484




                   EXHIBIT A-23
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 477 of 504 PageID #:485
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 478 of 504 PageID #:486
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 479 of 504 PageID #:487




                   EXHIBIT A-24
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 480 of 504 PageID #:488
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 481 of 504 PageID #:489
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 482 of 504 PageID #:490




                   EXHIBIT A-25
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 483 of 504 PageID #:491
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 484 of 504 PageID #:492
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                   EXHIBIT A-26
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 486 of 504 PageID #:494



KLINE & SPECTER, P.C.
THOMAS R. KLINE, ESQUIRE
Attorney I.D. No. 28895
TOBIAS MILLROOD, ESQUIRE
Attorney I.D. No. 77764
ELIZABETH CRAWFORD, ESQUIRE
Attorney I.D. No. 313702
MELISSA MERK, ESQUIRE
Attorney I.D. No. 90363

Attorney I.D. No. 205677

1525 Locust Street
19th Floor
Philadelphia, PA 19102
(215) 772-1000/(215) 772-1359 fax.                   Attorney for Plaintiffs

                 IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                         FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                   TRIAL DIVISION - CIVIL

 TERRAINE ABDULLAH, on her own behalf and
 as Parent and Natural Guardian of H.S., a Minor,
                Plaintiffs,                               March Term, 2022

           v.                                             No. 02583

 MEAD JOHNSON & COMPANY, LLC,
 et al.                                                    JURY TRIAL DEMANDED

                  Defendants.




                                       ENTRY OF APPEARANCE

TO THE Prothonotary:

          Kindly enter my appearance as co-counsel on behalf of the Plaintiffs in the above-captioned
matter.
                                                  Respectfully submitted,

                                                  KLINE & SPECTER, P.C.
Dated: March 24, 2023

                                                   /s/                l

                                                   Attorney for Plaintiffs
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 487 of 504 PageID #:495




                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2023, I caused a true and correct copy of the

foregoing document to be served by electronic filing to all counsel of record.



Dated: March 24, 2023                        /

                                             Attorney for Plaintiffs
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 488 of 504 PageID #:496




                   EXHIBIT A-27
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 489 of 504 PageID #:497
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                   EXHIBIT A-28
Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 491 of 504 PageID #:499
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                   EXHIBIT A-29
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 493 of 504 PageID #:501




ANAPOL WEISS
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PHILADELPHIA, PA 19103                    ATTORNEY FOR PLAINTIFFS
TERRAINE ABDULLAH, on her own             :   COURT OF COMMON PLEAS
Behalf and as Parent and Natural Guardian :   PHILADELPHIA COUNTY
of H.S., a Minor                          :
                                          :
                      Plaintiffs          :
        v.                                :    CIVIL ACTION
                                          :
MEAD JOHNSON & COMPANY, LLC               :
Illinois Corporation Service Co.          :
801 Adlai Stevenson Drive                 :
Springfield, IL 62703                     :
                                          :    NO. 220302583
                                          :
MEAD JOHNSON NUTRITION COMPANY :
Illinois Corporation Service Co.          :
801 Adlai Stevenson Drive                 :
Springfield, IL 62703                     :
                                          :
                                          :
                                          :
ABBOTT LABORATORIES                       :
CT Corporation System                     :
208 So. Lasalle Street, Suite 814         :
Chicago, IL 60604                         :
                                          :
                                          :
THE PENNSYLVANIA HOSPITAL OF              :
THE UNIVERSITY OF PENNSYLVANIA            :
HEALTH SYSTEM d/b/a PENNSYLVANIA          :
HOSPITAL                                  :
3400 Civic Center Blvd.                   :
Philadelphia, PA 19104                    :
                                          :
                                          :
THE TRUSTEES OF THE UNIVERSITY OF :
PENNSYLVANIA d/b/a PENN MEDICINE          :
133 South 36th Street                     :
Philadelphia, PA 19104                    :
                                          :
                      Defendants          :    JURY TRIAL DEMANDED


                                        1
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 494 of 504 PageID #:502




                     WITHDRAWAL OF APPEARANCE OF COUNSEL

TO THE PROTHONOTARY:

        Kindly withdraw my appearance as counsel for Plaintiffs, Terraine Abdullah, on her own

behalf and as Parent and Natural Guardian of H.S., a minor, in the above-captioned matter. All

other Plaintiffs’ counsel currently listed as attorneys of record will continue to represent Plaintiffs

in this action.



Dated: May 9 2023                                              ANAPOL WEISS


                                                               /s/ Paola Pearson__________
                                                               Paola Pearson (PA #318356)
                                                               130 N. 18th Street – Suite 1600
                                                               Philadelphia, PA 19103
                                                               Tel: (215) 790-4554
                                                               Fax: (215) 875-7719
                                                               ppearson@anapolweiss.com




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 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 495 of 504 PageID #:503




                               CERTIFICATE OF SERVICE

       I, Paola Pearson, hereby certify that on this 9th day of May 2023, the foregoing Withdrawal

of Appearance was filed and made available via ECF to all counsel of record.




                                                    By:     /s/ Paola Pearson____
                                                            Paola Pearson, Esquire




                                                3
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                   EXHIBIT A-30
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 497 of 504 PageID #:505




ANAPOL WEISS
BY: TRACY FINKEN, ESQUIRE (I.D. 82258)
tfinken@anapolweiss.com
130 N. 18TH ST., SUITE 1600
PHILADELPHIA, PA 19103                          ATTORNEY FOR PLAINTIFFS
TERRAINE ABDULLAH, on her own                   :   COURT OF COMMON PLEAS
Behalf and as Parent and Natural Guardian       :   PHILADELPHIA COUNTY
of H.S., a Minor                                :
                                                :
                     Plaintiffs                 :
       v.                                       :    CIVIL ACTION
                                                :
MEAD JOHNSON & COMPANY, LLC                     :
Illinois Corporation Service Co.                :
801 Adlai Stevenson Drive                       :
Springfield, IL 62703                           :
                                                :    NO. 220302583
                                                :
MEAD JOHNSON NUTRITION COMPANY                  :
Illinois Corporation Service Co.                :
801 Adlai Stevenson Drive                       :
Springfield, IL 62703                           :
                                                :
                                                :
                                                :
ABBOTT LABORATORIES                             :
CT Corporation System                           :
208 So. Lasalle Street, Suite 814               :
Chicago, IL 60604                               :
                                                :
                                                :
THE PENNSYLVANIA HOSPITAL OF                    :
THE UNIVERSITY OF PENNSYLVANIA                  :
HEALTH SYSTEM d/b/a PENNSYLVANIA                :
HOSPITAL                                        :
3400 Civic Center Blvd.                         :
Philadelphia, PA 19104                          :
                                                :
                                                :
THE TRUSTEES OF THE UNIVERSITY OF               :
PENNSYLVANIA d/b/a PENN MEDICINE                :
133 South 36th Street                           :
Philadelphia, PA 19104                          :
                                                :
                     Defendants                 :    JURY TRIAL DEMANDED

                                            1
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 498 of 504 PageID #:506




                     WITHDRAWAL OF APPEARANCE OF COUNSEL

TO THE PROTHONOTARY:

        Kindly withdraw my appearance as counsel for Plaintiffs, Terraine Abdullah, on her own

behalf and as Parent and Natural Guardian of H.S., a minor, in the above-captioned matter. All

other Plaintiffs’ counsel currently listed as attorneys of record will continue to represent Plaintiffs

in this action.



Dated: May 9 2023                                              ANAPOL WEISS


                                                               /s/ Tracy Finken __________
                                                               Tracy Finken (PA #82258)
                                                               130 N. 18th Street – Suite 1600
                                                               Philadelphia, PA 19103
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 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 499 of 504 PageID #:507




                               CERTIFICATE OF SERVICE

       I, Tracy Finken, hereby certify that on this 9th day of May 2023, the foregoing Withdrawal

of Appearance was filed and made available via ECF to all counsel of record.




                                                    By:    /s/ Tracy Finken____
                                                           Tracy Finken, Esquire




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Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 501 of 504 PageID #:509
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                   EXHIBIT A-32
  Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 503 of 504 PageID #:511



SCHNADER HARRISON SEGAL & LEWIS LLP
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John R. Timmer (Pa. I.D. 89814)
1600 Market Street, Suite 3600
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Telephone: 215-751-2309
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Email: jtimmer@schnader.com
Attorneys for Defendant Abbott Laboratories

           IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                   FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                             TRIAL DIVISION - CIVIL

TERRAINE ABDULLAH, et al.,                           :
                                                     : MARCH TERM, 2022
               Plaintiff,                            :
      v.                                             : No. 220302583
                                                     :
MEAD JOHNSON & COMPANY, LLC, et al.,                 :
                                                     :
               Defendants.                           :

                             WITHDRAWAL OF APPEARANCES

TO THE OFFICE OF JUDICIAL RECORDS:

               Kindly withdraw the appearances of Samuel W. Silver and John R. Timmer of the

law firm of Schnader Harrison Segal & Lewis LLP on behalf of defendant Abbott Laboratories

in the above-captioned matter.

                                              /s/ Samuel W. Silver

                                              /s/ John R. Timmer
                                              SCHNADER HARRISON SEGAL & LEWIS LLP
                                              Samuel W. Silver (Pa. I.D. No. 56596)
                                              Email: ssilver@schnader.com
                                              John R. Timmer (Pa. I.D. 89814)
                                              Email: jtimmer@schnader.com
                                              1600 Market Street, Suite 3600
                                              Philadelphia, Pennsylvania 19103-7286

Dated: June 8, 2023



                                                                              PHDATA 8585597_1
 Case: 1:24-cv-11759 Document #: 1-1 Filed: 10/31/24 Page 504 of 504 PageID #:512



                               CERTIFICATE OF SERVICE

       I, John R. Timmer, hereby certify that on this 8th day of June, 2023, the foregoing

Withdrawal of Appearance was filed and made available via ECF to all counsel of record.



                                           /s/ John R. Timmer
                                           SCHNADER HARRISON SEGAL & LEWIS LLP
                                           Samuel W. Silver (Pa. I.D. No. 56596)
                                           Email: ssilver@schnader.com
                                           John R. Timmer (Pa. I.D. 89814)
                                           Email: jtimmer@schnader.com
                                           1600 Market Street, Suite 3600
                                           Philadelphia, Pennsylvania 19103-7286




                                                                                PHDATA 8585597_1
